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 Declaration of Jordan
        Macha




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA and §
 STATE OF TEXAS,               §
                               §
                   Plaintiffs, §                    CIVIL ACTION NO. 4:18-CV-3368
 v.                            §                    JUDGE EWING WERLEIN, JR.
                               §
 CITY OF HOUSTON,              §
                               §
                   Defendant.  §

                                  Declaration of Jordan Macha

       Pursuant to 28 U.S.C.§ 1746, I declare:

       1.      My name is Jordan Macha. I have been the Executive Director and Waterkeeper at

Bayou City Waterkeeper since August 2017.

       2.      Bayou City Waterkeeper is a 501(c)(3), membership-based non-profit organization

located in Houston, Texas. As part of its mission, Bayou City Waterkeeper works to protect and

restore local water quality across the Lower Galveston Bay watershed by identifying and targeting

sources of pollution within our waterways and riparian areas. Bayou City Waterkeeper is a licensed

member of the Waterkeeper Alliance, which connects and supports local Waterkeeper programs

to champion fishable, swimmable, and drinkable waterways worldwide.

       3.      Bayou City Waterkeeper’s members include at least 300 residents of the City of

Houston, including residents who regularly use and enjoy the waterways in and around Houston.

Bayou City Waterkeeper’s members engage in outdoor recreation, such as canoeing, hiking,

walking, fishing, birdwatching, picnicking, and photography, and other recreational, aesthetic,

educational, environmental, scientific, and vocational activities of interest near and in the




                                                    1

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waterways, areas, and micro-watersheds making up the Lower Galveston Bay watershed in the

Houston area.

       4.       By regularly and repeatedly discharging untreated wastewater into and near area

waterways, the City of Houston has diminished Bayou City Waterkeeper members’ ability to use

and enjoy the waters located within the Lower Galveston Bay watershed for a variety of activities

in the areas adjacent to the discharges, as well as areas upstream and downstream from the

discharges which are ecologically and hydrologically connected to the areas most directly affected

by the City’s discharges.

       5.       Bayou City Waterkeeper’s interest in promoting water quality encompasses its

efforts to prevent unlawful discharges that affect water quality, such as those emanating from the

City of Houston’s wastewater treatment and collection systems. This interest led Bayou City

Waterkeeper to dedicate its resources to investigating discharges from the City of Houston’s

wastewater treatment and collection systems. Based on the City’s own reports of its legal violations

submitted to the TCEQ through the TPDES program over a five-year period, Bayou City

Waterkeeper identified a pattern of consistent permit violations by the City of Houston across the

city as a whole.

       6.       More generally, strong environmental enforcement is essential to Bayou City

Waterkeeper’s mission of promoting water quality within the Lower Galveston Bay watershed,

and Bayou City Waterkeeper has participated in comments to rulemaking in vigorous support of

maintaining the Clean Water Act’s and related regulations’ existing protections.

       7.       Exhibit 1 includes as an attachment a true and correct copy of a notice of intent to

sue served on the City of Houston, the U.S. Environmental Protection Agency, and the State of

Texas on July 23, 2018.



                                                     2

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  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on September 26, 2018


                                                Jordan Macha




                                                3

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                EXHIBIT 1




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA and §
 STATE OF TEXAS,                       §
                                       §
                         Plaintiffs,   §              CIVIL ACTION NO. 4:18-CV-3368
                                       §              JUDGE EWING WERLEIN, JR.
 and                                   §
                                       §
 BAYOU CITY WATERKEEPER,               §
                                       §
                 Plaintiff-Intervenor, §
 v.                                    §
                                       §
 CITY OF HOUSTON,                      §
                                       §
                         Defendant.    §
                                       §

                  Bayou City Waterkeeper’s Original Complaint in Intervention

       In support of its complaint in intervention, Bayou City Waterkeeper alleges:

                                        I.   Introduction

1.     Bayou City Waterkeeper (“Bayou City Waterkeeper” or “Waterkeeper”) brings this action

in intervention under FRCP 24(a) and 24(b). The other parties to this case are the plaintiffs United

States of America (“EPA”) and the State of Texas (“State”) and the defendant City of Houston

(“City”).

2.     On July 23, 2018, Bayou City Waterkeeper served the City with a 60-day notice of intent

to sue under the Clean Water Act. The notice identified more than 9,300 potential violations of the

Clean Water Act, including unpermitted discharges of untreated sewage from the City’s

wastewater treatment and collection systems into and adjacent to waterways, riparian areas, and

micro-watersheds around the Houston area, as well as other incidents of noncompliance, such as

sanitary sewer overflows (“SSOs”) and unauthorized bypasses (collectively, “discharges and




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diversions”). Fifty-nine days later, the United States of America, through the Administrator of the

U.S. Environmental Protection Agency, and the State of Texas filed this action against the City of

Houston for an unstated number of unpermitted discharges from the City’s wastewater treatment

and collection systems. With their lawsuit, the EPA and State asked the Court to impose a blanket

stay on all proceedings and litigation activity. On September 24, 2018, the Court granted this

request and ordered a stay of unlimited duration. (Doc. 8.)

3.      Bayou City Waterkeeper intervenes to assert its specific interests in protecting the health

of waterways riparian areas, and micro-watersheds in the Houston area, which flow into and

directly impact the health of the Lower Galveston Bay watershed; and to ensure that any settlement

process adequately represents and protects these interests, which are distinctly and adversely

affected by the City’s discharges and diversions of untreated wastewater.

4.      Bayou City Waterkeeper intervenes on at least one of several independent grounds

available under FRCP 24(a) and 24(b):1

             •   FRCP 24(a)(1), which on a timely motion compels intervention when a federal
                 statute grants an unconditional right to intervene. Such a right exists here: The
                 Clean Water Act expressly authorizes citizens like Bayou City Waterkeeper to
                 “intervene as a matter of right” in governmental enforcement actions like this one.
                 See 33 U.S.C. § 1365(b)(1)(B).

             •   FRCP 24(a)(2), which independently compels intervention by right, because (1)
                 Bayou City Waterkeeper has filed a timely motion, (2) Bayou City Waterkeeper
                 has an interest in this litigation, as evidenced by its investigation of the City of
                 Houston’s permit violations culminating in a notice of intent to sue and citizen suit,
                 (3) this litigation may impair or impede Bayou City Waterkeeper’s interests, and
                 (4) the existing parties do not adequately represent Bayou City Waterkeeper’s
                 interests. See Entergy Gulf States La. v. EPA, 817 F.3d 198, 203 (5th Cir. 2016)
                 (citing Haspel & Davis Milling & Planting Co. v. Bd. of Levee Comm’rs of the
                 Orleans Levee Dist., 493 F.3d 570, 578 (5th Cir. 2007)).



1
 Because this intervention complaint was filed concurrently with Bayou City Waterkeeper’s Motion to Intervene as
Plaintiff, the precise grounds on which the Court will grant intervention are unknown, but are laid out here as they
appear in the motion to intervene.



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           •   FRCP 24(b), which allows permissive intervention, because Bayou City
               Waterkeeper “has a claim or defense that shares with [this] action a common
               question of law or fact.”

5.     Bayou City Waterkeeper asks this Court to enter declaratory and injunctive relief, civil

penalties, and other relief to correct the City’s recurring, unpermitted discharges and diversions of

untreated wastewater into and adjacent to waterways, areas, and micro-watersheds comprising the

Lower Galveston Bay watershed in the Houston area.

6.     Over the last five years, the City has self-reported more than 9,300 unpermitted discharges

and diversions at its municipally-owned wastewater treatment plants and collection systems, which

have spilled sewage-contaminated water into and adjacent to area waterways. Sewage is a pollutant

under the CWA, and untreated wastewater discharges and diversions may have a significant impact

on human health and safety, and the environment. Each of the City’s recurring, unpermitted

wastewater discharges and diversions violate the CWA, as well as the terms of the City’s Texas

Pollutant Discharge Elimination System (“TPDES”) permits. The City’s discharges are continuing

and likely to recur.

7.     The City has not taken adequate steps to address and prevent its recurring wastewater

discharges and diversions. According to the EPA and State’s complaint, the City’s violations date

back to at least 2005. (Doc. 1 at ¶¶ 50-61). The EPA and State’s complaint alleges these violations

were reported to the Texas Commission on Environmental Quality (“TCEQ”) “on numerous

occasions,” but does not identify any efforts on the part of the EPA or State to remedy the problem.

(Doc. 1 at ¶ 47.)

8.     Bayou City Waterkeeper’s investigation show that since 2005, only the State has taken any

formal corrective action of signification. In 2005, the TCEQ and the City entered a Compliance

Agreement and an Agreed Order (together, “CA/AO”) to address some of the City’s longstanding




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wastewater disposal problems. Under that CA/AO, the City reportedly upgraded, cleaned, and

renewed some of its sewer pipes and infrastructure and spent $755 million before completing all

work in June 2016. These efforts did not reduce the number of unpermitted discharges and

diversions reported by the City of Houston to the State. See Exhibit 1 (reflecting no decrease in

discharges and diversions after the City’s completion of work under the 2005 agreements).

9.       Bayou City Waterkeeper is a 501(c)(3), membership-based non-profit organization located

in Houston, Texas. As part of its mission, Waterkeeper works to protect water quality across the

Lower Galveston Bay watershed by identifying and targeting sources of pollution within area

waterways, riparian areas, and micro-watersheds. Waterkeeper’s members and supporters live near

and regularly use and enjoy Houston’s creeks, rivers, bays, estuaries, other waterways, and

surrounding land for recreational, aesthetic, educational, environmental, scientific, and vocational

purposes, including those waterways, areas, and micro-watersheds comprising the Lower

Galveston Bay watershed in the Houston area that is the subject of this intervention complaint.

The City’s unpermitted discharges and diversions have had a detrimental effect on, and pose an

ongoing threat to human health and safety, and the environment in the Houston area and have

diminished Waterkeeper’s members’ ability to use and enjoy the Lower Galveston Bay watershed

for a variety of activities.

10.      In an effort to resolve this problem and redress the City’s long-standing, ongoing violations

of the Clean Water Act, Waterkeeper seeks to intervene in this lawsuit against the City under FRCP

24(a)(1) and the Clean Water Act’s citizen participation provision. See 33 U.S.C. § 1365(b)(1)(B).

Alternatively, Bayou City Waterkeeper seeks to intervene as of right under FRCP 24(a)(2) or

permissively under FRCP 24(b).




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                                    II.   Jurisdiction & Venue

11.      This Court has subject matter jurisdiction over this action under 28 U.S.C § 1331 (federal

question) and 33 U.S.C. § 1365(a) (CWA citizen suit to enforce effluent standards or limitations).

The relief requested is authorized by 28 U.S.C. §§ 2201 and 2202 (further necessary or proper

relief based on a declaratory judgment), 33 U.S.C. §§ 1319(b), 1365(a) (injunctive relief), and 33

U.S.C. §§ 1319(d), 1365(a) (civil penalties).

12.      Venue is proper under 28 U.S.C. § 1391(b)(1), (2) and 33 U.S.C. § 1365(c) because the

City, its wastewater treatment and collection systems, and its unpermitted discharges and

diversions all are located or occurred in the Houston Division of the Southern District of Texas.

                                            III.    Notice

13.      Waterkeeper has complied with the CWA’s statutory notice requirements. See 33 U.S.C. §

1365(b)(1)(A). On July 23, 2018, in a letter sent by certified mail to Sylvester Turner, the City’s

mayor, Waterkeeper gave the City notice of the violations identified in this intervention complaint

and of its intent to file suit after sixty days should those violations continue. A true and correct

copy of the notice letter, with documentation of its postmark and receipt, is attached as Exhibit 1.

14.      Waterkeeper also mailed a copy of its notice letter by certified mail to the Administrator

of the EPA, the Regional Administrator for EPA Region 6, the State of Texas through the Texas

Attorney General, and the Executive Director of the TCEQ.

15.      Fifty-nine days into the notice period set forth under Waterkeeper’s notice letter, the EPA

and State filed this lawsuit.

16.      The violations identified in the notice letter are continuing at this time and are reasonably

likely to continue in the future.




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                                        IV.   Parties

                         Plaintiff-Intervenor Bayou City Waterkeeper

17.      The plaintiff-intervenor Bayou City Waterkeeper is a 501(c)(3) non-profit organization

incorporated in the State of Texas that was founded in 2001 as Galveston Baykeeper and has its

headquarters in Houston, Texas. As a part of its mission, Bayou City Waterkeeper works to protect

and restore water quality across the Lower Galveston Bay watershed by identifying and targeting

sources of pollution within area waterways, riparian areas, and micro-watersheds, including the

raw untreated sewage that enters the Houston area’s creeks, rivers, bays, estuaries, other

waterways, and surrounding land through the City’s wastewater treatment facilities and collection

systems.

18.      Waterkeeper is a licensed member of the Waterkeeper Alliance, which connects and

supports local Waterkeeper programs to champion fishable, swimmable, and drinkable waterways

worldwide.

19.      Waterkeeper is a membership-based organization and has at least 300 members who are

residents of the City of Houston. Waterkeeper’s members regularly use and enjoy the waters in

and around Houston, including the waters affected by the violations at issue in this intervention

complaint. Waterkeeper’s members engage in outdoor recreation, such as canoeing, hiking,

walking, fishing, birdwatching, picnicking, and photography and other recreational, aesthetic,

educational, environmental, scientific, and vocational activities of interest near and in the

waterways, areas, and micro-watersheds comprising the Lower Galveston Bay watershed in the

Houston area, such as Armand Bayou, Addicks and Barker Reservoirs, Brays Bayou, Buffalo

Bayou, Carpenters Bayou, Cedar Bayou, Clear Creek, Cypress Creek, Greens Bayou, Hunting

Bayou, Little Cypress Creek, the San Jacinto River, Sims Bayou, Vince Bayou, and White Oak

Bayou (hereinafter, “Lower Galveston Bay Watershed”). Waterkeeper’s members regularly use



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and enjoy areas and waterways in the Lower Galveston Bay Watershed and plan to continue to use

and enjoy them for recreational, educational, environmental, scientific, and vocational purposes in

the future and have specific and near-term plans to return to use them for the uses described above.

20.      By regularly and repeatedly discharging and diverting untreated wastewater into and near

area waterways, riparian areas, and micro-watersheds, the City has diminished Waterkeeper

members’ ability to use and enjoy these waterways for a variety of activities.

21.      Ongoing pollution from the City also deters Waterkeeper members from using and

enjoying such waters as they otherwise would because of reasonable and scientifically-based

concerns about the adverse effects of the City’s discharges and diversions. The City’s violations

cause a reasonable fear of pollution in the Lower Galveston Bay Watershed that reduces the ability

of Waterkeeper’s members to use and enjoy the waterways, riparian areas, and micro-watersheds.

The City’s violations also adversely impact water quality and the environment which harms the

ability of Waterkeeper members to observe and otherwise enjoy the aquatic, bird, and other

wildlife species.

22.      In an effort to resolve these problems, Waterkeeper invested its limited organizational

resources investigating pollution from the City’s wastewater treatment and collection systems.

23.      For these reasons, both Waterkeeper and its members have aesthetic, recreational,

educational, environmental, scientific, and vocational interests that have been, are being, and will

continue to be adversely affected and irreparably harmed by the City’s ongoing CWA violations.

These actual and potential injuries have been, are being, and will continue to be caused by the

illegal discharges and diversions from the City’s wastewater treatment and collection systems into

and adjacent to waters of the United States. Waterkeeper therefore is suing on behalf of itself and

its members.




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24.      The relief sought by this intervention complaint will redress the harms to Waterkeeper and

its members caused by the City’s unlawful discharges and diversions. The injuries are unlikely to

be redressed except by an order from this Court requiring the City to take immediate and

substantial action to stop the unpermitted discharges and diversions and flow of pollutants into

local waterways and to comply with other relief that this Court deems necessary.

25.      If successful, this action also will result in civil penalties that will deter future violations

that would threaten Waterkeeper’s and its members’ use and enjoyment of the Lower Galveston

Bay Watershed.

26.      Waterkeeper and its members suffer actual, concrete injuries that are fairly traceable to the

City’s violations and are redressable by this Court. Waterkeeper has no other adequate remedy at

law.

27.      Waterkeeper is located at 2010 N. Loop W., Suite 275, Houston, Texas 77018.

                                       Plaintiffs and Defendant

28.      The EPA and State’s complaint identifies the plaintiffs and defendant in this action. (Doc.

1 at ¶¶ 9-13.)

29.      The defendant City of Houston owns and operates the sanitary sewer treatment facilities

and collection system that are the source of the violations described in this intervention complaint.

The City encompasses much of the Lower Galveston Bay Watershed, into which the City’s

untreated discharges and diversions flow.

                                      V.     Legal Background

                                        The Clean Water Act

30.      Congress enacted the CWA to “restore and maintain the chemical, physical, and biological

integrity of the Nation’s waters.” 33 U.S.C. § 1251(a). To achieve this goal, the Act prohibits “the




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discharge of any pollutant” into navigable waters, except as authorized by the CWA. 33 U.S.C. §

1311(a).

31.      The CWA establishes the National Pollutant Discharge Elimination System (“NPDES”)

under which the Administrator of the EPA or an authorized State can issue NPDES permits, which

allow the lawful discharge of pollutants subject to certain conditions. 33 U.S.C. § 1342. In Texas,

the TCEQ has the authority to issue NPDES permits through the TPDES permitting program.

32.      TPDES permits impose limitations on the discharge of pollutants, and establish related

monitoring and reporting requirements, in order to improve the cleanliness and safety of the

Nation’s waters. Each violation of a TPDES permit violates the CWA and is grounds for

enforcement action. 33 U.S.C. §§ 1311(a), 1365(f).

33.      Each “discharge of any pollutant” that is not authorized by a permit also violates the CWA.

33 U.S.C. §§ 1311(a), 1365(f). The “discharge of any pollutant” means “any addition of any

pollutant to navigable waters from any point source…” 33 U.S.C. § 1362(1). The term “pollutant”

includes “sewage.” 33 U.S.C. § 1362(6). The term “point source” includes “any discernible,

confined and discrete conveyance” from which pollutants may be discharged, including “any pipe,

ditch, channel, tunnel, conduit, well [and] discrete fissure.” 33 U.S.C. § 1362(14). The term

“navigable waters” means waters of the United States, including the territorial seas. 33 U.S.C. §

1362(7). Thus, under the Act, unpermitted discharges of sewage-contaminated wastewater from

collection system pipes, channels, pumps, wells, and other conveyances into navigable waters are

unlawful and subject to an enforcement action.

34.      The holder of a TPDES permit is subject to both federal and state enforcement action for

failure to comply with the limitations imposed in the permit. 33 U.S.C. §§ 1319, 1342.




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                              Citizen Enforcement and Intervention

35.      The CWA authorizes any citizen to file a civil action to enforce an effluent standard in an

NPDES (or TPDES) permit, subject to certain limitations. 33 U.S.C. § 1365(a), (b). Subsection (a)

of the citizen suit provision, entitled “Authorization; jurisdiction,” instructs: “Except as provided

in subsection (b) of this section..., any citizen may commence a civil action on his own behalf...

against any person... who is alleged to be in violation of... an effluent standard or limitation under

this chapter.” 33 U.S.C. § 1365(a)(1).

36.      The CWA defines the term “an effluent standard or limitation under this chapter” to mean,

among other things, “a permit or condition thereof issued under, which is in effect under [section

402 of the CWA].” 33 U.S.C. § 1365(f).

37.      CWA section 505, 33 U.S.C. § 1365, empowers citizens to seek remedies for unpermitted

discharges violating Section 301 of the CWA, 33 U.S.C. § 1311, and for violations of NPDES

permit conditions. This section also authorizes citizens to seek injunctive relief.

38.      Each separate violation of the CWA subjects the violator to a penalty of up to $37,500 per

day per violation for all violations occurring on or before November 1, 2015, pursuant to sections

309(d) and 505(a) of the CWA. 33 U.S.C. §§ 1319(d), 1365(a), and 40 C.F.R. § 19.4 (2009)

(Adjustment of Civil Monetary Penalties for Inflation). Violations occurring after November 2,

2015 are subject to escalating penalties of up to $53,484 per violation occurring during 2018, as

provided by 33 U.S.C. §§ 1319(d) and 1365(a), and the Adjustment of Civil Monetary Penalties

for Inflation, 40 C.F.R. pt. 19.

39.      Section 505(d) of the CWA, 33 U.S.C. § 1365(d), allows prevailing or substantially

prevailing parties to recover litigation costs, including attorney fees and expert witness fees.




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40.      Sixty days before filing a citizen suit, the citizen must give notice of the alleged violation

to the alleged violator, the EPA, and the State in which the alleged violation occurs. §

1365(b)(1)(A). Sixty days after giving notice, citizens may bring an action in federal district court

to enforce any ongoing violations of the CWA.

41.      The Supreme Court has stated that “the purpose of notice to the alleged violator is to give

it an opportunity to bring itself into complete compliance with the Act and thus . . . render

unnecessary a citizen suit.” Gwaltney of Smithfield, Ltd. v. Chesapeake Bay Found., Inc., 484 U.S.

49, 60 (1987).

42.      Where the EPA or State elect to file a lawsuit within the sixty-day period, the CWA

provides that “any citizen may intervene as a matter of right.”2 33 U.S.C. § 1365(b)(1)(B).

                                                VI.      Facts

43.      Waterkeeper fully incorporates Exhibit 1¸ including all attachments to Exhibit 1, into this

intervention complaint.

44.      The Houston area includes several major watersheds through which countless channels,

rivers, creeks, and bayous drain to the Lower Galveston Bay Watershed. Residents depend on the

area’s waterways and their surrounding areas for recreational and aesthetic activities, including

swimming, boating, fishing, picnicking, walking, and wildlife observation, for scientific and

educational activities, and for the vocational and economic benefits of commercial and sport

fishing and tourism.




2
 To preclude a citizen from filing an independent citizen suit, the same provision requires the EPA and the State to
diligently prosecute violations under the CWA. 33 U.S.C. § 1365(b)(1)(B). By intervening in this action, Bayou City
Waterkeeper does not waive any arguments that the EPA and State are not diligently prosecuting the City’s CWA
violations.



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45.      The City of Houston operates 39 wastewater facilities around the Houston area. Its city-

wide system comprises 6,100 miles of sewer lines and 383 lift stations that can move an average

of 250 million gallons of wastewater per day to local plants for treatment before being discharged

into area bayous and lakes.3 Like many municipal wastewater systems, Houston’s system is

designed to collect, treat, and then discharge wastewater to waters of the United States. Each

facility is governed by the terms of its own TPDES permit.4

46.      Each of the City’s TPDES permits require that the City operate and maintain its wastewater

treatment facilities and all of its systems of collection, treatment, and disposal to prevent

unpermitted discharges and diversions of untreated wastewater, such as SSOs and unauthorized

bypasses.

47.      An SSO is a discharge of wastewater from a sewer system at a point or points before the

water enters a publicly owned treatment plant. Texas Water Code § 26.049(e)(4). A bypass is the

intentional diversion of wastewater from any portion of a treatment facility, meaning the

wastewater has not been fully treated. 40 C.F.R. § 122.41(m)(1).

48.      The City’s permits require the City to self-report any unauthorized discharges or

noncompliance which may endanger human health or safety, or the environment. By complying

with the self-reporting requirement, however, the City does not evade the CWA’s prohibition on

unauthorized discharges. Rather, each self-reported discharge represents an independent, potential

violation of the CWA by the City.



3
  City of Houston, Wastewater Operations, https://www.publicworks.houstontx.gov/pud/wwops.html (last visited
Sept. 19, 2018).
4
  The permits at issue in this intervention complaint are TPDES permit nos. 10495-002; 10495-003; 10495-009;
10495-010; 10495-016; 10495-023; 10495-030; 10495-037; 10495-050; 10495-065; 10495-075; 10495-076; 10495-
077; 10495-078; 10495-079; 10495-090; 10495-095; 10495-099; 10495-100; 10495-101; 10495-109; 10495-110;
10495-111; 10495-112; 10495-116; 10495-119; 10495-122; 10495-126; 10495-133; 10495-135; 10495-136; 10495-
139; 10495-142; 10495-146; 10495-148; 10495-149; 10495-150; 10495-151. As explained in footnote 4 below,
potential violations associated with permit no. 14650-001 are not included in this intervention complaint.



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49.      From July 24, 2013 to June 7, 2018, the City self-reported over 9,300 discharges and

diversions from its wastewater systems. The attachments to Exhibit 1 detail these violations.5 This

data confirms that the City regularly violates the CWA and the terms of its TPDES permits.

50.      The data documented in the attachments to Exhibit 1 also confirms that the City’s

discharges and diversions have occurred repeatedly, with incidents in nearly every month for

which data was provided in the past five years. The City’s ongoing and continuous violations show

that the City has not operated and maintained its wastewater collection system to prevent the

unpermitted discharge and diversion of untreated wastewater in violation of the CWA and its

TPDES permits.

51.      The City’s permit violations are not geographically isolated and occur across the City. The

map on page 6 of Exhibit 1 depicts the locations of the City’s wastewater treatment facilities in

the Houston area. The table on page 5 of Exhibit 1, and reproduced below, shows that unpermitted

discharges and diversions are associated with all of the City’s wastewater treatment facilities

addressed in this intervention complaint:

                                                         ///




5
  This intervention complaint excludes three important sets of data: (1) 53 known SSOs that occurred between August
26 and September 4, 2017 that Waterkeeper determined are potentially associated with Hurricane Harvey; (2) an
unknown number of SSOs occurring after November 30, 2015 and before February 13, 2016 because this data is not
available from the TCEQ due to what seems to be the TCEQ’s failure to maintain records during a change in format
of reporting and recordkeeping databases; (3) an unknown number of SSOs associated with Houston’s West Lake
Houston Wastewater Treatment Facility (Permit No. 14650-001) because this data was not made available to
Waterkeeper as of the date of its notice letter. As a plaintiff-intervenor, Waterkeeper reserves the right to amend this
intervention complaint to include violations if additional data reveals further CWA violations by the City.



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   Figure 1: Approximate Number of Unauthorized SSO and Bypass Discharges from
   City of Houston wastewater treatment plants occurring from July 2013 to June 2018.

                        WWTP                  TCEQ       Number of
                                              Permit     Discharges
         1     Sims Bayou                 10495-002            1,601
         2     Almeda Sims                10495-003              926
         3     Chocolate Bayou            10495-009              238
         4     Clinton Park               10495-010               23
         5     FWSD #23                   10495-016              499
         6     Homestead                  10495-023               82
         7     West District              10495-030              294
         8     Southwest                  10495-037              886
         9     WCID #47                   10495-050               89
         10    Easthaven                  10495-065               44
         11    Sagemont                   10495-075               86
         12    Northwest                  10495-076              427
         13    Northeast                  10495-077              224
         14    Intercontinental Airport   10495-078                 3
         15    Southeast                  10495-079               56
         16    69th Street                10495-090            2,330
         17    WCID #111                  10495-095               64
         18    White Oak                  10495-099               81
         19    Northgate                  10495-100               50
         20    Imperial Valley            10495-101               87
         21    Turkey Creek               10495-109              121
         22    Greenridge                 10495-110               86
         23    Beltway                    10495-111              226
         24    Cedar Bayou                10495-112               16
         25    Upper Brays                10495-116              101
         26    Keegans Bayou              10495-119              308
         27    Northbelt                  10495-122               37
         28    Willowbrook                10495-126               11
         29    HCMUD #203                 10495-133              122
         30    Park Ten                   10495-135                 7
         31    Metro Central              10495-136               37
         32    Westway                    10495-139               13
         33    Kingwood West              10495-142                 2
         34    Kingwood Central           10495-146               26
         35    Tidwell Timbers            10495-148               12
         36    Forest Cove                10495-149                 8
         37    WCID #76                   10495-150               42
         38    Willow Run                 10495-151               54
                                                       TOTAL: 9,319




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52.       The City’s unpermitted discharges and diversions contribute pollutants to waters of the

United States, including those in the Lower Galveston Bay Watershed. The City’s untreated

wastewater discharges present a serious threat to human health and safety, the environment, water

quality and the biological integrity of plant life and animal organisms. Nearly every identified

stream segment that TCEQ monitors within the City’s wastewater treatment plant service area is

recognized by TCEQ and EPA as impaired by bacteria. When a water body is recognized as

impaired, it exceeds identified pollution criteria and cannot fully support its designated beneficial

uses, such as those in the Houston area: recreation, aquatic life, fish consumption, and public water

supply.

53.       To date, the City’s efforts to improve its wastewater collection system have not sufficed to

prevent recurring unpermitted discharges and diversions. The City entered a Compliance

Agreement with the TCEQ in 2005 and an Agreed Order later that same year to address some of

its longstanding wastewater problems. Under that CA/AO, the City reportedly upgraded, cleaned,

and renewed some of its sewer pipes and infrastructure. According to the City, all work under the

CA/AO was completed by June 2016. Similarly, in 1997, the City completed work in constructing

relief sewers, sewer rehabilitation, and upgrading or replacing lift stations through the “Greater

Houston Wastewater Program” or “GHWP.” As evidenced by the City’s continuing legal

violations numbering in the thousands, the work undertaken under the 2005 CA/AO and the 1997

GHWP fell far short of resolving the City’s problem.

54.       Despite being aware of the problem for years, the EPA and State also have not taken

adequate steps to address and prevent the City’s recurring wastewater discharges and diversions.




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55.      Recently, the current EPA has reduced funding for environmental enforcement nationwide

and repeatedly expressed its intent to scale back the Clean Water Act’s protections, which signal

that the EPA may not be in a position to diligently prosecute the City’s legal violations.

56.      The City’s continuing and unpermitted discharges and diversions violate the CWA and the

conditions of the City’s TPDES permits and have injured and will continue to injure Waterkeeper

and its members. Waterkeeper’s members use and enjoy waterways, areas and micro-watersheds

in the Lower Galveston Bay Watershed for recreational activities, including canoeing, hiking,

walking, fishing, birdwatching, photography, picnicking, and nature watching. The City’s

discharges and diversions of pollutants into the Lower Galveston Bay Watershed diminishes

Waterkeeper’s and its members’ enjoyment of these activities and waters.

                         VII.    First Claim for Relief in Intervention
                                     (Unauthorized discharges)

57.      Waterkeeper incorporates each and every allegation set forth above.

58.      The Lower Galveston Bay Watershed encompass waters of the United States or waterways

that have a significant nexus to waters of the United States and thus are navigable waters as defined

by the CWA and controlling authority. See 33 U.S.C. § 1362(7); 40 C.F.R. § 122.2.

59.      Section 301(a) of the CWA, 33 U.S.C. § 1311(a), prohibits the discharge of any pollutant

from any point source to waters of the United States, except for discharges in compliance with a

NPDES (or TPDES) permit issued pursuant to Section 402 of the Clean Water Act, 33 U.S.C. §

1342. Untreated wastewater is a pollutant that cannot be discharged without a permit under the

Clean Water Act. See 33 U.S.C. § 1362(6).

60.      The City’s TPDES permits only authorize the City to discharge wastewater that has been

treated according to the permits’ specific conditions and at the location of an authorized outfall.




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The City’s permits expressly prohibit unauthorized discharges, including SSOs and intentional

bypasses from the wastewater collection system.

61.      The City’s treatment and collection system consists of pipes and other manmade

conveyances and is a point source under the CWA. See 33 U.S.C. § 1362(14).

62.      As described in this intervention complaint and detailed in the attachments to Exhibit 1,

since at least July 24, 2013, the City has discharged and diverted wastewater from its collection

systems on more than 9,300 separate occasions. Because the City’s TPDES permits do not

authorize these discharges, each discharge violates the CWA.

63.      As owner and operator of the collection system, the City is responsible for the CWA

violations alleged in this intervention complaint and Exhibit 1 that have occurred from July 24,

2013 to the present.

64.      Each and every one of the City’s unauthorized wastewater discharges into waters of the

United States amounts to a separate and distinct violation of Section 301(a), 33 U.S.C. § 1311(a),

and Section 402, 33 U.S.C. § 1342, of the CWA.

65.      Neither the EPA nor the State of Texas is diligently prosecuting these discharges and

diversions. The State’s 2005 CA/AO has no effect on Waterkeeper’s right to intervene, and the

EPA and State’s request for a blanket stay on all proceedings in this litigation undermines any

argument that the EPA and State are diligently prosecuting the violations through this suit.

66.      More broadly, the current EPA has reduced funding for environmental enforcement

nationwide and repeatedly expressed its intent to scale back the Clean Water Act’s protections,

which signal that the EPA may not be in a position to diligently prosecute the City’s legal

violations.




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67.      The City’s unpermitted discharges and diversions constitute ongoing violations of the

CWA. Based on the pattern of the City’s past unpermitted discharges and diversions, their

continuation from the time of the sixty-day notice letter to the present, and the City’s failure to

adequately and completely repair, replace, restore, or otherwise remediate the infrastructure

associated with its wastewater collection system that has caused the unpermitted discharges and

diversions, it is reasonably likely that the City’s unpermitted discharges and diversions will

continue with the same frequency. The City’s violations are continuing at the time of the filing of

this intervention complaint and will continue to occur on each occasion the City discharges or

diverts untreated wastewater in violation of the CWA’s requirements.

68.      The City’s continuing commission of the acts and omissions alleged in this intervention

complaint irreparably harms the waters of the United States in the Houston area, as well as

Waterkeeper and its members, for which harm they have no adequate remedy at law.

                       VIII.    Second Claim for Relief in Intervention
                     (Failure to comply with TPDES Permits and Conditions)

69.      Waterkeeper incorporates each and every allegation set forth above.

70.      Each of the City’s 38 TPDES permits that are the subject of this intervention complaint

contain language that requires the City to operate and maintain its wastewater treatment facilities

and all of its systems of collection, treatment, and disposal to prevent unauthorized discharges of

untreated wastewater, including SSOs, or unauthorized diversions, called bypasses.

71.      As described in this intervention complaint and detailed in the attachments to Exhibit 1,

since July 24, 2013, the City has continuously failed to operate and maintain its wastewater

treatment facilities and all of its systems of collection, treatment, and disposal to prevent

unpermitted discharges and diversions of untreated wastewater. The City therefore has failed to

comply with its TPDES permits and conditions thereof. See 33 U.S.C. § 1365(f) (defining “an




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effluent standard or limitation” to mean, among other things, “a permit or condition thereof issued

under [section 402 of the Clean Water Act].”)

72.      The CWA authorizes any citizen to file a civil action to enforce an effluent standard in a

NPDES (or TPDES) permit against any person who is alleged to be in violation of an effluent

standard or limitation. 33 U.S.C. § 1365(a).

73.      As owner and operator of the collection system, the City is responsible for violations of the

CWA alleged in this intervention complaint and Exhibit 1 that have occurred from July 24, 2013

to the present.

74.      Each and every one of the City’s unpermitted wastewater discharges and diversions

amounts to a separate and distinct violation of its TPDES permits and a condition thereof.

75.      Neither the EPA nor the State of Texas is diligently prosecuting these unpermitted

discharges and diversions. The State’s 2005 CA/AO has no effect on Waterkeeper’s right to

intervene, and the EPA and State’s request for a blanket stay on all proceedings in this litigation

undermines any argument that the EPA and State are diligently prosecuting the violations through

this suit.

76.      More broadly, the current EPA has reduced funding for environmental enforcement

nationwide and repeatedly expressed its intent to scale back the Clean Water Act’s protections,

which signal that the EPA may not be in a position to diligently prosecute the City’s legal

violations.

77.      The City’s unpermitted discharges and diversions constitute ongoing violations of its

TPDES permits and conditions thereof.




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78.      Because the problems at the City’s facilities and in the City’s collection systems have not

been corrected at this time, the City’s violations are at least reasonably likely to continue in the

future in the absence of the requested relief.

79.      The City’s continuing commission of the acts and omissions alleged in this intervention

complaint irreparably harms the waters of the United States in the Houston area, as well as

Waterkeeper and its members, for which harm they have no adequate remedy at law.

                                     IX.    Prayer for Relief

80.      Bayou City Waterkeeper respectfully asks this Court to:

81.      Allow it to intervene in this lawsuit and participate in all proceedings relevant to this

lawsuit;

82.      Issue a declaratory judgment stating that the City of Houston has violated and is continuing

to violate the Clean Water Act and the conditions of its TPDES permits with its recurring

unpermitted discharges and diversions of wastewater into waters of the United States;

83.      Issue a declaratory judgment stating that the EPA and State are not diligently prosecuting

the City of Houston’s legal violations;

84.      Grant appropriate injunctive relief to ensure that the City of Houston prevents the recurring

discharge and diversion of untreated wastewater into waters of the United States and addresses the

environmental effects of the recurring discharges and diversions on these waterbodies;

85.      Retain jurisdiction over this matter until such time as the City of Houston has come into

compliance with the prohibitions, terms, and conditions of the CWA and the injunctive relief

ordered by this Court;

86.      Assess civil penalties against the City of Houston of up to $37,500 per day for violations

occurring on or before November 1, 2015. Violations occurring after November 2, 2015 are subject

to escalating penalties of up to $53,484 per violation occurring during 2018, as provided by 33



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U.S.C. §§ 1319(d) and 1365(a), and the Adjustment of Civil Monetary Penalties for Inflation, 40

C.F.R. pt. 19;

87.      Award Bayou City Waterkeeper its costs, including reasonable attorney fees and expert

witness fees, as authorized under the CWA. 33 U.S.C. § 1365(d); and

88.      Grant such other and further relief as the Court deems just and proper.

         Respectfully submitted on October 3, 2018.

                                                      By: /s/ David Frederick
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                                                      Attorney-in-charge
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                                                      kristen@bayoucitywaterkeeper.org
                                                      Attorney for Plaintiff-Intervenor Bayou City
                                                      Waterkeeper

                                                EXHIBITS

Exhibit 1 – Plaintiff-Intervenor Bayou City Waterkeeper’s Notice of Intent to Sue Letter (July 23,
2018) with attachments




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                 EXHIBIT 1
   to Bayou City Waterkeeper’s Original
         Complaint in Intervention




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        FREDERICK, PERALES, ALLMON & ROCKWELL, P.C.
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July 23, 2018

City of Houston
Mayor Sylvester Turner
P.O. Box 1562
Houston, TX 77251

VIA CERTIFIED MAIL RETURN RECEIPT REQUESTED


RE: Notice of Intent to Sue for Violations of the Federal Clean Water Act Based on Sanitary
Sewer Overflows and Bypasses from Wastewater Treatment Facilities in Houston, Texas

Dear Mayor Turner:

         Through this letter, Bayou City Waterkeeper (“Waterkeeper”) notifies you of its intent to
file a citizen suit against the City of Houston (the “City”) on or after the 60th day from the date of
this notice for violations of the Federal Water Pollution Control Act, 33 U.S.C. §§ 1251 et seq
(“Clean Water Act” or “CWA”), and violations of the Texas Pollution Discharge Elimination
Systems (“TPDES”) permits it holds in order to operate its wastewater treatment facilities.

       Pursuant to section 505(b) of the CWA, Waterkeeper provides this notice to the
Administrator of the United States Environmental Protection Agency (“EPA”), the Regional
Administrator for EPA Region 6, the Texas Attorney General, and the Executive Director of the
Texas Commission on Environmental Quality (“TCEQ”), and to the City of Houston, as the
alleged violator. See 33 U.S.C. § 1365(b)(1)(A); 40 C.F.R. § 135.2(a).

       Waterkeeper intends to file suit pursuant to section 505(a)(1) of the Clean Water Act, 33
U.S.C. § 1365(a)(1). The suit will allege that since at least July of 2013, the City’s past and
continuing practices at its wastewater treatment facilities include thousands of violations of its
TPDES permits—violations that have harmed and will continue to harm Houston’s waterways.

   I.      Bayou City Waterkeeper

        Bayou City Waterkeeper is a 501(c)(3) nonprofit public interest organization working to
protect and restore the integrity of the bayous, rivers, streams, and the bays through advocacy,
education, and action in the greater Houston-Galveston region. Waterkeeper is focused on making



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the Lower Galveston Bay watershed a productive and healthy ecosystem that serves the
communities’ natural, economic, and recreational needs for generations to come. Using law and
science, Waterkeeper aims to make our waterways fishable, swimmable, and drinkable for all.
Bayou City Waterkeeper is a member of the Waterkeeper Alliance, a global environmental
movement that includes Waterkeeper organizations around the world promoting citizen advocacy
on a range of issues affecting our waterways.

        Waterkeeper is a “citizen” within the meaning of 33 U.S.C. § 1365(g) because its members
and supporters have an interest which is adversely affected by the City of Houston’s CWA
violations. Waterkeeper’s members and supporters live and recreate in the creeks, rivers, bays,
estuaries, and other waterways in and around Houston, including those that are the subject of this
notice letter. As part of its mission, Waterkeeper is committed to addressing the raw untreated
sewage that enters the Houston areas rivers, bays, and estuaries through the City’s wastewater
treatment facilities.

        Waterkeeper’s membership includes 275 residents of the City of Houston, specifically
residents who live near and swim, boat, fish, birdwatch, and otherwise recreate in and around the
waters including, but not limited to, Brays Bayou, Buffalo Bayou, Clear Creek, Sims Bayou and
White Oak Bayou. The City of Houston’s discharges of untreated wastewater degrade water
quality and harm aquatic life in these waters and thus impair Waterkeeper’s members’ use and
enjoyment of the waters. The City’s SSOs are ongoing and continuous. As a result, the City’s
discharge of untreated wastewater has adversely affected and will continue to adversely affect
Waterkeeper’s members’ use and enjoyment of these waters.

   I.      Impacts of Wastewater Pollution to Houston’s Waterways and Environment:

        Life in Houston revolves around water. The Houston area includes several major
watersheds—the Trinity-San Jacinto Coastal Basin, the San Jacinto River Basin, and the San
Jacinto-Brazos Coastal Basin—through which countless channels, rivers, creeks, and bayous drain
to the areas multiple bays and estuaries. Residents depend on the area’s waterways for recreation
that includes swimming, boating, fishing, and wildlife observation, and from the economic benefit
of commercial and sport fishing and tourism.

        A Sanitary Sewer Overflow (“SSO”) occurs when a wastewater collection system
discharges untreated sewage into the environment before it reaches the treatment facility. A bypass
occurs when untreated or partially treated wastewater is intentionally discharged without going
through the full wastewater treatment process. Bypasses or SSOs can be caused by a failure to
operate or maintain the system properly, equipment breaks or failures, blockages, or other
deficiencies with the system. Untreated or partially treated wastewater can contain bacteria,
viruses, and other pollutants that can affect public health and that can back up into homes and
buildings and cause property damage. SSOs and bypasses also can contaminate waterbodies and
cause serious water quality problems. The City of Houston’s high number of self-reported
violations over the last five years shows that the City long has been aware of its SSOs and bypasses,
and has, so far, failed to eliminate them from its wastewater system.




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        The City’s SSOs and bypasses ultimately enter many waterways that are recognized by the
TCEQ and EPA as impaired water bodies. When a water body is recognized as impaired, it exceeds
identified pollution criteria and cannot fully support its designated beneficial uses, such as those
in the Houston area: recreation, aquatic life, fish consumption, and public water supply.

   II.     The City of Houston’s Violations of the Clean Water Act:

       The Clean Water Act Section 301(a) prohibits the discharge of any pollutant by any person,
except as authorized by a National Pollutant Discharge Elimination System (NPDES) permit. 33
U.S.C. § 1311(a). A NPDES permit may be issued to allow the owner or operator of a facility to
discharge pollutants subject to certain limitations, such as monitoring, reporting, effluent
standards, and other terms. Id. at § 1342(a). A discharge that is not explicitly authorized by the
permit violates the Clean Water Act.

       The Clean Water Act allows any state to assume authority to administer its own permitting
program in place of the federal program. Id. at § 1342(b)-(c). Texas administers the Texas Pollutant
Discharge Elimination System under which it issues TPDES permits to entities wishing to
discharge pollutants.

       The City of Houston operates 39 wastewater facilities around the Houston area. The city-
wide system comprises 6,100 miles of sewer lines and 383 lift stations that can move an average
of 250 million gallons of wastewater per day to local treatment plants where it can be treated and
returned to the area’s bayous and lakes. Like many municipal wastewater systems, Houston’s is a
system designed to collect, treat, and then discharge wastewater to waters of the U.S. Each facility
is governed by the terms of its own TPDES permit.

       Each of the City’s permits require that the City operate and maintain its wastewater
treatment facilities to prevent unauthorized discharges of untreated wastewater. Generally
speaking, the permits also prohibit a bypass of the treatment system. A bypass is an intentional
discharge of wastewater that has not been fully treated.

       Under its permits, the City also is required to self-report any discharges. By complying
with the self-reporting requirement, however, the City does not evade the CWA’s prohibition on
unpermitted discharges. Over the last five years, the City has reported over 9,300 SSOs from its
wastewater systems. Exhibits 1-38 detail these unpermitted discharges, which violate the City’s
TPDES permits because they indicate improper operation and maintenance of the sewer system
and constitute unauthorized point source discharges to waters of the United States.

        Though the violations alleged in this notice letter are taken from the City’s self-reported
violations between July 24, 2013 through June 7, 2018, three important sets of data are excluded:
First, Waterkeeper has excluded 53 known SSOs that occurred between August 26 and September
4, 2017 that potentially are associated with Hurricane Harvey. Second, the notice excludes SSOs
after November 30, 2015 and before February 13, 2016 because this data is not available from the
TCEQ due to what seems to be the TCEQ’s failure to maintain records during a change in format
of reporting and recordkeeping databases. Last, this notice excludes SSOs associated with



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Houston’s West Lake Houston Wastewater Treatment Facility, (Permit No. 14650-001) because
this data was not made available to Waterkeeper as of the date of this notice letter. Waterkeeper
reserves the right to amend this notice letter or serve a separate notice letter if this data becomes
available and reveals further CWA violations by the City of Houston.

        Waterkeeper does not mean to imply that the City of Houston did not violate the CWA
with respect to these three excluded data sets. Rather, Waterkeeper identifies these exclusions
because both the City and the public must understand that the large number of identified SSOs and
bypasses likely underrepresents the total number of SSOs and bypasses during the relevant time
period. The data is constrained by its self-reported nature and because some data has been lost and
not all potential SSOs have been included. The City’s problem thus likely is more pervasive and
severe than what is conveyed in this notice letter. To the extent Waterkeeper later discovers SSOs
and bypasses beyond those already identified in this notice letter that it previously could not
identify due to the TCEQ’s failure to accurately record them, Waterkeeper reserves its right to sue
for these violations under the CWA. Likewise, Waterkeeper reserves the right to pursue
enforcement action for any violations occurring after the time period encompassed by this notice
letter

        The data reveals that of the more than 9,300 SSOs and bypasses, only approximately
2,200 may have been due to a failure in a service lateral. Even if the City can show that each of
these SSOs was associated with a service lateral, the City still will not be able to dispute
that its collection system experienced at least 7,000 SSOs and bypasses in the last five years.
Further, the data, as is extensively documented in Exhibits 1-38, reveals that the SSOs and
bypasses have occurred repeatedly, with incidents in nearly every month for which data was
provided in the past five years. The City’s ongoing and continuous SSOs and bypasses show
that the City has not operated and maintained its wastewater collection system to prevent the
unauthorized discharge of untreated wastewater in violation of the Clean Water Act and its
TPDES permits.

       Not only do Houston’s SSOs and bypasses account for an enormous amount of untreated
wastewater being released into the environment, but they show that the problem is widespread
throughout the City. Figure 1 demonstrates that the SSOs and bypasses are associated with all of
the City’s 38 wastewater treatment facilities addressed in this notice. In Figure 2 on the
following page, a map depicts the locations of those wastewater treatment facilities around the
Houston area.




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Figure 1: Approximate Number of Unauthorized SSO and Bypass Discharges from City of
Houston wastewater treatment plants occurring from July 2013 to June 2018.
                                WWTP                  TCEQ        Number of
                                                      Permit      Discharges
                   1    Sims Bayou                 10495-002            1,601
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                   37   WCID #76                   10495-150               42
                   38   Willow Run                 10495-151               54
                                                               TOTAL: 9,319




                                                                                Appendix32
                                                                                                                                                                        Sewage Excursions
                                                                                                                                                                             1 - 50
                                                                                             Kingwood West
                                                                                                                                                                             51 - 100
                                                                                                            Kingwood             Cedar Bayou
                                                                                                Forest Cove Central                                                          101 - 500

                                                                                                                                                                             501 - 1000

                                                                                                                                                                             1001 - 1604
                                                                          Intercontinental
                                                           H.C.M.U.D.     Airport Reg.                                                                                  TCEQ Stream Segments
                                       Willowbrook         #203                                                                                                              Impaired
                                                       Northgate    Imperial            Northbelt                                                                            Not Impaired
                                                                    Valley
                                                                                       W.C.I.D. #76

                                                            WILLOW RUN                                                                                                  The number of wastewater
                                                                                                                                                                        excursions is based on a
                                               White Oak                                                                                                                combined database of 9,283
                                                                                   F.W.S.D. #23     Tidwell                                                             events spanning a period from
                                                                                                    Timbers                                                             June 25, 2013 through June 7,
                                                      Northwest
                                     Westway                                                                                                                            2018. Excursions between
                                                                                                                                                                        November 30, 2015 and
                                                                                                                                                                        February 13, 2016 are not
                                                                                       Homestead
                                                                                                                                                                        available. Fifty-three records
               Park Ten                                                                                  Northeast                                                      between August 26 and
                                                                                                                                                                        September 4, 2017 were
                     Turkey Creek West District                                   69th Street                                                                           excluded as potentially
                                                                                                                                                                        associated with Hurricane
                                                                                                                                                                        Harvey.
                                                                                              Clinton Park
                     Upper Brays                                                                Sims Bayou
                                   Beltway
                                                           Southwest


                           W.C.I.D. #111                                   Chocolate
                                                                            Bayou                     W.C.I.D. #47
                                       Keegans Bayou                                     Easthaven
                                                                   Almeda Sims

                                                                                             Southeast
                                                     Greenridge                                            Sagemont




                                                                                         Esri, HERE, Garmin, © OpenStreetMap contributors, and the GIS user community

                                                                                                                     0   2   4            8        12          16
                                                                                                                                                                Miles
                                                                                                                                                                           µ
                                                                                                                                                                                                         Case 4:18-cv-03368 Document 12-2 Filed on 10/03/18 in TXSD Page 34 of 95




                                                                                                                         City of Houston Sanitary Sewer Overflows




Appendix33
                                                                                                                         Wastewater Treatment Facility Excursions

    TBPE Firm No. F4092    Sealed on June 25, 2018
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July 23, 2018
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   III.      Requested Relief:

         Waterkeeper intends to seek injunctive relief to prevent further violations of the CWA. See
33 U.S.C. § 1365(a), (d). Waterkeeper also will seek declaratory relief and all other relief permitted
by law to remedy the City’s past CWA violations. Waterkeeper will seek civil penalties pursuant
to CWA section 309(d), 33 U.S.C. § 1319(d), and 40 C.F.R. § 19.4 for all violations occurring
during the period commencing five (5) years prior to the date of this notice letter. Violations
encompassed within this letter occurring before November 2, 2015 are subject to a penalty of up
to $37,500 per violation. Violations occurring after November 2, 2015 are subject to escalating
penalties of up to $53,484 per violation occurring during 2018. For the violations identified in this
letter, the total amount of potential penalties is well in excess of $250 million. Last, Waterkeeper
also will seek to recover its litigation costs through CWA Section 505(d), 33 U.S.C.
§1365(d), including reasonable attorney and expert witness fees.

   IV.       Conclusion:

       Bayou City Waterkeeper, by and through its attorneys, Frederick, Perales, Allmon &
Rockwell, P.C. and Legal Director Kristen Schlemmer, provides this Notice of Intent to Sue
pursuant to 33 U.S.C. section 1365(b). Bayou City Waterkeeper’s contact information is:

          Bayou City Waterkeeper
          2010 N Loop West, Suite 275
          Houston, TX 77018
          Phone: 281-501-8493

        Please direct all communication to Waterkeeper’s legal counsel, who are giving notice on
their behalf.

                                               Sincerely,



           ______________________________               ______________________________
           Eric Allmon                                  Kristen Schlemmer, Legal Director
           Lauren Ice

           FREDERICK, PERALES,                          BAYOU CITY WATERKEEPER
           ALLMON & ROCKWELL, P.C                       2010 N. Loop West
           1206 San Antonio                             Suite 275
           Austin, Texas 78701                          Houston, TX 77018
           512-469-6000 (P)                             281-501-8493 (P)
           512-482-9346 (F)                             281-901-0182 (Direct)
           ATTORNEYS FOR BAYOU CITY
           WATERKEEPER




                                                                                         Appendix34
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Attachments – Exhibits 1-38.

Cc:

City of Houston Legal Department
P.O. Box 368
Houston, TX 77001-0368



                                        SERVICE LIST:


Andrew Wheeler, Acting Administrator
Mail Code 1101A
US Environmental Protection Agency
1200 Pennsylvania Avenue, N.W.
Washington, D.C. 20460

Anne L. Idsal, Regional Administrator
EPA Region 6 Main Office
1445 Ross Avenue, Suite 1200
Dallas, Texas 75202

Ken Paxton, Attorney General
Office of the Attorney General of Texas
P.O. Box 12548
Austin, TX 78711-2548

Stephanie Bergeron Perdue, Interim Executive Director
Mail Code 109
Texas Commission on Environmental Quality
P.O. Box 13087
Austin, TX 78711-3087




                                                                    Appendix35
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Bayou City Waterkeeper Notice of Intent to Sue
July 23, 2018




              EXHIBITS 1-38
                    Electronic copy attached.
         The TCEQ provided the data that is relied on for this Notice of Intent to Sue letter and
reported in the attached Exhibits 1-38. The data fields used by the TCEQ and the data collected
were inconsistent so that no one data field consistently conveyed the precise location of each
reported SSO or bypass. Rather than include multiple fields with cumbersome and unnecessary
information, the exhibits contain a summary of data for each WWTP. The exhibits are intended
to provide the City of Houston notice of the individually reported violations which may be the
subject of a suit, but the original data provided by the TCEQ has been abridged. A printed copy
and an electronic copy of Exhibits 1-38 has been provided to the City of Houston with the notice
letter. All others entitled to notice have been provided with an electronic copy of Exhibits 1-38
only. If you have any questions about the data as it appears in its original form, please contact us.




                                                                                        Appendix36
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Exhibit 1: Sims Bayou WWTP, Permit No. 10495-002                   28   10/31/2013   3506 SCOTT @ ELGIN; SBP25-         32412
Self-reported overflows July 24, 2013 – June 7, 2018                                 SBP25064
                                                                   29   10/31/2013   3600 TELEPHONE; SBP19-             32415
                                                                   30   10/31/2013   3600 TELEPHONE; SBP19-             32416
          Start                  Address;              Excursion
           Date              Basin-Manhole ID             ID       31   10/31/2013   3500 BROCK; SBP02-SBP02385         32417
 1     7/24/2013    4950 EL BUEY WAY; SB005-SB005027   32173       32   10/31/2013   3500 BROCK; SBP02-SBP02148A        32418
 2     7/25/2013    6001 TEXAS; SB155-                 32175       33   10/31/2013   5603 BARREMORE; SB152-SB152044     32427
 3     8/5/2013     5600 ROYAL PALMS; SBP21-SBP21022   32201       34   10/31/2013   5649 BARREMORE; SB152-SB152060     32428
 4     8/14/2013    3260 TRUXILLO; SB160-SB160043A     32224       35   10/31/2013   1006 HACKNEY; SB149-SB149096       32429
 5     8/20/2013    5871 BELCREST; SB103-              32236       36   10/31/2013   6335 BROOKSIDE; SB152-SB152081     32430
 6     8/21/2013    4700 TELEPHONE; SB078-SB078046     32246       37   10/31/2013   5425 JEFFERSON; SB154-SB154044     32431
 7     8/23/2013    1003 FLAGSTONE; SB015-SB015026     32245       38   11/5/2013    5302 LONGMEADOW; SB082-            32445
 8     8/29/2013    9206 WINKLER; SBP08-               32258       39   11/6/2013    6303 LYNDHURST; SB091-             32448
 9     9/4/2013     9206 WINKLER; SBP08-               32271       40   11/6/2013    8311 WINKLER; SBU04-               32453
 10    9/7/2013     8800 WINKLER; SB036-SB036047       32279       41   11/12/2013   8535 WINKLER; SB060-               32468
 11    9/9/2013     6123 BELMARK; SB110-               32284       42   11/12/2013   2001 JEFFERSON; SB139-SB139052     32470
 12    9/10/2013    1908 ISABELLA; SB161-              32287       43   11/13/2013   8223 BENDELL DR; SB060-            32472
 13    9/10/2013    8535 WINKLER; SB060-               32288       44   11/13/2013   2100 JEFFERSON; SB139-             32473
 14    9/17/2013    4100 MERIDIAN; SB027-SB027021      32306       45   11/17/2013   8535 WINKLER; SB060-               32480
 15    9/21/2013    WHEELER AND TELEPHONE; SBP19-      32321       46   11/19/2013   8010 WIER; SB060-                  32486
                    SBP19006                                       47   11/20/2013   8605 JOHN; SB073-                  32487
 16    9/25/2013    8271 STONE; SB036-SB036023         32335       48   11/27/2013   8541 WINKLER; SB060-               32496
 17    9/26/2013    3030 N MACGREGOR; SBP31-           32339       49   11/27/2013   8930 WINKLER; SB036-               32497
                    SBP31086                                       50   12/3/2013    3030 HASBROOK; SBP02-              32509
 18    9/27/2013    4022 MERIDIAN; SB027-SB027018      32341       51   12/10/2013   5719 DOULTON; SBP22-               32524
 19    10/2/2013    8614 HARDING; SB072-SB072069       32346       52   12/17/2013   1800 HUTCHINS & 2200 JEFFERSON;    32545
 20    10/4/2013    3030 N. MACGREGOR WAY; SB194-      32348                         SB139-SB139029
 21    10/7/2013    2800 S MACGREGOR; SB190-           32358       53   1/2/2014     3700 COBB; SB135-SB135018          32576
 22    10/16/2013   8513.5 HOWARD; SB059-              32379       54   1/7/2014     1406 LANSING; SB154-               32588
 23    10/22/2013   4022 MERIDIAN ST; SB027-SB027008   32386       55   1/21/2014    2540 PROSPECT; SB165-SB165013      32619
 24    10/28/2013   7510 GLENBRAE; SB028-SB028034      32402       56   1/24/2014    7440 HAYWOOD; SB050-               32628
 25    10/29/2013   7500 GARDEN; SBP13-SBP13006        32406       57   1/25/2014    7351 OAK HILL DR; SB084-SB084055   32630
 26    10/29/2013   3011 GOLFCREST; SBP02-SBP02310     32408       58   1/29/2014    4809 BERRYDALE; SB059-SB059109     32637
 27    10/31/2013   3600 TELEPHONE; SBP19-             32410       59   2/6/2014     4470 N MAC GREGOR WAY; SB131-      32655
                                                                   60   2/6/2014     8537 GULF; SB036-SB036047          32657
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                                                                                                                Appendix37
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 61    2/8/2014     1404 EDMUNDSON; SB136-            32659      93    4/9/2014    4370 NORTH MACGREGOR WAY;          32875
 62    2/8/2014     5229 BELL; SB154-                 32663                        SB131-
 63    2/8/2014     3499 EVERGREEN; SBP14-            32665      94    4/11/2014   7104 LA PSO; SBP16-SBP16077        32887
 64    2/12/2014    2100 HATWELL; SB089-SB089027      32673      95    4/16/2014   6606 KELLER; SB067-SB067031        32894
 65    2/13/2014    4928 GRIGGS; SB176-SB176029       32681      96    4/22/2014   2406 CALHOUN; SB138-SB138061       32909
 66    2/14/2014    8311 WINKLER; SB061-SB061010      32682      97    4/23/2014   7000 VILLAGE WAY; SBP02-           32911
 67    2/16/2014    8823 DOVER; SB041-                32688                        SBP02075A
                                                                 98    4/24/2014   6055 S LOOP E; SBP18-              32915
 68    2/16/2014    4928 GRIGGS; SB176-SB176029       32690
 69    2/20/2014    6702 TELEPHONE; SB028-SB028096    32705      99    4/26/2014   806 OGILVIE; SB005-SB005029        32926
 70    2/23/2014    3826 ERBY; SBP02-SBP02155         32710      100   4/27/2014   1400 CULLEN; SB141-SB141088        32927
 71    2/28/2014    3939 FLORINDA; SBP28-SBP28074     32725      101   4/28/2014   8900 AIRPORT; SB011-               32931
 72    3/3/2014     3045 GOLFCREST; SBP15-            32728      102   4/30/2014   1018 YORK; SB141-                  32933
 73    3/5/2014     2100 HATWELL; SB089-SB089043      32735      103   5/4/2014    6734 GOFORTH; SB169-SB169035       32947
 74    3/6/2014     4827 EPPES; SB167-                32743      104   5/13/2014   3510 BROCK; SBP02-                 32972
 75    3/10/2014    6305 TIERWESTER; SB198-SB198027   32749      105   5/17/2014   5320 POLK; SB154-SB154026          32983
 76    3/13/2014    5113 TAA; SB116-SB116086          32762      106   5/19/2014   6811 DEL RIO; SB188-SB188014       32996
 77    3/17/2014    3704 MACGREGOR; SB130-SB130097    32773      107   5/21/2014   7100 LA PASEO; SBP16-SBP16080      33005
                                                                 108   5/23/2014   3720 GULF; SB026-                  33011
 78    3/17/2014    2100 HATWELL; SB089-SB089045      32777
 79    3/17/2014    6305 TIERWESTER; SB198-           32780      109   5/26/2014   6716 REED; SB092-SB092049          33013
                                                                 110   5/27/2014   5700 GULF FWY; SBP19-SBP19148      33017
 80    3/17/2014    5506 SOUTHWIND; SB109-SB109090    32781
 81    3/21/2014    8621 COMAL; SB184-                32787      111   5/28/2014   3510 BROCK; SBP02-SBP02148A        33018
                                                                 112   5/28/2014   4019 ANTOINETTE; SBP02-SBP02120    33026
 82    3/24/2014    6215 TIERWESTER; SB198-           32799
 83    3/24/2014    6210 DEL RIO; SBP05-              32800      113   6/3/2014    3604 TUAM; SBP26-                  33042
                                                                 114   6/5/2014    5600 ROYAL PALMS ST; SBP21-        33044
 84    3/25/2014    3311 HOLMAN; SB160-SB160013       32807
 85    3/30/2014    0 GULF FWY & 2390 S WAYSIDE ST;   32827      115   6/9/2014    5600 ROYAL PALMS; SBP21-SBP21100   33057
                    SB089-SB089020                               116   6/16/2014   4928 GRIGGS; SB176-SB176029        33070
 86    3/30/2014    6215 TIERWESTER; SB198-           32829      117   6/16/2014   5859 SOUTHFORD; SB109-             33073
 87    4/1/2014     8880 TELEPHONE RD.; SB030-        32835      118   6/18/2014   5501 SCOTT; SB130-                 33077
                    SB030025                                     119   6/19/2014   3715 N MACGREGOR; SB133-           33080
 88    4/1/2014     3260 TRUXILLO; SB160-SB160043     32837                        SB133022
 89    4/2/2014     6937 LIVERPOOL; SB178-            32842      120   6/19/2014   3715 N MACGREGOR; SB133-           33081
 90    4/2/2014     7615 GRAHAMCREST; SB050-          32848                        SB133022
 91    4/2/2014     5022 HULL; SB176-                 32850      121   6/22/2014   6305 TIERWESTER; SB198-            33084
 92    4/3/2014     2016 DISMUKE; SB089-SB089054      32854      122   6/24/2014   8501 HOWARD; SB059-                33091
                                                                 123   6/30/2014   6510 LAWNDALE; SB152-SB152091      33105

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                                                                                                             Appendix38
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 124   7/11/2014    800 ST EMANUEL; SB140-SB140056     33139     153   9/18/2014    5645 TRUETT; SB152-SB152094         33330
 125   7/17/2014    2809 BROADWAY; SB024-SB024032      33154     154   9/18/2014    1600 SUNNYLAND @ LAWSON;            33331
 126   7/18/2014    4002 CORDER; SB171-SB171024A       33157                        SB152-SB152095
 127   7/22/2014    5210 LIVE OAK; SB165-SB165005      33173     155   9/18/2014    5647 LAWSON; SB152-SB152037         33332
 128   7/25/2014    6510 LAWNDALE; SB152-              33183     156   9/18/2014    2009 DISMUKE; SB089-SB089054        33333
 129   7/26/2014    4635 E OLD SPANISH TRAIL; SBP05-   33186     157   9/18/2014    1006 HACKNEY; SB149-SB149096        33334
 130   7/31/2014    2053 SANTA ROSA; SB075-SB075035    33199     158   9/18/2014    6300 BROOKSIDE; SB149-SB149096      33335
 131   8/5/2014     3902 SCOTT; SBP25-                 33208     159   9/18/2014    5636 BARREMORE @ SUNNYLAND;         33338
 132   8/6/2014     8513.5 HOWARD DR; SB059-           33217                        SB152-SB152061
 133   8/6/2014     3629 MACGREGOR; SB133-             33219     160   9/23/2014    4020 BURKETT ST.; SB160-SB160046B   33351
 134   8/7/2014     3033 ELGIN; SB122-                 33221     161   9/29/2014    7333 MONROE; SB038-SB038013         33378
 135   8/14/2014    7351 OAK HILL; SB084-SB084056      33236     162   9/29/2014    8625 WINKLER; SB036-SB036049        33380
 136   8/15/2014    7812 TIERWESTER; SB182-            33239     163   9/29/2014    7333 MONROE; SB038-SB038013         33383
 137   8/16/2014    8535 WINKLER; SB060-               33240     164   9/30/2014    2601 RIVERSIDE; SBP31-SBP31034      33382
 138   8/16/2014    8535 WINKLER; SB060-               33242     165   10/2/2014    9522 E AVENUE L; SBP10-SBP10082     33480
 139   8/22/2014    3126 WEBSTER; SB158-               33250     166   10/7/2014    8823 DOVER; SB041-SB041048          33410
 140   8/30/2014    7560 ASHBURN; SB028-SB028095       33265     167   10/13/2014   8100 WHEELER; SBP19-SBP19007        33428
                                                                 168   10/13/2014   8100 WHEELER; SBP19-SBP19006        33429
 141   9/1/2014     902 TELEPHONE; SB147-              33266
 142   9/15/2014    2401 BLODGETT; SB163-SB163030      33302     169   10/13/2014   5900 SCOTT @ SOUTHMORE; SB133-      33430
                                                                                    SB133022
 143   9/18/2014    3510 BROCK; -                      33316
                                                                 170   10/13/2014   5600 BARREMORE; SB152-SB152044      33436
 144   9/18/2014    2100 HATWELL@ GULF FREEWAY;        33321
                                                                 171   10/13/2014   5600 BONSRELL; SB152-SB152043       33438
                    SB089-SB089043
 145   9/18/2014    2100 HATWELL @ GULF FREEWAY;       33322     172   10/13/2014   5645 TRUETT; SB152-SB152094         33440
                    SB089-SB089043                               173   10/13/2014   5647 LAWSON; SB152-SB152037         33442
 146   9/18/2014    5600 DORBRANDT @ HATWELL;          33323     174   10/13/2014   1600 SUNNYLAND; SB152-SB152095      33444
                    SB089-SB089034                               175   10/13/2014   1600 SOUTH LOCKWOOD DR; SB147-      33447
 147   9/18/2014    5600 MCCORMICK @ 1400 DISMUKE;     33324                        SB147092
                    SB152-SB152025                               176   10/13/2014   3411 DREW; SBP26-                   33448
 148   9/18/2014    1400 DISMUKE; SB152-SB152027       33325     177   10/14/2014   7333 MONROE; SB038-SB038014         33450
 149   9/18/2014    1900 DISMUKE @ CRAIG; SB152-       33326     178   10/14/2014   4500 DEEDA; SB061-SB061010          33451
                    SB152047                                     179   10/14/2014   5709 DORBRANDT; SB089-SB089061      33457
 150   9/18/2014    5600 BARREMORE @ DISMUKE;          33327     180   10/16/2014   6839 DEL RIO; SB188-                33465
                    SB152-SB152044                               181   10/17/2014   9522 E AVENUE L; SBP10-             33467
 151   9/18/2014    5600 BONSRELL @ SUNNYLAND;         33328     182   10/21/2014   4524 DEWBERRY; SB167-SB167067A      33471
                    SB152-SB152043
                                                                 183   10/21/2014   9522 E AVE L; SBP10-                33474
 152   9/18/2014    5603 LAWSON; SB152-SB152036        33329
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                                                                                                               Appendix39
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 184   10/25/2014   4000 HAMILTON ST.; SB161-          33486     218   12/19/2014   1006 HACKNEY; SB149-SB149096      33700
 185   10/26/2014   4002 CORDER; SB171-SB171025        33490     219   12/19/2014   6335 BROOKSIDE; SB152-SB152081    33701
 186   10/27/2014   4525 PERRY; SB167-SB167066         33493     220   12/19/2014   5603 BARREMORE; SB152-SB152044    33702
 187   10/28/2014   7025 S LOOP FWY; SB078-SB078054    33499     221   12/19/2014   5649 BARREMORE; SB152-SB152060    33703
 188   10/29/2014   8224 GARLAND; SB059-SB059088       33502     222   12/19/2014   5600 BONSRELL; SB152-SB152041     33704
 189   10/29/2014   8625 WINKLER; SB036-SB036050       33504     223   12/19/2014   5600 LAWSON; SB152-SB152095       33705
 190   10/29/2014   2027 S WAYSIDE; SB089-             33505     224   12/19/2014   5425 JEFFERSON; SB154-SB154044    33706
 191   11/3/2014    6903 CRESTMONT; SB109-SB109031     33513     225   12/20/2014   7606 TIPPS; SB076-SB076055        33713
 192   11/6/2014    4714 WARD; SB178-                  33521     226   12/20/2014   3502 CHARLESTON; SB198-SB198010   33716
 193   11/6/2014    3655 SEABROOK; SB179-              33525     227   12/22/2014   6014 LANDFALL; SB044-             33721
 194   11/10/2014   5610 ROYAL PALMS; SBP21-SBP21022   33535     228   12/22/2014   8271 STONE; SB036-SB036016        33727
 195   11/12/2014   7004 EPPES; SB080-SB080074         33546     229   12/22/2014   4500 DEEDA; SBU04-SBU04034        33729
 196   11/13/2014   3511 TUAM; SBP25-                  33547     230   12/23/2014   5407 BURKETT; SB194-              33733
 197   11/13/2014   6703 WHITEFRIARS DR; SB092-        33550     231   12/24/2014   144 WINKLER; -                    33746
                    SB092030                                     232   12/26/2014   2301 DALLAS; SB138-               33756
 198   11/16/2014   2201 PRESTON; SB140-               33558     233   12/29/2014   7125 ST AUGUSTINE; SB171-         33769
 199   11/17/2014   8601 BROADWAY; SBP12-SBP12084      33562     234   12/29/2014   8207 LANHAM; SB058-               33772
 200   11/22/2014   4203 RUSK; SB141-                  33573     235   12/29/2014   3406 OAKDALE; SB192-              33773
 201   11/24/2014   4907 HULL; SB176-                  33577     236   12/29/2014   3524 OAKDALE; SB194-              33781
 202   11/25/2014   8625 WINKLER; SB036-SB036050       33582     237   12/30/2014   7162 MOLINE; SBP16-               33776
 203   11/26/2014   9313 TALLYHO; SB011-SB011061       33590     238   12/30/2014   3518 OZARK; SB198-                33784
 204   12/3/2014    4002 CORDER; SB171-SB171025        33614     239   12/30/2014   7812 TIERWESTER; SB182-SB182062   33791
 205   12/4/2014    6929 LIVERPOOL; SB178-             33619     240   12/31/2014   4947 WINFREE; SB205-              33796
 206   12/4/2014    3609 GOODHOPE; SB182-              33620     241   1/3/2015     4700 PEASE; SB147-SB147043        33799
 207   12/8/2014    7003 EPPES; SB080-                 33627     242   1/3/2015     216 MEDINA; SB074-                33804
 208   12/8/2014    3506 CHARLESTON; SB198-            33628     243   1/5/2015     3812 ANITA; SBP26-                33805
 209   12/8/2014    6831 SILSBEE; SBP22-SBP22036       33629     244   1/8/2015     5006 PEASE; SB147-SB147077        33829
 210   12/10/2014   6638 THRUSH; SB092-SB092030        33632     245   1/9/2015     7006 TIERWESTER; SBP29-           33844
 211   12/10/2014   3100 CLEBURNE; SB125-SB125108      33634     246   1/12/2015    2206 NETTLETON; SB158-SB158045    33851
 212   12/11/2014   7027 EPPES ST; SB080-SB080074      33638     247   1/13/2015    5222 NASSAU; SB206-               33858
 213   12/15/2014   8601 BROADWAY; SBP12-SBP12085      33668     248   1/15/2015    3101 HOLMES; SB186-SB186075       33884
 214   12/16/2014   3506 CHARLESTON; SB198-            33667     249   1/17/2015    8442 GARLAND; SB059-SB059083A     33886
 215   12/16/2014   5807 SOUTHINGTON; SB107-           33673     250   1/17/2015    1822 SOUTHMORE; SB164-            33888
 216   12/17/2014   2505 BROADWAY; SB024-              33669     251   1/19/2015    1522 PEARSON; SB146-              33894
 217   12/19/2014   8100 WHEELER ST.; SBP19-           33683     252   1/22/2015    8100 WHEELER ST.; SBP19-          33904
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 253   1/22/2015    5815 GULF FWY; SB089-SB089026       33910    286   2/18/2015   4214 POLK; SB141-                 34090
 254   1/22/2015    5603 BARREMORE; SB152-SB152044      33914    287   2/18/2015   5415 SCOTT; SB133-                34095
 255   1/22/2015    5649 BARREMORE; SB152-SB152060      33917    288   2/19/2015   8207 LANHAM; SB058-               34101
 256   1/22/2015    4700 PEASE STREET; SB147-SB147105   33918    289   2/19/2015   7232 AIRPORT; SB055-              34106
 257   1/22/2015    5635 HARRIET; SB089-SB089039        33919    290   2/20/2015   2100 HATWELL @GULF FRWY; SB089-   34113
 258   1/22/2015    2100 HATWELL; SB089-SB089044        33920                      SB089043
 259   1/22/2015    2100 HATWELL; -SB089043             33921    291   2/21/2015   7107 CRESTMONT; SB109-            34124
 260   1/22/2015    2100 SUNNYLAND; SB089-SB089027      33922    292   2/21/2015   7107 CRESTMONT; SB109-            34128
 261   1/23/2015    6504 MCGREW; SB106-                 33923    293   2/24/2015   6900 LAWNDALE; SBP19-SBP19056     34161
 262   1/23/2015    8601 BROADWAY; SBP12-SBP12084       33925    294   2/24/2015   5606 BELARBOR; SB114-             34165
 263   1/23/2015    3207 BURKETT; SB123-                33926    295   2/24/2015   901 FAIR OAKS; SB086-SB086057     34166
 264   1/26/2015    6400 BOWLING GREEN; SB196-          33954    296   2/25/2015   3500 ENNIS; SB125-                34172
                    SB196056                                     297   2/26/2015   6829 DUMBLE; SB178-               34185
 265   1/28/2015    6510 LAWNDALE; SB152-SB152091       33964    298   2/27/2015   1502 LOMBARDY; SB146-SB146022     34205
 266   1/29/2015    4834 SOUTHWIND; SB117-SB117029      33968    299   2/27/2015   5822 PERSHING; SB109-             34207
 267   1/29/2015    6713 ILEX; SB068-SB068007           33969    300   2/27/2015   2545 MUNGER; SB099-SB099021       34208
 268   2/2/2015     5871 BELCREST; SB103-               33979    301   2/27/2015   1210 CHOATE; SB001-SB001026       34210
 269   2/2/2015     6400 BOWLING GREEN; SB196-          33980    302   2/28/2015   5009 LANTANA; SB059-              34214
                    SB196059                                     303   3/1/2015    2549 MUNGER; SB099-SB099021       34221
 270   2/4/2015     5600 GULF FWY; SB089-SB089046       33987    304   3/3/2015    6733 BURKETT; SB188-              34253
 271   2/4/2015     8442 GARLAND; SB059-SB059083B       33988    305   3/3/2015    5041 JEFFERSON; SB147-SB147081    34257
 272   2/7/2015     802 MAROBY; SB005-SB005027          33997    306   3/3/2015    8127 EASTHAVEN; SB011-SB011074    34259
 273   2/7/2015     6722 MYRTLE; SB068-SB068007         34002    307   3/4/2015    1310 HENNINGER; SB153-            34262
 274   2/10/2015    5415 SCOTT; SB198-SB198056          34031    308   3/4/2015    6733 BURKETTE ST.; SB188-         34263
 275   2/11/2015    8537 GULF FWY; SB036-SB036045       34017    309   3/4/2015    8824 LA PORTE RD; SB073-          34265
 276   2/12/2015    2401 BLODGETT; SB163-SB163030       34021    310   3/5/2015    5414 LYNDHURST; SB113-            34267
 277   2/13/2015    2215 ALABAMA; SB161-                34028    311   3/5/2015    7105 FOSTER; SB171-               34268
 278   2/13/2015    6827 DUMBLE; SB178-                 34036    312   3/5/2015    3902 CORDER; SB179-               34272
 279   2/13/2015    8625 WINKLER; SB036-SB036051        34058    313   3/5/2015    5100 CRIPPLE CREEK; SBP08-        34273
 280   2/15/2015    5327 KEYSTONE; SB177-               34042                      SBP08038
 281   2/15/2015    5722 HILLCROFT; SB086-SB086032      34045    314   3/5/2015    1106 CHOATE; SB001-SB001014       34280
 282   2/16/2015    7015 FAUNA; SB047-                  34069    315   3/8/2015    803 RUELL; SB006-SB006031         34301
 283   2/17/2015    2928 WOODRIDGE; -SBP02075           34064    316   3/8/2015    6167 GLENHURST; SB102-            34303
 284   2/17/2015    5426 BLISS; SB060-SB060078          34077    317   3/9/2015    5821 SOUTHWELL; SB107-            34312
 285   2/17/2015    5863 SOUTHURST; SB107-              34097    318   3/10/2015   5600 GULF FWY; SB089-SB089046     34326
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 319   3/10/2015    6702 TELEPHONE; SB028-SB028096   34331       353   3/30/2015   5714 HARRIETT; SB089-              34638
 320   3/10/2015    3412 WEBSTER; SB158-SB158079     34349       354   3/30/2015   3260 TRUXILLO; SB160-SB160044      34639
 321   3/11/2015    3217 IOLA; SB025-                34354       355   3/31/2015   8307 SOUTH LOOP EAST; SBP02-       34652
 322   3/13/2015    7622 GRAHAMCREST; SB050-         34377                         SBP02017
 323   3/13/2015    5303 BROWNCROFT; SB177-          34386       356   3/31/2015   4515 WALKER; SB156-                34654
                    SB177092                                     357   4/1/2015    2345 LIDSTONE; SBP19-SBP19162      34664
 324   3/14/2015    7481 SANTA FE; SB050-            34384       358   4/3/2015    950 VILLA DE MATEL; SB086-         34709
 325   3/15/2015    5706 NORTHRIDGE; SB114-          34394                         SB086056
 326   3/15/2015    5706 NORTHRIDGE; SB114-          34402       359   4/3/2015    3812 ANITA; SBP26-                 34712
 327   3/16/2015    6325 HEFFERNAN; SBP23-           34403       360   4/6/2015    912 SAINT EMANUEL; SB140-          34723
 328   3/16/2015    5902 EASTWOOD; SB167-            34407                         SB140059
 329   3/16/2015    7345 CONLEY; SB171-SB171035      34416       361   4/6/2015    5123 KEYSTONE; SB177-              34725
 330   3/16/2015    6602 KELLER; SB067-SB067031      34420       362   4/7/2015    5211 PENSDALE; SB113-              34731
 331   3/17/2015    5959 VAN FLEET; SBP22-           34436       363   4/7/2015    4506 WOODSIDE; SB142-SB142009      34735
 332   3/17/2015    7306 ENGLAND; SB171-SB171034     34446       364   4/7/2015    8338 DETROIT; SBP11-               34743
 333   3/17/2015    2916 ARBOR; SB163-SB163038       34455       365   4/7/2015    3019 ARBOR; SB163-                 34744
 334   3/17/2015    8204 BROCKTON; SB024-            34467       366   4/7/2015    3500 ENNIS & 3000 HOLMAN; SB125-   34745
 335   3/17/2015    7110 ASHBURN; SB028-             34481       367   4/7/2015    7020 EPPES; SB080-                 34746
 336   3/18/2015    3000 REAL; SBP02-SBP02367        34469       368   4/7/2015    8338 DETROIT; SBP11-               34751
 337   3/18/2015    5014 BALKIN; SB176-              34470       369   4/9/2015    5127 LYNDHURST; SB113-             34779
 338   3/18/2015    8800 GULF FWY; -                 34474       370   4/11/2015   4830 MICHAEL; SB006-SB006019       34797
 339   3/19/2015    8031 HERSCHELWOOD; SB113-        34485       371   4/12/2015   7481 SANTA FE; SB050-              34808
 340   3/19/2015    7630 S LOOP E; SBP02-SBP02209V   34496       372   4/13/2015   3500 TELEPHONE RD; SBP19-          34805
                                                                                   SBP19113
 341   3/19/2015    3812 ANITA; SBP26-               34500
                                                                 373   4/13/2015   7481 SANTA FE; SB050-              34811
 342   3/22/2015    6544 HOGUE; SBP17-               34530
                                                                 374   4/13/2015   4318 JEFFERSON; SB142-SB142033     34814
 343   3/23/2015    3812 ANITA; SBP26-               34550
                                                                 375   4/13/2015   2100 HATWELL; SB089-               34823
 344   3/24/2015    4308 CLAY; SB142-                34554
                                                                 376   4/13/2015   4317 COYLE; SB142-SB142033         34830
 345   3/24/2015    6523 KERNEL; SB068-              34556
                                                                 377   4/14/2015   2053 SANTA ROSA; SB075-SB075035    34833
 346   3/24/2015    1514 GODWIN; SB146-              34559
                                                                 378   4/15/2015   7657 LINDA; SB079-                 34851
 347   3/24/2015    7948 LEONORA; SBP33-             34563
                                                                 379   4/15/2015   6565 MIRAGLEN; SB086-              34853
 348   3/25/2015    3907 COYLE; SB136-               34591
                                                                 380   4/15/2015   5221 BROWNCROFT; SB177-            34858
 349   3/25/2015    4934 BURMA; SB116-               34605
                                                                 381   4/16/2015   4912 OLD SPANISH TRAIL; SBP04-     34861
 350   3/26/2015    6203 LONG; SBP18-                34606
                                                                 382   4/16/2015   4106 DELANO; SB162-                34863
 351   3/27/2015    7702 BRADFORD; SB081-            34618
                                                                 383   4/17/2015   3849 ROSEDALE; SB133-              34877
 352   3/28/2015    7738 PECAN VILLAS; SBP33-        34628
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 384   4/17/2015    5603 BARREMORE; SB152-SB152044      34888    416   5/4/2015    6010 SUNNYCREST; SB100-SB100044   35079
 385   4/17/2015    7903 SOUTH LOOP EAST; SBP02-        34892    417   5/4/2015    6206 REED; -                      35092
                    SBP02208                                     418   5/5/2015    5921 SOUTHRIDGE; SBP21-           35101
 386   4/17/2015    4700 PEASE STREET; SB147-SB147105   34894    419   5/5/2015    5234 TAA; SB118-SB118001          35102
 387   4/17/2015    5600 LAWSON STREET; SB152-          34895    420   5/5/2015    5811 BELMARK; SB103-              35108
                    SB152036                                     421   5/5/2015    1800 DISMUKE; SB152-              35112
 388   4/18/2015    8182 JULIABORA; SB060-              34903    422   5/5/2015    6111 DEL RIO; SB196-SB196031      35121
 389   4/18/2015    7321 SANTIAGO; SB076-SB076005       34909
                                                                 423   5/5/2015    9211 WALLER; -                    35125
 390   4/19/2015    7906 JUNIUS; SB070-                 34923    424   5/5/2015    6143 PINEWAY BLVD; -              35126
 391   4/20/2015    8625 WINKLER; SB036-SB036048        34925    425   5/6/2015    5903 SOUTHLARK; -                 35132
 392   4/20/2015    4919 STIMSON; SB153-                34930    426   5/6/2015    7235 SAINT AUGUSTINE; -           35136
 393   4/20/2015    8119 STONY DELL; SBP12-             34934    427   5/6/2015    2342 LIDSTONE; SBP19-             35139
 394   4/21/2015    6701 FAIRWAY; SBP15-                34936    428   5/6/2015    6111 DEL RIO ST; SB196-SB196030   35140
 395   4/21/2015    3340 S MACGREGOR; SB189-            34937    429   5/7/2015    5600 GULF FWY; SB089-SB089043     35144
 396   4/21/2015    6827 FLAMINGO; SB049-SB049024       34941    430   5/7/2015    2342 LIDSTONE; SBP19-             35152
 397   4/22/2015    2131 SPRING CREEK; SB016-           34948    431   5/7/2015    6123 BELLMARK; SB110-             35155
 398   4/23/2015    4910 ALLENDALE RD; SB018-           34954    432   5/7/2015    6123 BELMARK; SB110-              35160
                    SB018024
                                                                 433   5/8/2015    7442 MCHENRY; -                   35159
 399   4/23/2015    7303 EVANS; SB051-                  34960
                                                                 434   5/8/2015    5709 CRIPPLE BROOK; -             35161
 400   4/23/2015    8622 WYNLEA; SB038-                 34965
                                                                 435   5/8/2015    7736 JOPLIN; -                    35162
 401   4/24/2015    8617 COMAL; SB184-                  34971
                                                                 436   5/8/2015    5102 COSBY; SB177-                35165
 402   4/24/2015    8506 MEADVILLE; SB037-              34977
                                                                 437   5/9/2015    4526 MCKINNEY; SB156-             35171
 403   4/24/2015    6827 DUMBLE; SB178-                 34984
                                                                 438   5/11/2015   4114 DELANO; SB162-SB162001       35181
 404   4/26/2015    7714 KINGSLEY; SB081-               34989
                                                                 439   5/11/2015   3130 ALABAMA; SB122-SB122090      35189
 405   4/27/2015    7111 JAPONICA; SB066-               34994
                                                                 440   5/11/2015   6518 LYNDHURST; -                 35190
 406   4/27/2015    1107 OGILIVIE; SB005-               35012
                                                                 441   5/11/2015   8008 ITHACA; SB026-SB026023       35192
 407   4/28/2015    1553 ELLIOTT; SB149-                35021
                                                                 442   5/11/2015   3702 ODIN; SBP05-SBP05060         35193
 408   4/29/2015    3043 GOLFCREST; -                   34995
                                                                 443   5/12/2015   6215 TIESWESTER; SB198-SB198024   35191
 409   4/29/2015    5234 TAA; SB118-                    35005
                                                                 444   5/12/2015   8622 WYNLEA; SB038-SB038093       35195
 410   4/30/2015    6827 FLAMINGO; -                    35031
                                                                 445   5/12/2015   3446 BACON; SB181-                35196
 411   5/1/2015     3616 DOVER; SB026-SB026023          35048
                                                                 446   5/12/2015   1325 MUNGER; SB147-               35210
 412   5/1/2015     5234 TAA; SB118-                    35051
                                                                 447   5/13/2015   7903 SOUTH LOOP E; SBP02-         35203
 413   5/2/2015     8002 ITHACA; SB026-SB026023         35070
                                                                                   SBP02416
 414   5/3/2015     5839 BELMARK; SB103-                35074    448   5/13/2015   3500 ELGIN; -                     35205
 415   5/3/2015     6114 GLENHURST; SB102-              35077    449   5/13/2015   3937 YELLOWSTONE; SB169-          35216
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 450   5/13/2015    7414 ST LO; SB116-                 35217     484   5/27/2015   4370 MACGREGOR ST; -              35397
 451   5/13/2015    7919 SANTA ELENA; SBP12-           35222     485   5/27/2015   6305 TIERWESTER; SB198-SB198027   35399
 452   5/13/2015    8119 STONEY DELL; SBP12-SBP12104   35224     486   5/27/2015   7922 DARNAY; -                    35402
 453   5/13/2015    7146 VANDEMAN; SB077-SB077072      35229     487   5/27/2015   4600 DOWLING; SB163-SB163026      35411
 454   5/14/2015    8625 WINKLER; SB036-SB036049       35231     488   5/28/2015   6202 WESTOVER; SB091-             35422
 455   5/14/2015    7142 VANDEMAN; SB077-              35233     489   5/28/2015   3937 YELLOWSTONE; SB169-          35430
 456   5/14/2015    6023 BEEKMAN; SB177-               35250     490   5/28/2015   5027 GREN; SB176-                 35432
 457   5/14/2015    8622 WYNLEA; SB038-SB038093        35257     491   5/28/2015   6003 BELARBOR; SB110-SB110009     35436
 458   5/15/2015    8539 GULF FWY; SB036-SB036045      35264     492   5/29/2015   3239 PECAN; -                     35443
 459   5/16/2015    3309 BERKLEY; SB025-SB025034       35277     493   5/29/2015   8325 FINDLAY; SB025-              35457
 460   5/16/2015    3734 CHARLESTON; -                 35278     494   5/31/2015   5600 GULF FWY; SB089-SB089043     35470
 461   5/18/2015    5926 BELNEATH; SB103-              35290     495   5/31/2015   8010 JUTLAND; SB113-SB113043      35471
 462   5/19/2015    6847 FLAMINGO; SB049-SB049021      35300     496   6/1/2015    8200 STONE; SB036-SB036014        35480
 463   5/19/2015    3604 TUAM; SBP26-SBP26062          35301     497   6/1/2015    8277 STONE; SB036-SB036016        35481
 464   5/19/2015    6631 WINTON; SBP05-                35306     498   6/1/2015    8119 STONY DELL; SBP12-SBP12104   35482
 465   5/19/2015    5118 SOUTHWIND; SB117-             35307     499   6/1/2015    8622 WYNLEA; SB038-SB038093       35489
 466   5/19/2015    4038 ANTOINETTE; SBP02-SBP02124    35308     500   6/1/2015    5027 GREN; SB176-                 35491
 467   5/19/2015    6226 CAVALIER; SB101-              35311     501   6/1/2015    7351 OAK HILL; SB084-SB084055     35494
 468   5/20/2015    3402 DOVER; SB026-SB026029         35313     502   6/2/2015    7134 WOODRIDGE; SB066-SB066087    35498
 469   5/20/2015    7107 CRESTMONT; SB109-             35315     503   6/2/2015    8722 RUTHBY; SB038-SB038058       35501
 470   5/20/2015    7036 CONLEY; -                     35328     504   6/2/2015    4813 GRIGGS; SB167-               35506
 471   5/20/2015    7010 ENGLAND; -                    35330     505   6/2/2015    7115 DIXIE; -                     35532
 472   5/20/2015    2328 CUMBERLAND; SBP19-            35336     506   6/2/2015    2706 TRUXILLO; SB132-             35536
 473   5/21/2015    3866 GERTIN; SB131-                35340     507   6/3/2015    7138 KELLER; SB066-               35510
 474   5/21/2015    7318 DAHLIA; SBP13-SBP13046        35342     508   6/3/2015    7742 HEREFORD; SB032-SB032124     35517
 475   5/21/2015    6006 WESTOVER; SB110-              35345     509   6/3/2015    2519 ROSALIE; SB159-SB159020      35522
 476   5/22/2015    7421 LINDCREST; SB051-SB051046     35348     510   6/5/2015    6107 BELARBOR; SB110-             35544
 477   5/22/2015    7290 DILLON; SB051-                35349     511   6/7/2015    5222 PENSDALE; -                  35556
 478   5/22/2015    6002 BELLFORT; SB110-              35351     512   6/7/2015    6167 GLENHURST; SB102-            35557
 479   5/23/2015    4955 FALVEY; SB008-                35358     513   6/8/2015    6047 BELDART; SB110-              35572
 480   5/25/2015    4813 WINNETKA; SB129-              35364     514   6/8/2015    2900 BELLVUE & 8200 BROCKTON;     35573
 481   5/25/2015    6837 DRIFTWOOD; -                  35366                       SB024-
 482   5/26/2015    12601 S GREEN; SB001-SB001085      35380     515   6/8/2015    5907 PERSHING; SB109-             35575
 483   5/26/2015    8119 STONEY DELL CT; SBP12-        35383     516   6/8/2015    8168 JULIABORA; SB060-SB060033    35576
                    SBP12104
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 517   6/8/2015     6150 GULF FREEWAY; SBP19-     35580          551   6/20/2015   5025 WINNETKA; SBP04-               35712
                    SBP19166                                     552   6/22/2015   5145 SILVER CREEK; SB018-SB018025   35724
 518   6/9/2015     6215 TIERWESTER; SB198-       35581          553   6/22/2015   7342 LE HAVRE; SB116-               35728
 519   6/9/2015     7715 ADRIAN; -                35582          554   6/23/2015   3260 TRUXILLO; SB160-SB160044       35737
 520   6/9/2015     6158 BELMARK; SB110-          35583          555   6/23/2015   5305 BURMA; SB116-                  35739
 521   6/9/2015     6829 DUMBLE; SB178-SB178048   35584          556   6/23/2015   7135 VANDEMAN; -                    35740
 522   6/9/2015     7715 ADRIAN; -                35591          557   6/24/2015   3603 FLORINDA; SBP29-               35752
 523   6/10/2015    4500 DEEDA; SBU04-SBU04034    35598          558   6/24/2015   7742 HEREFORD; SB032-               35753
 524   6/10/2015    6710 CROSSWELL; SB091-        35599          559   6/24/2015   2200 NETTLETON; SB158-SB158105A     35754
 525   6/10/2015    2227 DES JARDINES; SB099-     35605          560   6/25/2015   7114 DIXIE; -                       35757
 526   6/10/2015    1469 MUNGER; SB149-           35610          561   6/25/2015   4910 ANDREA; SB176-                 35759
 527   6/11/2015    8505 LENORE; -                35611          562   6/26/2015   3704 BURKETT; SB160-SB160058        35769
 528   6/11/2015    6220 TELEPHONE; -             35612          563   6/26/2015   6639 CRESTHILL; -                   35774
 529   6/11/2015    8234 BROADWAY; SBP12-         35614          564   6/26/2015   6050 WILLOW GLEN; SB112-            35786
 530   6/11/2015    7904 PHIL; -                  35626          565   6/27/2015   4020 BURKETT ST; SB160-SB160043B    35779
 531   6/11/2015    6503 CHERRYDALE; -            35627          566   6/27/2015   1216 ORCHID; SB001-                 35780
 532   6/11/2015    5010 COSBY; -                 35630          567   6/27/2015   6307 RIDGEWAY; SB091-               35784
 533   6/12/2015    3711 WESLOW; SBP15-SBP15071   35647          568   6/29/2015   6150 WILLOW GLEN; SB102-            35792
 534   6/14/2015    8306 PARNELL; -               35656          569   6/29/2015   8903 LAWNDALE; SB073-               35798
 535   6/15/2015    7827 DETROIT; SB025-          35670          570   7/1/2015    4937 CHENNAULT; SB118-              35814
 536   6/15/2015    2900 BELLEVUE; SB024-         35671          571   7/1/2015    7903 SOUTH LOOP; SBP02-             35816
 537   6/16/2015    8903 LAWNDALE; SB073-         35678          572   7/1/2015    8121 BANGLE; SB072-                 35818
 538   6/16/2015    6050 KENILWOOD; SB112-        35679          573   7/1/2015    8622 WYNLEA; SB038-SB038093         35841
 539   6/16/2015    2391 S WAYSIDE; SB089-        35681          574   7/2/2015    2322 LIDSTONE; SBP19-               35820
 540   6/16/2015    5254 PERRY; SB177-            35682          575   7/2/2015    5310 LINDSAY; SB149-                35823
 541   6/16/2015    5712 GLENHURST; SBP22-        35685          576   7/2/2015    6957 EVANS; SB047-                  35824
 542   6/16/2015    703 RUELL; -                  35692          577   7/2/2015    5107 BROWNCROFT; SB177-             35831
 543   6/17/2015    4700 PEASE; -SB147105A        35689          578   7/2/2015    1115 VERA LOU; SB172-               35836
 544   6/17/2015    5311 NASSAU; SB206-           35695          579   7/3/2015    3414 WOODRIDGE; SB078-              35834
 545   6/18/2015    7107 CRESTMONT; SB109-        35698          580   7/4/2015    4813 GRIGGS; SB167-                 35839
 546   6/18/2015    8204 BROCKTON; -              35702          581   7/4/2015    7834 DETROIT; SB025-                35842
 547   6/18/2015    6791 TIPPERARY; SB041-        35704          582   7/5/2015    4119 DOVER; SB032-                  35844
 548   6/18/2015    6050 WILLOW GLEN; SB112-      35705          583   7/5/2015    2612 DELANO; SB123-                 35848
 549   6/19/2015    6791 TIPPERARY; SB041-        35709          584   7/7/2015    7610 EDNA; SB034-                   35865
 550   6/19/2015    5839 BELDART; SB103-          35711          585   7/7/2015    3804 HOLMAN; SB134-SB134038         35871
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 586   7/7/2015     7126 WOODRIDGE; SB066-SB066092      35872    619   7/25/2015   6000 HARBROOK DR; SB044-           36054
 587   7/7/2015     5234 TAA; SB115-                    35900                      SB044092
 588   7/8/2015     4526 MCKINNEY; SB156-               35874    620   7/26/2015   2807 BROADWAY; SB024-SB024029      36062
 589   7/8/2015     6301 CALHOUN RD; SB174-             35877    621   7/27/2015   8127 EASTHAVEN; SB011-SB011074     36067
 590   7/8/2015     7218 EPPES; SB080-                  35879    622   7/27/2015   4100 HULL; SB169-                  36069
 591   7/8/2015     5915 SOUTHWIND; SB109-              35883    623   7/28/2015   8010 JUTLAND; SB113-               36079
 592   7/8/2015     7210 DILLON; SB051-                 35884    624   7/31/2015   8118 DOVER; SB040-                 36107
 593   7/9/2015     7610 EDNA; SB034-                   35891    625   7/31/2015   5942 SOUTHRIDGE; SBP21-            36115
 594   7/9/2015     2915 PALM; SB163-                   35892    626   7/31/2015   3710 LYDIA; SB182-                 36119
 595   7/9/2015     6506 GLEN ROCK; SBP17-              35899    627   8/1/2015    5011 PAIGE; SB163-                 36111
 596   7/11/2015    6909 TELEPHONE; SB028-              35911    628   8/1/2015    1210 VERA LOU; SB172-              36122
 597   7/12/2015    5609 FAUCETTE; SBP19-SBP19176       35918    629   8/3/2015    4516 DEWBERRY; SB167-              36129
 598   7/13/2015    6900 LAWNDALE; SB075-SB075072       35925    630   8/3/2015    8634 ANACORTES; SB038-             36132
 599   7/13/2015    7550 DROUET; SB028-                 35929    631   8/3/2015    8634 ANACORTES; SB038-             36134
 600   7/13/2015    8125 WINTHROP; SB056-               35934    632   8/3/2015    5420 NIGHTINGALE; SB014-SB014034   36136
 601   7/14/2015    5806 SOUTHTOWN; SB109-              35938    633   8/3/2015    5762 THRUSH; SB104-                36137
 602   7/15/2015    1102 CHOATE; SB001-                 35951    634   8/4/2015    3535 BACON; SB182-SB182058         36139
 603   7/16/2015    8606 MORLEY; SB038-                 35974    635   8/5/2015    6837 DRIFTWOOD; SB179-             36145
 604   7/18/2015    3708 ENNIS; SB125-SB125027          35982    636   8/6/2015    8236 DETROIT; SB025-               36147
 605   7/18/2015    1217 THERESA; SB172-                35985    637   8/7/2015    7411 LINDENCREST; SB051-           36151
 606   7/20/2015    8224 JENNINGS; SBP11-               35990    638   8/7/2015    8101 AIRPORT; SB039-               36152
 607   7/20/2015    5915 SOUTHWIND; SB109-              35997    639   8/7/2015    5126 DICKENS; SB206-               36158
 608   7/20/2015    4955 FALVEY; SB008-                 36005    640   8/8/2015    3344 CHARLESTON; SB196-            36159
 609   7/21/2015    8234 BROADWAY; SBP12-               36004    641   8/8/2015    5002 BARKLEY; SB059-               36162
 610   7/21/2015    5331 MYRTLEWOOD; SB113-             36008    642   8/8/2015    3604 TUAM; SBP26-                  36165
 611   7/21/2015    3021 FRANCIS; SB125-                36010    643   8/9/2015    3344 CHARLESTON; SB196-            36173
 612   7/22/2015    777 BRISBANE; SB055-                36011    644   8/10/2015   8800 BROADWAY; SBP12-              36186
 613   7/22/2015    3710 LYDIA; SB182-                  36019    645   8/11/2015   5919 SOUTHSEAS; SB109-             36200
 614   7/22/2015    4443 COYLE; SB142-                  36026    646   8/11/2015   7702 GLOVER; SB063-                36205
 615   7/23/2015    5955 RIDGEWAY; SB112-               36028    647   8/13/2015   6530 NUNN; SB093-SB093012          36213
 616   7/24/2015    3715 N MACGREGOR; SB133-            36050    648   8/15/2015   7119 CRESTMONT; SB109-             36231
                    SB133009                                     649   8/15/2015   2217 RAINBOW; SB068-               36232
 617   7/25/2015    3502 SOUTHMORE BLVD; SB194-         36049    650   8/16/2015   4903 HULL; SB176-                  36239
 618   7/25/2015    6969 S LOOP FWY E; SBP15-SBP15022   36052    651   8/17/2015   5210 ANZIO; SB116-                 36243
                                                                 652   8/18/2015   7751 GREENDOWNS; SB081-            36261
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 653   8/18/2015    6050 KENILWOOD; SB112-           36263       687   9/4/2015    3006 SCOTT; SB179-SB179015       36424
 654   8/18/2015    6955 SANTA FE; SB045-            36266       688   9/4/2015    3411 SIMMONS; SBP25-             36427
 655   8/19/2015    8239 HOWARD; SB061-              36275       689   9/4/2015    4002 CORDER; SB179-              36428
 656   8/19/2015    8622 WYNLEA; SB038-SB038093      36278       690   9/5/2015    2001 JEFFERSON; SB139-           36432
 657   8/20/2015    8622 WYNLEA; SB038-SB038093      36282       691   9/5/2015    7615 GRAHAMCREST; SB050-         36433
 658   8/20/2015    4377.5 FACULTY LANE; SB131-      36284       692   9/6/2015    7051 FLAMINGO; SB048-            36444
 659   8/20/2015    5603 BARREMORE; SB152-SB152044   36286       693   9/6/2015    2844 WINBERN; SB125-             36451
 660   8/20/2015    2100 HATWELL; SB089-SB089043     36287       694   9/7/2015    1210 OAK MEADOW; SB001-          36445
 661   8/21/2015    5401 LONGMEADOW; SB082-          36290                         SB001008
 662   8/22/2015    1942 FOREST OAKS; SBP09-         36294       695   9/7/2015    7226 SAINT AUGUSTINE; SB171-     36446
 663   8/24/2015    7402 HEMLOCK; SB070-             36309                         SB171024
 664   8/25/2015    8535 WINKLER; SB060-             36307       696   9/8/2015    4210 CAPITOL; SB141-             36455
 665   8/25/2015    8206 GULICK; SB057-SB057044      36319       697   9/8/2015    8255 WIER; SB061-                36462
 666   8/25/2015    8622 WYNLEA; SB038-SB038093      36321       698   9/9/2015    8822 LA PORTE; SB073-            36469
 667   8/26/2015    3106 ROE; SBP15-                 36323       699   9/9/2015    8181 RIVER; SB027-               36471
 668   8/26/2015    5815 SOUTHMUND; SB107-           36325       700   9/9/2015    5221 BROWNCROFT; SB177-          36473
 669   8/26/2015    5106 BALKIN; SB176-              36328       701   9/11/2015   7418 GARDEN; SB070-SB070093      36475
                                                                 702   9/11/2015   7903 SOUTH LOOP EAST; SBP02-     36477
 670   8/26/2015    8010 JUTLAND; SB113-             36333
                                                                                   SBP02202
 671   8/26/2015    3108 BREMOND; SB158-             36334
                                                                 703   9/11/2015   2100 HATWELL; SB089-SB089044     36480
 672   8/28/2015    5702 CRAIG; SB152-SB152059       36347
                                                                 704   9/11/2015   2100 HATWELL; SB089-SB089043     36482
 673   8/29/2015    6307 BEEKMAN; SB177-             36353
                                                                 705   9/11/2015   5645 BARREMORE; SB152-SB152060   36484
 674   8/30/2015    2001 JEFFERSON; SB139-           36366
                                                                 706   9/11/2015   5647 BOONSREL; SB152-SB152043    36485
 675   8/31/2015    6631 SOUTHBROOK; SB092-          36377
                                                                 707   9/11/2015   5645 TRUETT; SB152-SB152094      36486
                    SB092059
 676   8/31/2015    3340 ANITA; SB122-               36380       708   9/11/2015   5603 BARREMORE; SB152-SB152044   36487
                                                                 709   9/11/2015   5651 LAWSON; SB152-SB152037      36488
 677   8/31/2015    8041 HOWARD; SB061-              36383
 678   9/1/2015     2800 MACGREGOR; SBP31-SBP31044   36388       710   9/11/2015   6335 BROOKSIDE; SB152-SB152081   36489
                                                                 711   9/11/2015   3600 SCOTT; SB134-SB134037       36492
 679   9/1/2015     3101 MCGOWEN; SB158-             36390
 680   9/2/2015     6922 S LOOP E; SB078-SB078052    36394       712   9/11/2015   3209 ALABAMA; SB160-             36493
                                                                 713   9/11/2015   2408 CRAIGMONT; SBP19-           36496
 681   9/2/2015     3811 LUCA; SBP28-                36397
 682   9/2/2015     2001 JEFFERSON; SB139-           36403       714   9/12/2015   5118 WINDEMERE; SB113-           36502
 683   9/2/2015     8255 WIER; SB061-                36412       715   9/13/2015   2305 WHEELER; SB163-             36508
 684   9/2/2015     1903 WOODBINE; SBP09-            36414       716   9/13/2015   4910 ALLENDALE; SBP08-           36515
 685   9/3/2015     1221 THERESA; SB172-             36418       717   9/14/2015   3826 SOUTHLAWN; SB179-SB179015   36517
 686   9/4/2015     3108 BREMOND; SB158-             36417       718   9/14/2015   6702 TELEPHONE; SB028-SB028096   36527

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 719   9/14/2015    5515 BOBOLINK; SB014-SB014037     36528      754   10/6/2015    2127 FLAGSTONE; SB016-            36696
 720   9/15/2015    6131 BEEKMAN; SB177-              36533      755   10/6/2015    5502 MALMEDY; SB115-              36697
 721   9/15/2015    8311 GULICK; SB057-               36546      756   10/6/2015    5926 WILLOW GLEN; SB112-          36713
 722   9/16/2015    7402 HEMLOCK; SB070-              36547      757   10/7/2015    5915 SAINT AUGUSTINE; SBP28-      36705
 723   9/16/2015    6702 TELEPHONE; SB028-SB028096    36549      758   10/7/2015    3803 AMOS; SB179-                 36707
 724   9/18/2015    4000 DOVER; SB032-                36556      759   10/7/2015    1617 ST EMANUEL; SB139-SB139012   36711
 725   9/18/2015    5942 SOUTHRIDGE; SBP21-           36558      760   10/8/2015    7205 LONG; SB080-                 36718
 726   9/18/2015    5221 BROWNCROFT; SB177-           36560      761   10/8/2015    5763 BELDART; SB103-              36726
 727   9/18/2015    8202 CANNON; SB204-SB204025       36561      762   10/8/2015    5015 WILLOW GLEN; SB082-          36728
 728   9/18/2015    7167 HERON; SB048-                36566      763   10/10/2015   6127 WESTOVER; SB110-             36743
 729   9/18/2015    4910 KELSO; SB176-                36567      764   10/10/2015   2316 SOUTHMORE; SB165-            36744
 730   9/21/2015    1106 OGILVIE; SB005-              36581      765   10/10/2015   5863 REED; SB104-                 36746
 731   9/21/2015    2301 WHEELER; SB163-              36584      766   10/11/2015   4500 DEEDA; SB061-SB061010        36753
 732   9/24/2015    8401 PARK PLACE; SBP11-SBP11094   36607      767   10/12/2015   3282 SIMMONS; SB160-              36759
 733   9/25/2015    7327 FAUNA; SB051-SB051038        36610      768   10/12/2015   2100 PEASE; SB139-SB139012        36761
 734   9/25/2015    4130 DUVAL; SBP02-                36621      769   10/12/2015   7114 DIXIE; SBP16-                36766
 735   9/25/2015    4907 HULL; SB176-                 36624      770   10/12/2015   7205 LONG; SB080-                 36767
 736   9/26/2015    4147 WYNONA; SBP02-SBP02321       36626      771   10/12/2015   8513.5 HOWARD; SB059-             36769
 737   9/28/2015    7148 KERNEL; SB066-               36635      772   10/13/2015   9304 WALLER; SBP10-               36775
 738   9/29/2015    7927 NARCISSUS; SB070-SB070065    36644      773   10/14/2015   8513.5 HOWARD; SB059-             36782
 739   9/29/2015    6060 BELARBOR; SB110-             36648      774   10/14/2015   7736 JOPLIN; SB081-               36783
 740   9/29/2015    6060 BELARBOR ST.; SB110-         36654      775   10/15/2015   6831 SILSBEE; SBP22-              36784
 741   9/30/2015    7311 CALAIS; SB117-               36652      776   10/15/2015   5738 DOULTON; SBP22-              36785
 742   9/30/2015    6309 CLOVER RIDGE; SB100-         36657      777   10/15/2015   5822 BELDART; SB103-SB103057      36791
 743   10/1/2015    5502 MALMEDY; SB115-              36659      778   10/16/2015   7220 EDEN; SBP13-SBP13050         36792
 744   10/1/2015    4707 GULF; SB149-SB149035         36667      779   10/17/2015   1200 DIEZ; SB147-                 36794
 745   10/2/2015    7100 PATRICIA; SBP02-SBP02243     36671      780   10/17/2015   5834 PERSHING; SB109-             36796
 746   10/3/2015    9446 E AVE L; SBP10-              36674      781   10/17/2015   7622 TIPPS; SB077-                36797
 747   10/3/2015    6010 BELDART; SB110-SB110065      36678      782   10/19/2015   3800 SOUTHLAWN; SB179-SB179016    36802
 748   10/5/2015    5231 RIDGEWAY; SB113-             36681      783   10/20/2015   419 DOWLING; SB140-SB140111       36810
 749   10/5/2015    2935 PARKOAKS; SBP02-             36682      784   10/21/2015   7606 TIPPS; SB076-SB076055        36811
 750   10/5/2015    2800 CULLEN; SBP26-SBP26083A      36688      785   10/21/2015   8120 CORINTH; SB184-              36813
 751   10/5/2015    6821 DEL RIO; SB188-              36691      786   10/22/2015   5030 MARIETTA; SB205-             36819
 752   10/6/2015    6711 BELLFORT; SBP17-             36690      787   10/23/2015   6969 S LOOP E; SB078-SB078057A    36823
 753   10/6/2015    7362 DUNKIRK; SB117-              36692      788   10/23/2015   8204 BROCKTON; SB024-             36825
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 789   10/23/2015   8101 AIRPORT; SB039-              36826      822   10/28/2015   5100 ENNIS & 2900 PALM; SB163-   36942
 790   10/24/2015   220 MEDINA; SB074-SB074079        36831      823   10/29/2015   4500 DEEDA; SB061-SB061010       36934
 791   10/24/2015   3014 SCOTT; SBP25-SBP25066        36832      824   10/29/2015   6400 BOWLING GREEN; SB196-       36948
 792   10/24/2015   3518 BROCK; SBP02-SBP02158A       36833                         SB196059
 793   10/24/2015   5637 BARREMORE; SB152-SB152055    36837      825   10/31/2015   7903 SOUTH LOOP EAST; SBP02-     36952
 794   10/24/2015   7903 SOUTH LOOP EAST; SBP02-      36838                         SBP02202
                    SBP02202                                     826   10/31/2015   3510 Brock; SBP02-SBP02156       36962
 795   10/24/2015   5603 BARREMORE; SB152-SB152044    36839      827   10/31/2015   4700 PEASE; SB147-SB147105A      36966
 796   10/24/2015   5648 BONSRELL; SB152-SB152043     36840      828   10/31/2015   1006 HACKNEY; SB149-SB149096     36968
 797   10/24/2015   1600 SUNNYLAND; SB152-SB152095B   36842      829   10/31/2015   6335 BROOKSIDE; SB149-SB149096   36969
 798   10/24/2015   5652 LAWSON; SB152-SB152037       36843      830   10/31/2015   5645 TRUETT; SB152-SB152094      36970
 799   10/24/2015   6335 BROOKSIDE; SB152-SB152081    36873      831   10/31/2015   5600 LAWSON; SB152-SB152036      36971
 800   10/24/2015   1006 HACKNEY; SB149-SB149096      36874      832   10/31/2015   5603 LAWSON; SB152-SB152036      36972
 801   10/24/2015   4700 PEASE; SB147-SB147105A       36875      833   10/31/2015   5603 BARREMORE; SB152-SB152044   36973
 802   10/25/2015   5645 TRUETT; SB152-SB152094       36844      834   10/31/2015   5645 BARREMORE; SB152-SB152060   36974
 803   10/25/2015   2000 DISMUKE; SB089-SB089047      36845      835   10/31/2015   5647 BONSRELL; SB152-SB152043    36975
 804   10/25/2015   1900 DISMUKE; SB152-SB152047      36846      836   11/1/2015    2406 SIEBER; SB004-              36977
 805   10/25/2015   1802 DISMUKE; SB152-SB152044      36847      837   11/1/2015    8182 JULIABORA; SB060-SB060030   36978
 806   10/25/2015   6150 BELCREST; SB110-             36869      838   11/1/2015    8622 WYNLEA; SB038-SB038093      36984
 807   10/26/2015   8618 GLENLEA; SB037-              36876      839   11/1/2015    8625 WINKLER; SB036-SB036049     36985
 808   10/26/2015   4747 ALLENDALE; SB018-            36877      840   11/1/2015    1211 CHOATE; SB001-              36987
 809   10/26/2015   2406 SIEBER; SB004-               36880      841   11/1/2015    6711 TELEPHONE; SB028-           36996
 810   10/26/2015   7026 RICHWOOD; SB044-             36884      842   11/2/2015    7615 GRAHAMCREST; SB050-         36986
 811   10/27/2015   5631 ORIOLE; SB014-SB014012       36890                         SB050013
 812   10/27/2015   6969 S LOOP E; SB078-SB078057     36898      843   11/2/2015    3807 DELANO; SB125-              36990
                                                                 844   11/2/2015    3412 WEBSTER; SB158-             36993
 813   10/27/2015   1102 ORCHID; SB001-               36906
 814   10/27/2015   8001 JOPLIN; SB026-               36907      845   11/3/2015    1010 WAYSIDE; SB086-             36998
                                                                 846   11/4/2015    5309 BURMA; SB116-               37000
 815   10/27/2015   2305 MCGOWEN; SB159-              36920
 816   10/27/2015   6900 DEL RIO; SB188-              36931      847   11/5/2015    3903 ERBY; SBP02-                37012
                                                                 848   11/5/2015    2409 SAINT CHARLES; SB123-       37015
 817   10/28/2015   7911 SANTA ELENA; SBP12-          36903
 818   10/28/2015   8119 STONY DELL; SBP12-           36904      849   11/5/2015    3807 DELANO; SB162-              37024
 819   10/28/2015   8107 GLEN DELL; SBP12-SBP12099    36905      850   11/6/2015    3313 SAMPSON; SBP25-             37026
 820   10/28/2015   7615 GRAHAMCREST; SB050-          36917      851   11/6/2015    8106 BOTANY; SB056-              37027
                    SB050013                                     852   11/7/2015    3209 ANITA; SB123-               37036
 821   10/28/2015   7701 BROADVIEW; SBP33-            36919      853   11/9/2015    401 WINKLER; SBP02-              37049

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 854   11/9/2015    5930 BELDART; SB103-              37050      888   11/24/2015   4134.5 ERIE; SB032-                37199
 855   11/9/2015    3111 BREMOND; SB158-              37066      889   11/24/2015   2608 CALUMET; SBP31-SBP31035       37200
 856   11/10/2015   5822 FLAMINGO; SB104-             37055      890   11/24/2015   2434 LIDSTONE; SBP19-SBP19172      37201
 857   11/10/2015   6615 LINDY; SB088-SB088009        37056      891   11/24/2015   5203 ENYART; SB177-                37202
 858   11/10/2015   1306 DORENE; SB013-SB013039       37058      892   11/24/2015   3442 ANITA ST.; SB122-             37204
 859   11/10/2015   2420 MCILHENNY; SB138-            37068      893   11/25/2015   2911 BROADWAY; SBP02-SBP02003      37205
 860   11/11/2015   2100 PEASE; SB139-SB139012        37062      894   11/25/2015   5609 FAUCETTE; SBP19-              37207
 861   11/11/2015   6941 LIVERPOOL; SB178-            37063      895   11/25/2015   7112 FOSTER; SB171-                37216
 862   11/11/2015   5155 BALKIN; SB176-               37065      896   11/25/2015   5806 FLAMINGO; SB104-              37217
 863   11/12/2015   8511 WIER; SB059-SB059033         37077      897   11/25/2015   4113 ALICE; SB170-                 37219
 864   11/13/2015   6767 TELEPHONE; SB028-SB028099    37082      898   11/26/2015   7420 LINDENCREST; SB051-SB051043   37222
 865   11/13/2015   5101 BURMA; SB116-SB116081        37084      899   11/27/2015   3417 TAMPA; SB196-                 37236
 866   11/13/2015   6767 TELEPHONE; SB028-SB028099    37085      900   11/27/2015   2305 MCGOWEN; SB159-               37237
 867   11/14/2015   7803 BELLFORT; SBP12-             37088      901   11/28/2015   6819 MYRTLE; SB068-                37242
 868   11/15/2015   5806 FLAMINGO; SB104-             37095      902   11/29/2015   2600 BASTROP ST; SB159-            37245
 869   11/16/2015   3313 SAMPSON; SBP25-SBP25098      37108      903   11/29/2015   5010 LONGMEADOW; SB082-            37246
 870   11/17/2015   7226 SAINT AUGUSTIN; SB171-       37126      904   11/29/2015   6434 SHERWOOD; SBP28-SBP28073      37248
                    SB171024                                     905   11/30/2015   7610 NARCISSUS; SB063-             37252
 871   11/18/2015   5909 SCOTT; SBP05-                37132      906   11/30/2015   8537 BRANDON; SB184-               37263
 872   11/19/2015   1210 VERA LOU; SB172-             37135      907   2/14/2016                                       229758
 873   11/19/2015   5503 ALLENDALE; SB014-SB014038    37136      908   2/14/2016    8253 Gulf Freeway                  229761
 874   11/19/2015   219 FENNELL; SB074-               37137      909   2/18/2016    1515 Chia                          229886
 875   11/19/2015   7407 CRESTMONT; SB112-            37140      910   2/19/2016    2400 S MacGregor Way               229899
 876   11/19/2015   6035 BEEKMAN; SB177-SB177079      37141      911   2/19/2016    2342 Lidstone                      229900
 877   11/20/2015   8042 MARTIN LUTHER KING; SB114-   37148      912   2/19/2016    9415 E Avenue H                    229902
 878   11/20/2015   7112 FOSTER; SB171-               37153      913   2/22/2016    7351 Oak Hill.                     229971
 879   11/21/2015   5920 ARDMORE; SB189-SB189045      37155      914   2/22/2016    7555 Hereford.                     229976
 880   11/21/2015   2935 PARK OAKS; SBP02-            37156      915   2/22/2016    7351 Oak Hill.                     230012
 881   11/23/2015   6321 LEDBETTER; SBP16-SBP16132    37180      916   2/23/2016    5209 Chenevert.                    230026
 882   11/23/2015   3445 BEULAH ST; SB122-            37183      917   2/24/2016    6434 Sherwood                      229968
 883   11/23/2015   6159 KENILWOOD; SB102-            37184      918   2/24/2016    214 Medina                         229972
 884   11/23/2015   3336 TAMPA; SB196-                37185      919   2/24/2016    910 Redwood                        229975
 885   11/24/2015   6710 GOFORTH; SB169-              37194      920   2/24/2016    6434 Sherwood.                     230035
 886   11/24/2015   6714 GOFORTH; SB169-SB169035      37195      921   2/24/2016    910 Redwood.                       230036
 887   11/24/2015   4113 ALICE; SB170-                37198      922   2/29/2016    7327 St Lo                         229978
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 923   3/6/2016     7546 Thurow.                    230140        958   4/21/2016   5001 Martin Luther King.          232028
 924   3/8/2016     7119 Village Way.               230142        959   4/23/2016   6930 LaPaseo.                     232047
 925   3/9/2016     8315 Manchester.                230144        960   4/25/2016   8030 Airport.                     232211
 926   3/9/2016     2526 Lidstone. 2526 Lidstone.   230148        961   4/25/2016   3919 Cosby.                       232212
 927   3/9/2016     220 Medina. 2526 Lidstone.      230150        962   4/26/2016   2928 Woodridge.                   232267
 928   3/10/2016    3129 Hadley. 2526 Lidstone.     230151        963   4/27/2016   7026 Santa Maria.                 232486
 929   3/12/2016    3937 Yellowstone                258195        964   4/28/2016   1500 Forest Hill.                 232493
 930   3/12/2016    8250 Park Place                 258196        965   4/29/2016   4500 Deeda.                       232497
 931   3/14/2016    5913 Belneath.                  230269        966   5/1/2016    8635 Gulf Fwy.                    232530
 932   3/14/2016    7107 Crestmont.                 230271        967   5/5/2016    6303 Lyndhurst.                   232869
 933   3/15/2016    1129 Kellogg.                   230272        968   5/9/2016    3200 Woodridge Dr.                233039
 934   3/17/2016    7606 Tipps.                     230273        969   5/11/2016   2621 S. Loop W.                   233240
 935   3/18/2016    3100 Scott                      230277        970   5/11/2016   5330 Burma.                       233241
 936   3/19/2016                                    230439        971   5/14/2016   8100 Wheeler Street               233261
 937   3/26/2016    6099 Belmark.                   230312        972   5/15/2016   5703 Thrush.                      233359
 938   3/26/2016    8102 De Leon.                   230314        973   5/18/2016   8823 Dover.                       233504
 939   3/27/2016                                    230317        974   5/19/2016   7026 Santa Maria.                 233606
 940   3/29/2016    3706 Belk.                      230338        975   5/21/2016   6733 Burkett.                     233637
 941   3/30/2016    7039 Burkett.                   230401        976   5/24/2016   3863 Arbor.                       233884
 942   4/2/2016     7016 Santa Maria.               230644        977   5/26/2016   7812 Tierwester.                  234187
 943   4/5/2016     7026 Santa Maria.               230913        978   5/27/2016   7903 South Loop E                 234195
 944   4/5/2016     5300 Browncroft.                230914        979   5/28/2016   4917 Cherbourg.                   234209
 945   4/8/2016     5649 Barremore.                 231751        980   5/28/2016   8625 Winkler.                     234210
 946   4/10/2016    4505 Willowbrook Blvd,          231151        981   5/28/2016   7026 Santa Maria.                 234212
 947   4/12/2016    2500 Garland.                   231365        982   5/30/2016   7310 Forrestal.                   234231
 948   4/13/2016    6111 Delrio.                    231407        983   5/30/2016   7313 Santiago.                    234233
 949   4/13/2016    6206 Del Rio.                   231408        984   5/31/2016   8118 Gulick.                      234381
 950   4/18/2016    4700 Pease.                     231683        985   6/2/2016    8204 Gulick                       234752
 951   4/18/2016    7903 S. Loop East.              231684        986   6/2/2016    7903 South Loop East              234757
 952   4/18/2016    1006 Hackney.                   231747        987   6/2/2016    5930 Waltrip.                     234760
 953   4/18/2016    6335 Brookside.                 231748        988   6/2/2016    3710 Southmore.                   234763
 954   4/18/2016    5603 Barremore                  231749        989   6/3/2016    2700 Holman.                      234802
 955   4/19/2016    8625 Winkler Dr                 231795        990   6/3/2016    8338 Glen Valley.                 234803
 956   4/19/2016    8500 Cypress.                   231796        991   6/3/2016    5007 Northridge                   234804
 957   4/20/2016    7313 Santiago.                  232027        992   6/4/2016    215 Fennell.                      234822
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 993    6/8/2016    7426 Evans.                   235485         1028   8/10/2016   3525 Blodgett St.              241424
 994    6/8/2016    214 Medina.                   235714         1029   8/14/2016   3710 Southmore.                241700
 995    6/9/2016    8513 1/2 Howard Dr.           235712         1030   8/16/2016   8700 Wheeler                   241866
 996    6/15/2016   7321 Briefway.                235803         1031   8/16/2016   5715 Oriole St.                241868
 997    6/15/2016   2610 Broadway.                235805         1032   8/17/2016   11500 Lawndale.                242225
 998    6/16/2016   7606 Tipps.                   235934         1033   8/17/2016   7555 Hereford.                 242227
 999    6/21/2016   4707 Gulf.                    236178         1034   8/21/2016   3821 Ruth St.                  242194
 1000   6/22/2016   4002 Corder.                  236294         1035   8/21/2016   606 Ruell.                     242195
 1001   6/24/2016   2391 S Wayside.               236365         1036   8/21/2016   606 Ruell.                     242203
 1002   6/25/2016   2928 Woodridge.               236368         1037   8/22/2016   7231 Ilex.                     242204
 1003   6/25/2016   5007 Northridge.              236369         1038   8/23/2016   3739 Bremond.                  242242
 1004   6/25/2016   8053 Barkley Dr.              236370         1039   8/26/2016   5254 Perry.                    242476
 1005   6/27/2016   7918 Darnay.                  236550         1040   8/26/2016   3200 Duval.                    242478
 1006   6/28/2016   3601 Telephone Rd             236630         1041   8/27/2016   6969 S Loop E.                 242533
 1007   6/28/2016   3601 Telephone Rd             236631         1042   8/27/2016   3710 Southmore.                242534
 1008   6/28/2016   8100 Wheeler St               236632         1043   8/31/2016   4910 Allendale.                242692
 1009   6/28/2016   8100 Wheeler Street           236633         1044   8/31/2016   8900 Lakes610.                 242755
 1010   6/28/2016   8100 Wheeler Street           236634         1045   9/1/2016    8132 Garland.                  242760
 1011   7/2/2016    4621 Kingsbury.               236958         1046   9/1/2016    6969 S Loop E.                 242762
 1012   7/4/2016    303 Axilda.                   236962         1047   9/4/2016    6155 Belmark.                  242813
 1013   7/8/2016    419 Dowling.                  237259         1048   9/4/2016    6410 Ridgeway.                 242814
 1014   7/9/2016    2918 Dalton.                  237253         1049   9/5/2016    3802 Luca.                     243072
 1015   7/10/2016   7006 Scott.                   238021         1050   9/8/2016    1500 Lawndale.                 243674
 1016   7/15/2016   5843 Westover.                239320         1051   9/16/2016   2100 Pease.                    244129
 1017   7/25/2016   7351 Oak Hill.                240180         1052   9/16/2016   2900 Anita.                    244130
 1018   7/26/2016   7903 S. Loop E.               240181         1053   9/17/2016   7442 McHenry.                  244137
 1019   7/26/2016   2534 Carrolton St.            240182         1054   9/19/2016   7238 Saint Augustine.          244189
 1020   7/27/2016   8625 Winkler.                 240280         1055   9/24/2016   1617 St Emanuel.               244562
 1021   8/1/2016    6595 W Bellfort.              240659         1056   9/27/2016   3802 Southlawn.                244656
 1022   8/3/2016    5500 Allendale Rd.            240815         1057   9/27/2016   5100 Calhoun.                  244657
 1023   8/3/2016    2039 Pasadena.                240817         1058   9/29/2016   2918 Dalton.                   245028
 1024   8/4/2016    3499 Evergreen.               240915         1059   10/4/2016   8518 Ruthby.                   245110
 1025   8/5/2016    4923 Balkin.                  240984         1060   10/4/2016   7000 Village Way.              245111
 1026   8/6/2016    5771 Flamingo.                240990         1061   10/4/2016   7000 Village Way.              245113
 1027   8/8/2016    1813 Dumble.                  241225         1062   10/5/2016   8273 Park Place.               245360
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 1063   10/10/2016   2820 Lockett.                       245476   1097   12/15/2016   7550 Thurow.                      249506
 1064   10/12/2016   8625 Winkler Dr.                    245484   1098   12/15/2016   8014 Glenview.                    249507
 1065   10/13/2016   4938 Winfree.                       245492   1099   12/20/2016   4001 Corder.                      249202
 1066   10/18/2016   9707 S Gessner.                     245762   1100   12/21/2016   3902 Zephyr.                      249478
 1067   10/18/2016   5601 Royal Palms.                   245763   1101   12/22/2016   6969 S Loop E.                    249480
 1068   10/20/2016   6800 S Loop E.                      245930   1102   12/22/2016   716 Asburn.                       249482
 1069   10/24/2016   7000 Village Way & 2928 Woodridge   246114   1103   12/27/2016   8114 Park Place.                  249520
                     Dr.                                          1104   12/27/2016   8113 Juliabora.                   249521
 1070   10/27/2016   7603 Martin Luther King.            246298   1105   1/1/2017     2549 Munger.                      249660
 1071   10/27/2016   8823 Dover.                         246299   1106   1/5/2017     7422 Moss Rose.                   250109
 1072   10/31/2016   5601 Royal Palms St.                246398   1107   1/6/2017     5218 Nassau.                      250116
 1073   10/31/2016   5526 Shamrock.                      246399   1108   1/12/2017    4326 Leeland.                     250479
 1074   11/1/2016    5800 Southville St.                 246534   1109   1/12/2017    5218 Nassau.                      250480
 1075   11/4/2016    6969 S Loop E.                      246644   1110   1/13/2017    7539 Greenstone.                  250497
 1076   11/10/2016   5330 Griggs.                        246973   1111   1/13/2017    5537 Malmedy.                     250500
 1077   11/11/2016   7515 Kingsley.                      247135   1112   1/14/2017    5500 S Loop E.                    250505
 1078   11/12/2016   4734 Woodside.                      247139   1113   1/16/2017    4910 Allendale.                   250951
 1079   11/15/2016   1900 Memorial.                      247181   1114   1/19/2017    4002 Wyne St.                     251094
 1080   11/15/2016   3500 Blodgett.                      247183   1115   1/20/2017    1800 Wheeler.                     251112
 1081   11/16/2016   5727 Willow Glen.                   247562   1116   1/20/2017    2534 Carrolton.                   251113
 1082   11/17/2016   2800 Cullen.                        247480   1117   1/20/2017    4700 Pease Street                 251114
 1083   11/21/2016   6111 Del Rio.                       247603   1118   1/23/2017    6950 B Paris.                     251158
 1084   11/21/2016   4031 Galveston Rd.                  247604   1119   1/24/2017    4514 Dewberry.                    251169
 1085   11/26/2016   7126 eppes.                         247754   1120   1/27/2017    4102 Erie.                        251355
 1086   11/28/2016   6969 S Loop E.                      248194   1121   1/27/2017    8105 Woodward.                    251356
 1087   11/28/2016   2601 Riverside.                     248195   1122   1/28/2017    6320 Martin Luther King.          251368
 1088   11/29/2016   5600 Barremore.                     248226   1123   1/28/2017    7615 Grahamcrest.                 251369
 1089   12/5/2016    4910 Allendale.                     248283   1124   1/31/2017    3102 Holmes.                      251756
 1090   12/7/2016    8625 Winkler.                       248436   1125   2/1/2017     5203 Lantana.                     251760
 1091   12/9/2016    2217 Wheeler.                       248495   1126   2/2/2017     5217 Southlea.                    251806
 1092   12/12/2016   6969 S Loop E.                      248673   1127   2/3/2017     4213 Alice.                       251830
 1093   12/12/2016   5927 Honeysuckle.                   248674   1128   2/6/2017     3948 Arlington Square.            252014
 1094   12/12/2016   7104 La Paseo.                      248675   1129   2/6/2017     SB086                             258891
 1095   12/13/2016   4910 Allendale.                     248770   1130   2/7/2017     5400 Texas.                       252087
 1096   12/14/2016   4602 Dewberry.                      249481   1131   2/7/2017     5400 Altic.                       252088
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 1132   2/7/2017    SB155039                      258892         1167   2/27/2017   SB183133                             254666
 1133   2/7/2017    SB155040                      258926         1168   3/2/2017    SB117                                254668
 1134   2/8/2017    SBP06                         258893         1169   3/3/2017    SBP26050                             257985
 1135   2/9/2017    SB140028                      258894         1170   3/5/2017    3217 Deland                          258080
 1136   2/9/2017    SB123134                      258895         1171   3/5/2017    3315 Scott                           258082
 1137   2/10/2017   SB016                         258896         1172   3/6/2017                                         256036
 1138   2/11/2017   4734 Woodside.                252252         1173   3/6/2017                                         256037
 1139   2/11/2017                                 255804         1174   3/6/2017                                         256038
 1140   2/11/2017                                 255805         1175   3/7/2017    SB139051                             256123
 1141   2/13/2017                                 255807         1176   3/8/2017    3405 MOUNT PLEASANT ST.              258010
 1142   2/13/2017   SBP26                         255822         1177   3/9/2017    SBP26                                256172
 1143   2/14/2017   SB205                         255826         1178   3/10/2017   SB209006                             258467
 1144   2/14/2017   SB136                         255827         1179   3/11/2017   3401 HONDO                           258020
 1145   2/15/2017   SB190                         255828         1180   3/12/2017   3937 Yellowstone                     255797
 1146   2/15/2017   SB116                         255829         1181   3/12/2017                                        255799
 1147   2/15/2017   SBP26                         255830         1182   3/13/2017                                        255775
 1148   2/16/2017   6930 La Paseo.                253424         1183   3/13/2017   4525 Balkin.                         255878
 1149   2/16/2017   SBP16001                      255832         1184   3/13/2017   212 Winkler.                         255879
 1150   2/17/2017   3000 Trully.                  253440         1185   3/14/2017                                        255772
 1151   2/17/2017   7351 Oak Hill.                253441         1186   3/14/2017                                        255773
 1152   2/17/2017   SB158                         255833         1187   3/15/2017   6743 Madrid.                         255861
 1153   2/17/2017   SB174                         255835         1188   3/15/2017   7119 Crestmont.                      255862
 1154   2/17/2017   SB084054                      255836         1189   3/15/2017   1620 S Loop W.                       255863
 1155   2/19/2017   6522 Moss Rose                253521         1190   3/15/2017   5727 Northridge                      255865
 1156   2/19/2017   6606 Keller                   253523         1191   3/17/2017   SB103034                             256029
 1157   2/19/2017                                 255967         1192   3/17/2017   SB140028                             256030
 1158   2/19/2017                                 255970         1193   3/23/2017   7914 BELBAY                          258078
 1159   2/21/2017                                 255972         1194   3/30/2017   5955 Van Fleet St; SBP22057          258102
 1160   2/22/2017                                 255973         1195   4/7/2017                                         256144
 1161   2/22/2017                                 255975         1196   4/7/2017                                         256189
 1162   2/23/2017   5506 Southwind.               253462         1197   4/12/2017   5506 Milart                          256395
 1163   2/23/2017   1905 Eastwood.                253463         1198   4/13/2017   SB001001                             258962
 1164   2/23/2017                                 255976         1199   4/14/2017   SBP26133                             258517
 1165   2/23/2017                                 255977         1200   4/14/2017   SB149084                             258522
 1166   2/23/2017                                 255978         1201   4/16/2017   SBP02134                             258663
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 1202   4/17/2017   SB134                         258649         1237   5/11/2017   SB116                   263028
 1203   4/24/2017   SB183                         259077         1238   5/11/2017   SB092049                263029
 1204   4/25/2017   SB140001                      259153         1239   5/11/2017   SB146                   263048
 1205   4/28/2017   SB169054                      259118         1240   5/12/2017   SB146018                259270
 1206   4/28/2017   SB123043                      259119         1241   5/12/2017   SBP18035                259294
 1207   4/28/2017   SB125129                      259120         1242   5/12/2017   SB116018                259295
 1208   4/30/2017   SB109                         259221         1243   5/12/2017   SB092001                259298
 1209   4/30/2017   SB109                         262164         1244   5/15/2017   SB072038                259360
 1210   5/1/2017    SB001001                      259222         1245   5/15/2017   SB198027                259362
 1211   5/1/2017    SB001110A                     262166         1246   5/15/2017   SB072                   263454
 1212   5/2/2017    SBP02313                      259187         1247   5/15/2017   SB198                   263455
 1213   5/2/2017    SBP05095                      259188         1248   5/15/2017   SB072                   264313
 1214   5/2/2017    SB016056                      259189         1249   5/15/2017   SB198                   264315
 1215   5/2/2017    SBP02                         262299         1250   5/16/2017   SB001019                259443
 1216   5/2/2017    SBP05                         262300         1251   5/16/2017   SB001                   263457
 1217   5/2/2017    SB016                         262301         1252   5/16/2017   SB001                   264316
 1218   5/3/2017    SB177065                      259231         1253   5/21/2017   SB024052                263230
 1219   5/3/2017    SB177                         262302         1254   5/21/2017   SB028                   263232
 1220   5/4/2017    SB118013                      259241         1255   5/23/2017   SB016011                264055
 1221   5/4/2017    SB118                         262303         1256   5/23/2017   SB167001                264057
 1222   5/5/2017    SB146006                      259238         1257   5/26/2017   SB079034                263482
 1223   5/5/2017    SB146                         262304         1258   5/30/2017   SB077029                263798
 1224   5/6/2017    SB109008                      259249         1259   5/31/2017   SB170                   263821
 1225   5/6/2017    SB109                         262305         1260   6/1/2017    SB104                   264035
 1226   5/8/2017    SB004                         259256         1261   6/1/2017    SB104                   264529
 1227   5/8/2017    SB073                         259257         1262   6/2/2017    SB169023                263534
 1228   5/8/2017    SB004                         262307         1263   6/2/2017    SB167069                263535
 1229   5/8/2017    SB073                         262308         1264   6/2/2017    SB169                   264535
 1230   5/9/2017    SBP28                         262309         1265   6/2/2017    SB167                   264536
 1231   5/9/2017    SB156                         262310         1266   6/3/2017    SB092033                264042
 1232   5/10/2017   SBP02382                      259296         1267   6/4/2017    SB091066                263478
 1233   5/10/2017   SB051                         259301         1268   6/5/2017    SBP14007                263003
 1234   5/10/2017   SBP02                         262311         1269   6/5/2017    SB130100                263004
 1235   5/10/2017   SB051                         262313         1270   6/5/2017    SBP24045                263007
 1236   5/11/2017   SBP18                         263026         1271   6/7/2017    SB089017                263134
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 1272   6/8/2017    SB029001                      262697         1307   7/28/2017    SBP05128                           264327
 1273   6/13/2017   SBP12                         263339         1308   7/28/2017    SBP05                              265432
 1274   6/13/2017   SB024091                      263340         1309   7/31/2017    SB139                              265546
 1275   6/13/2017   SBP12                         264538         1310   8/10/2017    1007                               265870
 1276   6/14/2017   SBP02278                      263358         1311   8/10/2017    SB032054                           265887
 1277   6/14/2017   SB027015                      263360         1312   8/12/2017    SB123128                           265593
 1278   6/15/2017   SB086                         263286         1313   8/12/2017    2506 NAGEL                         268717
 1279   6/15/2017   SB086                         264540         1314   8/13/2017    SB179026                           265600
 1280   6/16/2017   8072 LENORE                   262685         1315   8/13/2017    SB109022                           265601
 1281   6/21/2017   SB006030                      263412         1316   8/13/2017    3746 LEHALL                        268718
 1282   6/25/2017   SB112030                      263236         1317   8/13/2017    5807 SOUTHFORD                     268719
 1283   6/25/2017   SB112                         264440         1318   8/14/2017    SB177                              265536
 1284   6/26/2017   SB107013                      263047         1319   8/14/2017    5142 CROSBY                        268720
 1285   6/26/2017   SB107                         264448         1320   8/18/2017    SB078                              266881
 1286   6/29/2017   SB140112                      263108         1321   8/18/2017    4702 TELEPHONE                     268721
 1287   6/29/2017   SB107001                      263109         1322   8/19/2017    SB100033                           266058
 1288   6/29/2017   SB140112                      264451         1323   8/25/2017    6131 SUNNYCREST                    268957
 1289   6/29/2017   SB107                         264452         1324   9/5/2017     2060 ALLEN GENOA; STREET           269009
 1290   6/30/2017   SB188                         264454         1325   9/8/2017     8069 ELROD                         269010
 1291   7/3/2017    SB123039                      262904         1326   9/18/2017    8107 GLEN DELL MANHOLE             269439
 1292   7/10/2017   SBP26006                      263428         1327   9/26/2017    2284 COLLIER MANHOLE               269460
 1293   7/10/2017   SB167084                      263430         1328   9/29/2017    5526 STARLING CLEANOUT             269538
 1294   7/19/2017   SB099007                      263606         1329   10/10/2017   510 GULFGATE CENTER MANHOLE        270243
 1295   7/20/2017   SB024                         263841         1330   10/13/2017   8334 STONE MANHOLE                 270529
 1296   7/20/2017   SB178                         263900         1331   10/14/2017   7160 ASHBURN                       270532
 1297   7/22/2017   SB016                         263887         1332   10/14/2017   7160 Ashburn; Manhole SB028        271493
 1298   7/22/2017   SB016                         265391         1333   10/14/2017   7440 Haywood                       271497
 1299   7/24/2017   SB018025                      264220         1334   10/17/2017   SBP19042                           270745
 1300   7/24/2017   SBP16031                      264221         1335   10/17/2017   SBP02154                           270746
 1301   7/24/2017   SB018025                      265392         1336   10/17/2017   6006 Gulf Freeway                  271500
 1302   7/24/2017   SBP16                         265428         1337   10/17/2017   3726 Erby                          271513
 1303   7/25/2017   SBP05064                      264294         1338   10/18/2017   Plum Creek Above Tidal, Segment    271515
 1304   7/25/2017   SBP05                         265429                             1007I of the San J
 1305   7/25/2017   SBP05                         265430         1339   10/18/2017   6507 Beekman                       271517
 1306   7/26/2017   SBP02                         265431
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                                                                                                                 Appendix56
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 1340   10/18/2017   Plum Creek Above Tidal, Segment   271520     1372   11/7/2017    1900 EASTWOOD; SB142037               272153
                     1007I of the San J                           1373   11/7/2017    1900 eastwood, houston, tx 77023      273562
 1341   10/18/2017   SB198030                          273011     1374   11/7/2017    1900 EASTWOOD; SB142037               274800
 1342   10/18/2017   SB177038                          273014     1375   11/8/2017    6210 WALTRIP; SB093037                272351
 1343   10/18/2017   SB004049                          273016     1376   11/8/2017    6210 Waltrip, Houston, Tx 77087       273564
 1344   10/19/2017   2608 S Calumet                    271525     1377   11/11/2017   6736 GOFORTH                          272474
 1345   10/19/2017   SB109001                          273000     1378   11/11/2017   6736 GOFORTH; SB169                   272484
 1346   10/24/2017   8048 Barkley                      271095     1379   11/11/2017   2802 NAGLE; SB                        272508
 1347   10/24/2017   8048 Barkley Street: SB060        271740     1380   11/11/2017   2802 Nagle St, Houston, TX, 77004     274394
 1348   10/25/2017   8307 Gulf Freeway                 271743     1381   11/11/2017   6736 Goforth St, Houston, TX, 77021   274395
 1349   10/26/2017   1814 Matamoras St, Houston, TX,   271746     1382   11/11/2017   2802 NAGLE; SB123                     274802
                     77023, USA                                   1383   11/11/2017   6736 GOFORTH; SB169                   274807
 1350   10/27/2017   FB022103                          271501     1384   11/11/2017   2802 NAGLE; SB123                     275744
 1351   10/27/2017   SB179                             271510     1385   11/13/2017   6210 WALTRIP; SB093                   272692
 1352   10/27/2017   7140 Street St.: SB179            271747     1386   11/13/2017   11307 Barrett Brae Dr, Houston, TX,   274384
 1353   10/28/2017   3100 HOLMES: SB204046             271591                         77072
 1354   10/28/2017   3100 Holmes                       272525     1387   11/13/2017   6210 Waltrip St, Houston, TX, 77087   274396
 1355   10/28/2017   5731 Lyndhurst ( open unpaved)    272528     1388   11/13/2017   6210 WALTRIP; SB093                   274808
 1356   10/30/2017   5731 LYNDHURST: SB114             271722     1389   11/17/2017   3604 TUAM                             273513
 1357   10/30/2017   5322 DOULTON DR: SB082            271723     1390   11/17/2017   3604 Tuam St, Houston, TX, 77004      274397
 1358   10/30/2017   4511 WALKER: SB156                271726     1391   11/17/2017   3604 TUAM; SBP02                      274809
 1359   10/30/2017   5322 Doulton Dr.                  272529     1392   11/20/2017   6802 TIERWESTER; Manhole;             273397
 1360   10/30/2017   4511 Walker ( open unpaved)       272530     1393   11/20/2017   3619 BROAD ST; SBP15054               273399
 1361   11/2/2017    7140 SCOTT; SB179032              271971     1394   11/20/2017   6802 TIERWESTER; SBP29039             273937
 1362   11/2/2017    5711 ORIOLE; SB016001             271974     1395   11/20/2017   3619 BROAD ST; SBP15                  273938
 1363   11/2/2017    7140 Scott                        272531     1396   11/20/2017   6802 TIERWESTER; SBP29039             274811
 1364   11/2/2017    5711 Oriole (manhole: backlot     272532     1397   11/20/2017   3619 BROAD ST                         274812
                     easement)                                    1398   11/21/2017   8535 WINKLER; SB060                   273579
 1365   11/2/2017    5711 ORIOLE; SB016032             274793     1399   11/21/2017   8535 WINKLER; SB060                   273915
 1366   11/3/2017    6540 HOGUE                        272022
                                                                  1400   11/21/2017   8535 WINKLER; SB060                   273941
 1367   11/3/2017    7702 NARCISSUS: SB070             272023     1401   11/21/2017   8535 WINKLER; SB060                   274813
 1368   11/3/2017    6540 Hogue                        272533     1402   11/22/2017   5814 WESTOVER; SB103048               273309
 1369   11/3/2017    7702 Narcissus                    272534     1403   11/22/2017   5814 WESTOVER; SB103                  273946
 1370   11/3/2017    6540 HOGUE; SBP17                 274795     1404   11/22/2017   5814 WESTOVER; SB103                  274814
 1371   11/3/2017    7702 NARCISSUS; SB070             274797     1405   11/23/2017   3515 LEELAND; SB154                   273949
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 1406   11/23/2017   3515 LEELAND; SB154                274057    1438   12/2/2017    6811 BELLFORT; SBP17001          273775
 1407   11/23/2017   3515 LEELAND; SB154                274815    1439   12/4/2017    6815 CRESTMONT; SB109            274013
 1408   11/23/2017   3515 Leeland St, Houston, Texas,   278630    1440   12/4/2017    6922 S LOOP EAST; SB078001       274017
                     77003                                        1441   12/9/2017    1900 EASTWOOD; SB142034          275012
 1409   11/24/2017   7802 GULF FWY; SB026054            273281    1442   12/9/2017    1900 EASTWOOD; SB142034          276204
 1410   11/24/2017   7802 GULF FWY; SB026               273953    1443   12/10/2017   2310 ARBOR Pl; SB165             276205
 1411   11/24/2017   7802 GULF FWY; SB026               274817    1444   12/13/2017   3302 WICHITA; SB192              275047
 1412   11/25/2017   5940 GULF; Private Sample Well;    273494    1445   12/13/2017   5314 PERSHING; SB116             275066
                     SBP19044                                     1446   12/13/2017   3302 WICHITA; SB192              276207
 1413   11/25/2017   5940 GULF; SBP19                   275203    1447   12/13/2017   5314 PERSHING; SB116             276209
 1414   11/26/2017   3308 ROSALIE; SB122                273536    1448   12/14/2017   2908 DALTON; SB024               275067
 1415   11/26/2017   3308 ROSALIE; SB122                273550    1449   12/14/2017   2522 PATRICIA MANOR; SBP02001    275068
 1416   11/26/2017   5911 SOUTHLARK; SB107              275204    1450   12/14/2017   2908 DALTON; SB024               276210
 1417   11/26/2017   3308 ROSALIE; SB122                275205    1451   12/14/2017   2522 PATRICIA MANOR; SBP02242    276212
 1418   11/27/2017   1900 EASTWOOD; SB142037            273346    1452   12/15/2017   6206 REED; SB092                 275116
 1419   11/27/2017   3903 ERBY; SBP02001                273348    1453   12/15/2017   5110 CLAY; SB153075              275117
 1420   11/27/2017   5300 SUNRISE; SBP21001             273349    1454   12/15/2017   6206 REED Rd; SB092              276214
 1421   11/27/2017   1900 EASTWOOD; SB142037            275206
                                                                  1455   12/15/2017   5110 CLAY; SB153075              276215
 1422   11/27/2017   3903 ERBY; SBP02372                275208    1456   12/16/2017   5347 BROWNCROFT; SB177094        275652
 1423   11/27/2017   5300 SUNRISE; SB206019             275209
                                                                  1457   12/19/2017   5611 EL BUEY Way; SB001082       275693
 1424   11/28/2017   2800 CULLEN;                       273696    1458   12/19/2017   5971 RIDGEWAY; SB112062          275694
 1425   11/28/2017   5406 NIGHTINGALE; SB014035         273698
                                                                  1459   12/19/2017   3442 ANITA; SBP25086             275695
 1426   11/28/2017   5012 CHENEVERT; SB127              273700    1460   12/19/2017   3226 ROSALIE; SB122057           275697
 1427   11/28/2017   3602 OLD SPANISH TRAIL; Manholr;   273702
                                                                  1461   12/19/2017   3703 TUAM; SBP26061              275698
                     SBP05001
                                                                  1462   12/20/2017   5759 THRUSH dr; SB104            275709
 1428   11/28/2017   2800 CULLEN; SBP26083A             275211
                                                                  1463   12/20/2017   1900 EASTWOOD; SB142001          275710
 1429   11/28/2017   5406 NIGHTINGALE; SB014035         275212
                                                                  1464   12/27/2017   5510 TALLOW; SB205               277440
 1430   11/28/2017   5012 CHENEVERT; SB127              275215
                                                                  1465   12/28/2017   5635 RIDGEWAY; SB114             277441
 1431   11/28/2017   3602 OLD SPANISH TR; SBP05066Y     275216
                                                                  1466   12/28/2017   4621 KINGSBURY; SB167            277443
 1432   11/29/2017   6001 GULF; SB089002                273794
                                                                  1467   12/28/2017   5986 ARDMORE; SBP03001           277444
 1433   11/29/2017   6001 GULF; SB089002                275219
                                                                  1468   12/29/2017   6506 GLEN ROCK Dr; SBP17         276368
 1434   12/1/2017    3059 ROE; SBP09                    273846
                                                                  1469   12/29/2017   5251 PERRY; SB177                276369
 1435   12/1/2017    3059 ROE; SBP02                    275222
                                                                  1470   12/29/2017   5420 LAWNDALE; SB149084          276373
 1436   12/2/2017    310 AXILDA; SB008051               273773
                                                                  1471   1/1/2018     7113 KELLER; SB066               278043
 1437   12/2/2017    3514 ASKEW; SBP02134               273774
                                                                  1472   1/2/2018     7111 EVANS; SB047049             278641
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                                                                                                                Appendix58
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 1473   1/2/2018    3629 N MACGREGOR WAY          278643         1508   1/23/2018   5703 CHAFFIN, SBP16027               284992
 1474   1/5/2018    4218 MCKINNEY; SB141          277927         1509   1/23/2018   SB019                                286013
 1475   1/5/2018    5954 DOULTON Dr; SB112        277929         1510   1/23/2018   SB155                                286029
 1476   1/6/2018    2549 MUNGER ST; SB099021Z     276409         1511   1/24/2018   1200 DES JARDINES, SB149000          284997
 1477   1/6/2018    2812 WICHITA; SBP31084        276412         1512   1/25/2018   SB070                                285480
 1478   1/6/2018    2549 MUNGER ST; SB099021Z     276936         1513   1/25/2018   SB140                                285482
 1479   1/6/2018    2812 WICHITA; SBP31084        276938         1514   1/26/2018   3102 HOLMES-SB204                    284663
 1480   1/6/2018    2549 MUNGER ST; SB099021Z     277219         1515   1/26/2018   3102 HOLMES-SB204                    284664
 1481   1/6/2018    2812 WICHITA; SBP31084        277220         1516   1/26/2018   6123 DOULTON DR-SB102                284665
 1482   1/6/2018    2549 MUNGER ST; SB099021Z     278329         1517   1/26/2018   3102 HOLMES, SB204                   285207
 1483   1/6/2018    2812 WICHITA; SBP31084        278335         1518   1/26/2018   3102 HOLMES, SB204                   285212
 1484   1/7/2018    7622 BELBAY; SB102011         278065         1519   1/26/2018   6123 DOULTON DR, SB102               285214
 1485   1/7/2018    7622 BELBAY; SB102011         278275         1520   1/28/2018   SB104                                285346
 1486   1/8/2018    5839 WESTOVER; SB103          277984         1521   1/28/2018   SB116050                             285348
 1487   1/8/2018    4511 WALKER ST; SB156         277985         1522   1/28/2018   SB051015                             285350
 1488   1/9/2018    9030 HOWARD; SB001            277986         1523   1/28/2018   SB139                                285353
 1489   1/9/2018    6110 CULLEN; SB167            277987         1524   1/29/2018   6805 ILEX-SB068001                   285001
 1490   1/9/2018    7706 LAKEWIND; SB040          277988         1525   1/30/2018   5058 BURMA, SB116                    284771
 1491   1/10/2018   5800 SOUTHMUND; SB107         278665         1526   1/30/2018   3201 PARKWOOD, SB189037              284776
 1492   1/11/2018   3826 ZEPHYR; SBP01            278704         1527   1/30/2018   5731 BELLFORT, SB114                 284778
 1493   1/11/2018   3826 ZEPHYR; SBP01            279019         1528   1/30/2018   SB123                                285547
 1494   1/12/2018   5900 ARDMORE; SBP31           279042         1529   1/31/2018   SB204046                             284492
 1495   1/13/2018   214 GOBER; SB008059           279043         1530   2/1/2018    SB190001                             285548
 1496   1/14/2018   SBP02001                      285248         1531   2/1/2018    SBP02067                             285549
 1497   1/15/2018   3638 DREYFUS-SB181            285032         1532   2/3/2018    3707 WENTWORTH-SB133071              285089
 1498   1/15/2018   5118 SOUTHWIND-SB117          285034         1533   2/3/2018    5705 CHAFFIN-SBP16027                285091
 1499   1/15/2018   5918 BELMARK-SB103            285037         1534   2/3/2018    6530 KERNEL-SB068053                 285092
 1500   1/18/2018   5420 LAWNDALE-SB149131        284741         1535   2/3/2018    3707 WENTWORTH, SB133                285121
 1501   1/18/2018   SB149131                      285970         1536   2/3/2018    5705 CHAFFIN, SBP16                  285122
 1502   1/21/2018   SB1906001                     285252         1537   2/3/2018    6530 KERNEL, SB068                   285124
 1503   1/22/2018   7215 MOSS ROSE-SB066094       284933         1538   2/6/2018    3725 AMOS, SB179                     285125
 1504   1/22/2018   4946 ALASKA-SB059046          284934         1539   2/6/2018    SB179026                             286000
 1505   1/22/2018   4306 N ROSENEATH-SB129031     284935         1540   2/7/2018    7419 S SANTA FE, SB047               284882
 1506   1/22/2018   3402 MT PLEASANT-SB181031     284938         1541   2/7/2018    7419 S SANTA FE, SB047               285127
 1507   1/22/2018   4813 GRIGGS, SB167078         284989         1542   2/8/2018    1502 LOMBARDY-SB146                  284527
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                                                                                                                  Appendix59
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 1543   2/8/2018    3645 ALICE-SBP29               284543        1578   2/17/2018   6718 MADRID, SB178058             284512
 1544   2/8/2018    1502 LOMBARDY, SB146022        285129        1579   2/17/2018   6718 MADRID-SB178                 285324
 1545   2/8/2018    3645 ALICE, SBP29              285131        1580   2/18/2018   SB161086                          285006
 1546   2/10/2018   3510 Brock, SB024              284621        1581   2/18/2018   4001 HAMILTON-SB161               285326
 1547   2/10/2018   6619 SOUTHBROOK, SB092077      284623        1582   2/18/2018   3941 YELLOWSTONE-SB169            285327
 1548   2/10/2018   7065 E ALPINE, SB045023        284626        1583   2/18/2018   1006 AHRENS-SB001                 285333
 1549   2/10/2018   7902 South loop East, SBP02    284628        1584   2/18/2018   SB169                             285985
 1550   2/10/2018   8100 Wheeler, SBP19            284632        1585   2/19/2018   1006 AHRENS-SB001                 284894
 1551   2/10/2018   8100 Wheeler, SBP19            284636        1586   2/20/2018   8500 PARK PLACE-SBP11002          285337
 1552   2/10/2018   8100 Wheeler @3600, SBP19      284639        1587   2/20/2018   7350 HURTGEN-SB117                285349
 1553   2/10/2018   3200 Scott, SBP25              284642        1588   2/20/2018   SBP11001                          285986
 1554   2/10/2018   3509 Elgin, SBP25              284645        1589   2/20/2018   SB117                             285987
 1555   2/10/2018   3600 ELGIN ST, SBP25           284648        1590   2/21/2018   1611 SEAGULL, SB014001            284906
 1556   2/10/2018   8300 ALMEDA, SB058             284651        1591   2/21/2018   1611 SEAGULL-SB014017             285354
 1557   2/10/2018   SB024                          284898        1592   5/6/2018    5320 POLK-SB154                   285487
 1558   2/10/2018   SB092077                       284902        1593   5/9/2018    SB137                             286560
 1559   2/10/2018   SB045023                       284904        1594   5/9/2018    SBP29005                          286561
 1560   2/10/2018   SBP02                          284905        1595   5/11/2018   6100 Gulf Freeway-SBP19           285465
 1561   2/10/2018   SBP19                          284908        1596   5/11/2018   2200 NETTLETON ST & 3140          285468
 1562   2/10/2018   SBP19                          284911                           WEBSTER ST
 1563   2/10/2018   SBP19                          284913        1597   5/15/2018   SB032052                          286548
 1564   2/10/2018   SBP25                          284914        1598   5/20/2018   SB078                             286175
 1565   2/10/2018   SBP25                          284915        1599   5/29/2018   SBP11045                          286554
 1566   2/10/2018   SBP25                          284917        1600   5/31/2018   SBP33036F                         286544
 1567   2/10/2018   SB058                          284918        1601   6/3/2018    SBP26001                          286169
 1568   2/11/2018   SBP08028                       285375
 1569   2/11/2018   SB196063                       285377
 1570   2/12/2018   225 GOODYEAR-SBP07             284783
 1571   2/12/2018   3620 ROSALIE-SB203002          284784
 1572   2/13/2018   7129 EPPES, SB080077           284823
 1573   2/14/2018   8441 ELROD, SB59001            284820
 1574   2/14/2018   8330 BROADWAY, SBP12           284826
 1575   2/14/2018   SB077                          285434
 1576   2/14/2018   SBP29                          285436
 1577   2/16/2018   6937 LIVERPOOL UNIT A, SB178   284511
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Ex. 2: Almeda Sims WWTP, Permit No. 10495-003                      27   12/31/2013   3302 ROCKRILL; AS017-AS017034     32572
Self-reported overflows July 24, 2013 – June 7, 2018               28   1/3/2014     1328 BOMAR; AS090-                32583
                                                                   29   1/8/2014     9314 ASHVILLE; AS013-             32591
          Start                  Address;              Excursion   30   1/15/2014    5523 MAYWOOD; WE017-              32606
          Date               Basin-Manhole ID             ID       31   1/17/2014    4508 MOWERY; AS005-AS005009       32609
 1     7/24/2013    2114 SUNSET; AS042-                32168       32   1/22/2014    3126 EBBTIDE; AS015-              32622
 2     7/26/2013    3212 CFORD; AS081-                 32178       33   1/25/2014    10903 DUANE; AS003-AS003017       32629
 3     7/27/2013    4449 MOUNT VERNON; AS085-          32177       34   1/27/2014    11520 FAIRMONT; FC005-            32632
                    AS085049                                       35   1/27/2014    2010 WAUGH; AS090-                32633
 4     7/27/2013    2400 AVALON PL & 2100 DICKEY PL;   32179       36   2/12/2014    4527 LOMITAS; AS044-AS044030      32674
                    AS069-AS069069                                 37   2/14/2014    2409 STANMORE; AS058-AS058096     32683
 5     7/31/2013    4118 HICKOK; AS006-AS006061        32185       38   2/17/2014    3244 AVALON; AS059-               32692
 6     8/7/2013     11830 FORTUNE PARK; AS001-         32214       39   3/1/2014     3200 BRISBANE; AS010-AS010044     32727
                    AS001066
                                                                   40   3/11/2014    11520 FAIRMONT; FC005-            32751
 7     8/21/2013    3902 BROWNSTONE; WE002-            32238
                                                                   41   3/21/2014    6230 TIFFANY; WE013-              32784
 8     8/30/2013    13001 PLAYER; WE010-               32260
                                                                   42   3/21/2014    1702 HOLCOMBE; AS025-AS025121     32788
 9     9/5/2013     303 W POLK; AS088-AS088020         32276
                                                                   43   3/24/2014    6122 HEATHERBLOOM; WE014-         32795
 10    10/2/2013    13899 SOUT POST OAK; WEP06-        32345
                                                                   44   3/24/2014    12749 TERRANCE; FC001-FC001027    32798
 11    10/11/2013   3006 ROCKHILL; AS017-              32372
                                                                   45   3/24/2014    3103 ROCKRILL; AS017-             32801
 12    10/20/2013   1631 HAZEL; AS090-                 32383
                                                                   46   3/25/2014    13724 STANCLIFF; WE009-WE009007   32806
 13    10/25/2013   1600 INDIANA & 2100 YUPON;         32398
                                                                   47   3/27/2014    5534 GATEWOOD; WE015-             32810
                    AS091-AS091141
                                                                                     WE015048
 14    10/31/2013   7400 CAMBRIDGE; AS025-AS025198     32419
                                                                   48   3/29/2014    1509 STUART; AS081-               32824
 15    11/1/2013    3447 OVERCROSS; AS017-AS017076     32436
                                                                   49   4/3/2014     3007 ROCKRILL; AS017-AS017022     32845
 16    11/2/2013    13602 SUNROSE; WE009-WE009040      32438
                                                                   50   4/4/2014     1983 INDIANA; AS070-AS070043      32855
 17    11/2/2013    4103 JORNS; WE007-WE007006         32439
                                                                   51   4/6/2014     11920 ALMEDA; ASP01-ASP01004      32869
 18    11/2/2013    1400 FAIRVIEW; AS090-AS090045      32440
                                                                   52   4/9/2014     2000 BAILEY ST.; AS087-AS087108   32879
 19    11/14/2013   5322 MAYWOOD; WE017-               32477
                                                                   53   4/17/2014    3450 OVERCROSS; AS017-AS017086    32896
 20    11/18/2013   1520 GILLETTE; AS087-AS087126      32483
                                                                   54   4/17/2014    3927 WESTHAMPTON; WE005-          32897
 21    11/21/2013   5240 MAYWOOD; WE017-WE017041       32491
                                                                   55   4/19/2014    2536 DRYDEN; AS040-AS040053       32902
 22    11/24/2013   2109 DICKEY PL; AS069-AS069107     32494
                                                                   56   4/24/2014    5638 TIFFANY; WE013-WE013056      32914
 23    12/2/2013    4902 TIDEWATER; WE010-WE010058     32503
                                                                   57   4/24/2014    5822 GRAPEVINE; WE013-WE013066    32916
 24    12/6/2013    6102 DELBURY; WE014-               32519
                                                                   58   5/3/2014     4327 BROOKSTON; WE007-            32942
 25    12/23/2013   408 HYDE PARK; AS087-              32551
                                                                   59   5/6/2014     4500 TRAVIS; AS079-AS079016       32950
 26    12/26/2013   5523 MAYWOOD; WE017-               32557
                                                                   60   5/7/2014     12923 AMBROSE; AS017-AS017029     32955
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 61    5/13/2014    7400 CAMBRIDGE & 2000 OLD          32965     94    10/22/2014   2029 BISSONNET; AS042-           33479
                    SPANISH TRAIL; AS025-                        95    10/26/2014   1018 FAIRVIEW; AS087-AS087041    33488
 62    5/13/2014    15102 INSLEY; AS023-               32973     96    11/7/2014    13838 AMBROSE; ASU01-            33528
 63    5/19/2014    12100 SEGREST DR; AS006-AS006023   32992     97    11/13/2014   4231 FRIAR POINT; AS003-         33543
 64    5/19/2014    6403 NEWQUAY; WE014-               32995     98    11/13/2014   11625 FAIRMONT; FC005-           33548
 65    5/30/2014    604 FAIRVIEW; AS087-               33032     99    11/15/2014   5534 GATEWOOD; WE015-            33555
 66    6/6/2014     604 FAIRVIEW; AS087-               33050                        WE015049
 67    6/8/2014     4930 GLENRIDGE; WE019-             33055     100   11/25/2014   10300 SCOTT; AS002-AS002063      33585
 68    6/11/2014    14440 CROQUET LN; WE013-           33065     101   11/26/2014   13998 WHITE HEATHER; WEP02-      33591
 69    6/19/2014    5202 MAYWOOD; WE017-WE017067       33079     102   11/28/2014   1426 MARSHALL; AS089-AS089061    33596
 70    7/5/2014     1800 WESTHEIMER; AS078-            33117     103   12/3/2014    3208 AVALON PL; AS059-           33613
 71    7/6/2014     4900 GALLAGHER; WE023-             33118     104   12/4/2014    3606 CORKSIE; AS002-             33616
 72    7/8/2014     2536 NOTTINGHAM; AS032-            33124     105   12/12/2014   1927 BOLSOVER; AS036-AS036015    33641
 73    7/8/2014     13501 HOOPER; AS022-AS022063       33126     106   12/15/2014   4010 CLOVERBROOK; WE005-         33647
 74    7/19/2014    5454 MARKWOOD; WE018-              33161     107   12/15/2014   600 E ANDERSON; AS023-AS023008   33655
 75    7/22/2014    4900 SIMSBROOK; WEU02-             33172     108   12/15/2014   3507 RIPPLEBROOK; AS021-         33663
 76    7/26/2014    4900 GALLAGHER; WEP05-WEP05045     33188     109   12/20/2014   3619 SHEPHERD; AS044-            33718
 77    8/12/2014    4900 GALLAGHER; WEP06-             33227     110   12/22/2014   10529 FAIRLAND; AS012-AS012015   33726
 78    8/13/2014    4900 GALLAGHER; WEP06-             33232     111   12/24/2014   12702 ARP; FC001-FC001056        33747
 79    8/25/2014    11600 DONEGAL WAY; AS005-          33257     112   12/26/2014   3250 DEL MONTE; AS060-           33758
                    AS005021                                     113   12/29/2014   3111 GUMAS; AS020-               33768
 80    9/1/2014     4620 W FUQUA; WE012-               33267     114   12/30/2014   4318 HOWCHER; AS004-             33778
 81    9/7/2014     4900 GALLAGHER; WEP06-             33282     115   12/30/2014   3625 BLOOMFIELD; AS002-          33783
 82    9/11/2014    400 FAIRVIEW; AS087-               33294     116   12/30/2014   4022 OAKSIDE; WE002-             33785
 83    9/14/2014    5630 MAYWOOD; WE017-               33300     117   12/30/2014   11625 FAIRMONT; FC005-           33788
 84    9/18/2014    8300 CAMBRIDGE; AS025-             33317     118   1/3/2015     1982 INDIANA; AS070-AS070046A    33801
 85    9/19/2014    8300 CAMBRIDGE; AS025-             33337     119   1/5/2015     3450 OVERCROSS; AS017-AS017070   33811
 86    10/1/2014    4218 BERAN; WE007-WE007011         33395     120   1/11/2015    4426 TARYTON; AS005-AS005022     33850
 87    10/6/2014    13300 STANCLIFF; WE010-WE010039    33404     121   1/12/2015    4123 KELLING; WE007-WE007003A    33854
 88    10/8/2014    3714 SIMSBROOK; WE005-WE005010     33413     122   1/14/2015    6535 FANNIN; AS032-AS032146      33869
 89    10/10/2014   1613 TRUXILLO; AS081-              33421     123   1/14/2015    5721 MACKINAW; WE016-WE016002    33873
 90    10/12/2014   1613 TRUXILLO; AS081-AS081077      33422     124   1/15/2015    10529 FAIRLAND; AS012-AS012016   33880
 91    10/15/2014   12308 ORMANDY; FC004-              33453     125   1/15/2015    6114 TIFFANY; WE013-             33882
 92    10/15/2014   12240 ORMANDY; FC004-FC004005      33456     126   1/16/2015    8200 BRAESMAIN; AS028-AS028060   33887
 93    10/21/2014   4723 KNOTTY OAKS TRL; WE010-       33475     127   1/22/2015    4515 YOAKUM; AS084-              33908
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 128   1/23/2015    4619 SMOOTH OAK LN; WEP04-        33930      160   3/6/2015    3600 S SHEPHERD; AS044-AS044178   34291
                    WEP04025                                     161   3/7/2015    11403 DUANE; AS005-AS005009       34294
 129   1/26/2015    4408 GREELY; AS084-AS084055       33952      162   3/10/2015   1936 WROXTON; AS042-              34335
 130   1/26/2015    926 WESTHEIMER; AS086-            33958      163   3/10/2015   1953 MONTROSE BLVD; AS087-        34340
 131   1/26/2015    2828 SOUTHWEST FWY; AS045-        33959      164   3/11/2015   13501 S POST OAK RD; WE009-       34359
                    AS045031                                     165   3/12/2015   806 WINBERN; AS071-               34368
 132   1/28/2015    13011 AMBROSE; AS017-AS017021     33963      166   3/14/2015   12500 DUNLAP; FCP01-FCP01044      34387
 133   2/3/2015     800 W MAIN; AS084-AS084017        33984
                                                                 167   3/16/2015   1198 HERMAN DR; AS073-AS073078    34412
 134   2/5/2015     13011 AMBROSE; AS017-AS017029     33992      168   3/16/2015   3609 BLOOMFIELD; AS002-AS002074   34414
 135   2/7/2015     2400 W HOLCOMBE; AS039-           33996      169   3/17/2015   3634 SUNBEAM; AS002-              34461
                    AS039041
                                                                 170   3/17/2015   10401 SCOTT; AS002-AS002058       34468
 136   2/9/2015     3802 BROOKFIELD; WEP02-           34005
                                                                 171   3/18/2015   12500 DUNLAP; FCP01-FCP01044      34476
 137   2/9/2015     3111 GUMAS; AS020-                34008
                                                                 172   3/18/2015   3700 AIRPORT; AS002-AS002084      34483
 138   2/14/2015    1000 BERRY; AS071-AS071090        34039
                                                                 173   3/19/2015   6638 MINIOLA; AS066-              34492
 139   2/15/2015    3400 GRAUSTARK; AS089-AS089049    34041
                                                                 174   3/22/2015   5900 ALVARADO; FCP01-FCP01045     34525
 140   2/16/2015    2709 REED; AS011-                 34082
                                                                 175   3/23/2015   912 FAIRVIEW; AS087-              34539
 141   2/17/2015    3619 YUPON; AS089-AS089028        34060
                                                                 176   3/25/2015   1017 TRUXILLO; AS071-AS071098     34598
 142   2/18/2015    2510 RICHMOND; AS044-AS044056     34087
                                                                 177   3/26/2015   2600 ALBANY; AS087-AS087109       34603
 143   2/19/2015    1114 TAFT; AS088-                 34102
                                                                 178   3/27/2015   902 FAIRVIEW; AS087-              34622
 144   2/20/2015    15131 INSLEY; AS023-              34110
                                                                 179   3/28/2015   1424 FAIRVIEW; AS090-             34625
 145   2/20/2015    630 HAWTHORNE; AS086-             34112
                                                                 180   4/1/2015    2621 PECKHAM; AS068-AS068177      34665
 146   2/21/2015    2007 VERMONT; AS070-AS070037      34129
                                                                 181   4/2/2015    2147 HAROLD; AS068-AS068128       34699
 147   2/22/2015    5300 KENT; AS042-AS042003         34133
                                                                 182   4/3/2015    2022 BISSONNET; AS042-AS042026    34700
 148   2/22/2015    1417 WESTHEIMER; AS089-AS089059   34134
                                                                 183   4/7/2015    14450 CROQUET & 6100 TIFFANY;     34739
 149   2/26/2015    1814 MISSOURI; AS090-             34194
                                                                                   WE013-WE013019A
 150   2/27/2015    10402 BUFFUM; AS009-AS009061      34201
                                                                 184   4/8/2015    3404 ROSELAND; AS089-             34765
 151   2/28/2015    2255 BRAESWOOD PARK; AS026-       34211      185   4/8/2015    99 TUAM; ASU03-                   34774
 152   2/28/2015    3700 MAIN; AS071-AS071076A        34216
                                                                 186   4/12/2015   14055 DUBLIN; FCP01-FCP01066      34802
 153   3/1/2015     2255 BRAESWOOD PARK; AS028-       34222      187   4/13/2015   4010 CLOVERBROOK; WE005-          34810
 154   3/1/2015     407 FARGO; AS087-                 34229
                                                                 188   4/13/2015   10751 DULCIMER; AS009-            34820
 155   3/2/2015     3435 BRANARD; AS053-              34225      189   4/17/2015   4326 HOWCHER; AS005-              34904
 156   3/3/2015     14040 QUENTION; WEP01-            34244      190   4/20/2015   4714 DALMATIAN; WEP05-            34931
 157   3/3/2015     2031 BOLSOVER; AS041-             34256                        WEP05016
 158   3/3/2015     4126 CHILDRESS; AS049-            34260      191   4/23/2015   2900 TAFT & 400 WESTHEIMER;       34951
 159   3/6/2015     2700 SUFFOLK; AS057-AS057011      34290                        AS082-AS082018

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 192   4/23/2015    2900 TAFT; AS082-AS082018         34963      224   5/18/2015   12911 REGG; WE006-WE006047       35295
 193   4/27/2015    2550 BRANARD; AS044-AS044095A     35022      225   5/20/2015   13011 AMBROSE; AS017-AS017021    35332
 194   4/29/2015    2 BROADHURST; AS023-              35001      226   5/22/2015   13011 AMBROSE ST; AS017-         35346
 195   5/1/2015     1607 VERMONT; AS091-AS091075      35046                        AS017021
 196   5/1/2015     14614 S POST OAK; WEP07-          35050      227   5/24/2015   3822 BROOKSTON; WE006-           35361
 197   5/4/2015     12212 ORMANDY; FC004-             35078                        WE006017
 198   5/4/2015     3815 RICHMOND AVE; AS045-         35081      228   5/26/2015   7300 CAMBRIDGE @ OLD SPANISH     35369
                    AS045228                                                       TRAIL; AS025-AS025190
 199   5/4/2015     4714 DALMATIAN; WEP05-            35097      229   5/26/2015   7500 CAMBRIDGE @ 1900 EAST;      35370
                    WEP05007                                                       AS025-AS025090
 200   5/5/2015     3815 WESTHEIMER; AS056-AS056015   35105      230   5/26/2015   12907 REGG; WE006-WE006055       35388
 201   5/6/2015     3209 AIRPORT; -                   35143      231   5/28/2015   4423 GROTON; AS003-              35420
 202   5/7/2015     2525 RICE; AS040-AS040018         35156      232   5/28/2015   611 HAWTHORNE; AS086-            35434
 203   5/9/2015     414 W GRAY; -AS088192             35173      233   5/28/2015   5409 MACKINAW RD; WE017-         35437
                                                                                   WE017030
 204   5/13/2015    7500 CAMBRIDGE; AS025-AS025091    35200
                                                                 234   5/29/2015   12919 REGG; WE006-WE006047       35446
 205   5/13/2015    8300 CAMBRIDGE; AS025-AS025042    35207
                                                                 235   5/29/2015   3400 AUDUBON & 600 HAWTHORNE     35456
 206   5/13/2015    7600 CAMBRIDGE; AS025-AS025090    35213                        ST; AS086-
 207   5/13/2015    8200 CAMBRIDGE; AS025-AS025045    35214      236   5/31/2015   8500 MAIN; AS028-                35468
 208   5/13/2015    9222 MARTELL; AS013-AS013035      35215      237   6/1/2015    4500 TRAVIS; AS079-AS079018      35485
 209   5/13/2015    3705 TANGERINE; AS013-            35218      238   6/3/2015    8230 W OREM; FCU01-FCU01012      35530
 210   5/13/2015    8100 CAMBRIDGE; AS025-AS025046A   35234      239   6/5/2015    1915 COMMONWEALTH; AS090-        35546
 211   5/13/2015    8180 CAMBRIDGE; AS025-AS025046    35235      240   6/8/2015    2100 MORGAN; -                   35566
 212   5/13/2015    8282 CAMBRIDGE; AS025-AS025045    35236      241   6/11/2015   2425 NORFOLK; AS044-AS044032     35633
 213   5/13/2015    8299 CAMBRIDGE; AS025-AS025045    35237      242   6/12/2015   2516 MANDELL; AS090-             35643
 214   5/13/2015    8300 CAMBRIDGE; AS025-AS025042    35238      243   6/12/2015   13430 BOONWAY; AS015-AS015070    35645
 215   5/13/2015    8450 CAMBRIDGE; AS025-AS025041    35241      244   6/13/2015   2010 VERMONT; AS070-AS070037     35650
 216   5/13/2015    8505 CAMBRIDE; AS025-AS025021     35243      245   6/14/2015   3509 GRASSMERE; AS013-           35658
 217   5/13/2015    8400 CAMBRIDGE; AS025-AS025041    35247      246   6/15/2015   3600 LAKE & 2700 RICHMOND;       35666
 218   5/15/2015    3106 GRASSMERE; -                 35266                        AS051-AS051025
 219   5/15/2015    2100 MORGAN; AS087-               35270      247   6/19/2015   1915 COMMONWEALTH; AS090-        35707
 220   5/16/2015    2250 QUENBY; AS041-AS041065       35275      248   6/20/2015   5701 INGOMAR WAY; WE016-         35716
 221   5/16/2015    4203 TAVENOR LN; -                35280                        WE016024
 222   5/16/2015    2327 PECKHAM; AS069-AS069027      35283      249   6/22/2015   3210 WUTHERING HEIGHTS; AS015-   35723
 223   5/17/2015    2500 KUESTER & 1628 WESTHEIMER;   35287      250   6/23/2015   600 E ANDERSON RD; -AS022023Z    35735
                    AS077-AS077093                               251   6/25/2015   3122 DACCA; AS010-               35763

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 252   6/26/2015    4138 FRIAR POINT; AS003-          35771      284   8/29/2015    1707 HULDY; AS070-AS070027        36356
 253   6/27/2015    10206 SIERRA; AS012-              35783      285   8/30/2015    1749 RICHMOND; AS077-AS077013     36369
 254   7/1/2015     7500 CAMBRIDGE; -AS025090Z        35809      286   8/30/2015    1624 VAN BUREN; AS087-AS087208    36371
 255   7/1/2015     12614 SKYVIEW CREEK CT; AS097-    35812      287   8/30/2015    4300 WOODHEAD; AS077-AS077013     36378
                    AS097009                                     288   9/1/2015     3500 AUDLEY; AS052-AS052073       36392
 256   7/5/2015     3838 WESTHEIMER; AS054-           35843      289   9/2/2015     1304 ELGIN; AS081-                36396
 257   7/6/2015     4802 MACRIDGE; WE019-             35861      290   9/2/2015     3209 AIRPORT; AS009-              36399
 258   7/8/2015     3838 WESTHEIMER; AS054-           35882      291   9/6/2015     4802 MACRIDGE; WE019-             36452
 259   7/11/2015    4516 LA BRANCH; AS079-AS079003    35914      292   9/13/2015    2424 MONTROSE; AS086-             36512
 260   7/11/2015    1849 W MAIN; AS068-AS068096       35917      293   9/18/2015    3755 RICHMOND; AS045-AS045251     36568
 261   7/13/2015    3139 RICHMOND; AS052-AS052053     35926      294   9/19/2015    10206 SIERRA; AS012-              36569
 262   7/14/2015    4802 MACRIDGE; WE019-             35937      295   9/19/2015    13960 HILLCROFT; WE022-WE022140   36574
 263   7/14/2015    4802 MACRIDGE; WE019-             35944      296   9/21/2015    2250 QUENBY; AS041-AS041065       36580
 264   7/15/2015    3619 S SHEPHERD; AS044-AS044163   35946      297   9/24/2015    13346 TOWNWOOD; AS015-            36606
 265   7/15/2015    4107 BERAN; WE007-                35954                         AS015078
 266   7/17/2015    2625 COLQUITT; AS051-             35986      298   9/24/2015    4619 SMOOTH OAK; WEP04-           36608
 267   7/20/2015    4303 BOTANY LN; AS005-AS005021    35993      299   9/26/2015    12714 CLAYGATE; AS007-AS007067    36616
 268   7/21/2015    1122 JACKSON; AS090-              36012      300   9/28/2015    1900 ADDISON RD; AS032-AS032165   36640
 269   7/24/2015    2429 RICE BLVD; AS040-            36045      301   9/29/2015    1624 VAN BUREN; AS087-AS087208    36647
 270   7/25/2015    3000 MANDELL; AS077-AS077092      36058      302   10/3/2015    4611 MONTROSE; AS074-             36679
 271   7/26/2015    12803 CLAYGATE; AS008-AS008054    36060      303   10/9/2015    1412 W MAIN; AS077-AS077061       36734
 272   7/27/2015    14114 HIRAM CLARKE & 4500         36066      304   10/9/2015    5719 TIFFANY; WE013-              36736
                    SIMSBROOK DR; WEP01-                         305   10/9/2015    7800 ALMEDA RD; AS025-            36741
 273   7/29/2015    3619 S SHEPHERD; AS044-AS044164   36084      306   10/11/2015   3146 BOYNTON; AS016-AS016027      36755
 274   7/29/2015    2 PINEHILL; AS063-                36092      307   10/12/2015   12735 ARP; FC001-                 36760
 275   7/30/2015    8333 BRAESMAIN; AS028-AS028058    36096      308   10/14/2015   6506 HASKELL; AS066-              36779
 276   8/2/2015     4410 MADDEN; AS005-               36120      309   10/18/2015   13414 WESLEY OAKS; WEP06-         36801
 277   8/5/2015     12500 DUNLAP; FCP01-FCP01045      36143      310   10/19/2015   2370 RICE; AS032-AS032113         36805
 278   8/6/2015     1400 CLEVELAND; AS087-AS087128    36150      311   10/24/2015   7500 CAMBRIDGE; AS025-AS025090    36834
 279   8/9/2015     2304 CROCKER; AS087-              36176      312   10/24/2015   CAMBRIDGEOST; AS025-AS025192      36835
 280   8/20/2015    4219 EBBTIDE; WE007-WE007013      36280      313   10/26/2015   5706 GATEWOOD; WE015-             36882
 281   8/26/2015    2525 S RICE; AS040-AS040018       36330      314   10/26/2015   1710 BRUN; AS070-AS070027         36883
 282   8/26/2015    4026 BROOKMEADE; WE005-           36331      315   10/26/2015   3311 TRAIL LAKE; AS015-           36886
                    WE005061                                     316   10/27/2015   1214 MIRAMAR; AS085-AS085047      36895
 283   8/29/2015    3815 WESTHEIMER; AS056-AS056012   36352      317   10/27/2015   10400 SCOTT; AS002-AS002063       36910
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 318   10/28/2015   2550 BRANARD; AS044-AS044093     36913       351   2/24/2016   1836 Sunset Blvd                     229918
 319   10/28/2015   1214 MIRAMAR; AS085-AS085047     36915       352   2/24/2016   1836 Sunset Blvd                     229921
 320   10/28/2015   11555 HAVILAND; FC005-FC005029   36918       353   2/24/2016   5511 Kent.                           230031
 321   10/28/2015   2550 BRANARD; AS044-AS044093     36933       354   2/24/2016   1836 Sunset Blvd.                    230033
 322   10/29/2015   8205 BRAESMAIN; AS028-AS028060   36945       355   2/26/2016   12903 Ambrose                        229923
 323   10/29/2015   102 CRESTWOOD; AS065-            36949       356   2/26/2016   5800 Fannin                          229926
 324   10/31/2015   7500 CAMBRIDGE; AS025-AS025090   36953       357   2/26/2016   12903 Ambrose.                       230048
 325   10/31/2015   7500 CAMBRIDGE; AS025-AS025091   36954       358   2/27/2016   3717 Barberry                        229929
 326   10/31/2015   7700 CAMBRIDGE; AS025-AS025092   36955       359   3/4/2016    14100 Del Papa                       229930
 327   10/31/2015   7887 CAMBRIDGE; AS025-AS025093   36956       360   3/10/2016   11000 Scott.                         230069
 328   10/31/2015   8343 CAMBRIDGE; AS026-           36965       361   3/10/2016   12803 Claygate.                      230071
 329   11/2/2015    2202 PARK; AS091-                36994       362   3/10/2016   2007 Vermont.                        230072
 330   11/8/2015    2401 ALBANS; AS032-              37039       363   3/11/2016   2227 Dorrington.                     230073
 331   11/10/2015   9501 DULCIMER; AS092-            37059       364   3/12/2016   3302 Bandell. ,                      230183
 332   11/11/2015   717 W ALABAMA; AS083-            37061       365   3/12/2016   7000 Greenbriar.                     230185
 333   11/11/2015   4023 HEATHERBROOK DR; WE005-     37064       366   3/14/2016   2140 Westheimer.                     230186
 334   11/11/2015   922 W ALABAMA; AS083-AS083042Z   37067       367   3/14/2016   12500 Dunlap.                        230188
 335   11/13/2015   14450 CROQUET; WE013-            37083       368   3/17/2016   7000 Greenbriar.                     230193
                    WE013019A                                    369   3/18/2016   4800 Kelvin.                         230194
 336   11/13/2015   14450 CROQUET; WE013-            37090       370   3/18/2016   15139 Jordan Oaks.                   230198
                    WE013019A                                    371   3/28/2016   1000 S Braeswood.                    230320
 337   11/14/2015   10400 SCOTT; AS002-AS002058      37093
                                                                 372   3/31/2016   12900 Regg Dr & Worrell Dr.          230636
 338   11/16/2015   15511 CAMPDEN HILL; WE018-       37098       373   4/1/2016    13519 Ambrose.                       230638
 339   11/16/2015   9330 SIEERA; AS092-              37101
                                                                 374   4/1/2016    2101 Pine Valley.                    230639
 340   11/19/2015   3255 LAS PALMAS; AS056-          37145       375   4/1/2016    315 Fairview St.                     230641
 341   11/19/2015   3255 LAS PALMAS; AS056-          37147
                                                                 376   4/2/2016    2101 Pine Valley.                    230642
 342   11/24/2015   4504 CAROLINE; AS079-            37197       377   4/5/2016    6319 Loma Linda.                     230911
 343   11/25/2015   4504 CAROLINE; AS079-            37210
                                                                 378   4/5/2016    3619 S Shepherd.                     230912
 344   11/26/2015   400 PACIFIC; AS087-AS087021      37227       379   4/10/2016   4410 Madden                          231150
 345   11/29/2015   3150 BOYNTON; AS016-AS016027     37249       380   4/11/2016   3619 S Shepherd,                     231194
 346   11/29/2015   11114 HUNKLER; AS004-            37250       381   4/11/2016   12500 Dunlap,                        231195
 347   2/20/2016    10400 Scott St.                  229915
                                                                 382   4/11/2016   2753 Essex Ter.                      231361
 348   2/20/2016    3777 Southwest Freeway           229917      383   4/11/2016   1849 W Main.                         231362
 349   2/20/2016    10400 Scott.                     230005      384   4/18/2016   7500 Cambridge.                      231678
 350   2/20/2016                                     230006      385   4/19/2016   12911 Regg                           231784
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 386   4/20/2016    4606 Knotty Oaks.                   231934    421   6/3/2016    10898 Scott.                     234799
 387   4/20/2016    12911 Regg                          231935    422   6/3/2016    7700 Cambridge                   234800
 388   4/20/2016    3602 Wickersham Ln.                 231936    423   6/4/2016    13504 Hooper.                    234819
 389   4/22/2016    13046 White Heather.                232035    424   6/14/2016   2700 Lincoln.                    235790
 390   4/22/2016    3974 Westheimer.                    232036    425   6/17/2016   1915 Dunlavy.                    235938
 391   4/22/2016    3600 Lake.                          232037    426   6/23/2016   12500 Dunlap.                    236361
 392   4/25/2016    2155 N. Macgregor.                  232205    427   6/27/2016   7515 Main.                       236547
 393   4/25/2016    12911 Regg.                         232206    428   7/3/2016    3920 Essex.                      236961
 394   4/27/2016    2100 Holly Hall & 8300 Knight Rd.   232476    429   7/5/2016    2536 Richmond.                   237043
 395   4/27/2016    2111 Commonwealth.                  232485    430   7/7/2016    2215 San Felipe.                 237237
 396   4/29/2016    2100 Holly Hall.                    232495    431   7/9/2016    1710 Huldy.                      237250
 397   5/4/2016     1849 W. Main.                       232759    432   7/11/2016   3800 S. Shepherd.                237951
 398   5/5/2016     12911 Regg.                         232866    433   7/20/2016   812 Westheimer.                  239504
 399   5/5/2016     10851 Fairland.                     232867    434   7/22/2016   12802 Claygate.                  239872
 400   5/6/2016     6712 Morningside.                   232870    435   7/26/2016   2510 Richmond.                   240177
 401   5/6/2016     10022 Rosehaven.                    232871    436   7/28/2016   1727 Old Spanish Trail.          240430
 402   5/12/2016    12827 Regg.                         233247    437   7/31/2016   1717 S Shepherd.                 240467
 403   5/12/2016    12336 Ormandy.                      233251    438   7/31/2016   15139 Jordan Oaks.               240471
 404   5/22/2016    15139 Jordan Oaks.                  233634    439   8/3/2016    8304 S Course.                   240814
 405   5/24/2016    1700 Holcombe Blvd.                 233882    440   8/4/2016    2630 Westheimer Rd.              240906
 406   5/25/2016    10898 Scott.                        233989    441   8/4/2016    2702 Westheimer.                 240908
 407   5/25/2016    AS001049                            259490    442   8/8/2016    2715 Southwest Fwy.              241210
 408   5/26/2016    5500 Markwood.                      234186    443   8/8/2016    4919 Main.                       241212
 409   5/27/2016    1900 Holcombe Blvd.                 234207    444   8/10/2016   1658 Norfolk.                    241423
 410   5/27/2016    1714 Hudly.                         234370    445   8/16/2016   1700 Braeswood.-                 241864
 411   5/28/2016    926 Westheimer.                     234200    446   8/20/2016   3815 Westheimer.                 242161
 412   5/28/2016    7700 Cambridge                      234201    447   8/20/2016   2012 Elmen St.                   242163
 413   5/28/2016    7887 Cambridge.                     234202    448   8/20/2016   2429 Rice Blvd.                  242164
 414   5/28/2016    7500 Cambridge.                     234203    449   8/29/2016   1800 Richmond.                   242473
 415   5/28/2016    7500 Cambridge.                     234204    450   9/2/2016    14540 Westheimer.                242809
 416   5/28/2016    5700 Ingomar Way.                   234205    451   9/4/2016    2700 Westheimer.                 242811
 417   5/29/2016    5230 Ingomar Way.                   234428    452   9/6/2016    211 Welch.                       243660
 418   5/30/2016    2610 Boradway.                      234221    453   9/7/2016    2435 Rice.                       243663
 419   5/31/2016    12903 Ambrose.                      234371    454   9/8/2016    2140 Westheimer.                 243669
 420   5/31/2016    2330 S. Shepherd.                   234372    455   9/8/2016    6317 Loma Vista.                 243670
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 456   9/12/2016    3239 Tidewater.                  243752      491   11/27/2016   9209 Hammerly.                 248181
 457   9/13/2016    2140 Westheimer.                 243835      492   11/27/2016   4024 Chatham Ln.               248183
 458   9/13/2016    2310 W Main.                     243836      493   11/30/2016   2811 Colquitt.                 248228
 459   9/13/2016    2500 W Alabama St.               243837      494   12/1/2016    12603 Southspring.             248233
 460   9/14/2016    6409 Loma Vista.                 243900      495   12/2/2016    1520 Kew Garden.               248235
 461   9/17/2016    14700 Buffalo Speedway.          244131      496   12/9/2016    4081 Westheimer.               248493
 462   9/19/2016    4407 Beran.                      244183      497   12/15/2016   3227 Knotty Oaks Trl.          249014
 463   9/19/2016    2220 Devonshire St.              244186      498   12/16/2016   5525 Anderson.                 249015
 464   9/20/2016    1215 Barlett.                    244507      499   12/17/2016   3150 Boynton.                  249022
 465   9/22/2016    1404 Welch.                      244523      500   12/24/2016   3150 Boynton.                  249492
 466   9/26/2016    2900 Argonne @ 2500 W Alabama.   244654      501   12/24/2016   25 Westlane.                   249493
 467   9/26/2016    12810 Arp St.                    244655      502   12/25/2016   307 Fairview.                  249498
 468   9/30/2016    6417 Loma Vista.                 245062      503   12/26/2016   211 Welch.                     249505
 469   10/2/2016    2702 Westheimer.                 245032      504   12/27/2016   3302 Brookston.                249515
 470   10/3/2016    1506 Hawthorne.                  245039      505   12/28/2016   57410 Trafalgar.               249652
 471   10/12/2016   2520 Robinhood.                  245482      506   12/29/2016   2800 Southwest.                249633
 472   10/13/2016   4327 Ebbtide.                    245489      507   1/2/2017     13011 Ambrose.                 249750
 473   10/17/2016   14427 Quention.                  245635      508   1/5/2017     5300 Ashby St.                 250107
 474   10/19/2016   1604 Castle.                     245776      509   1/5/2017     1900 Albans @ Kent.            250108
 475   10/19/2016   5027 Ingomar.                    245778      510   1/9/2017     2147 Harold.                   250218
 476   10/20/2016   13011 Ambrose.                   245929      511   1/10/2017    9814 Rosehaven.                250296
 477   10/27/2016   3130 Boynton.                    246290      512   1/10/2017    2800 Southwest Fwy.            250297
 478   10/27/2016   1318 Wesrheimer.                 246291      513   1/10/2017    2500 Eastside.                 250298
 479   10/30/2016   3150 Boyton.                     246348      514   1/11/2017    3256 Westheimer.               250347
 480   11/11/2016   15514 Corsair.                   246977      515   1/11/2017    600 E Anderson.                250348
 481   11/12/2016   4000 Essex.                      247138      516   1/15/2017    1806 Vassar St.                250509
 482   11/13/2016   15139 Jordan Oaks.               247147      517   1/15/2017    2607 Grant.                    250511
 483   11/13/2016   4000 Essex Ln.                   247150      518   1/16/2017    13724 Stancliff.               250949
 484   11/14/2016   3815 Westheimer.                 247156      519   1/19/2017    3916 Bute.                     251091
 485   11/17/2016   12614 Skyview Creek.             247474      520   1/20/2017    3115 Ella Lee.                 251104
 486   11/18/2016   4500 Travis.                     247485      521   1/20/2017    3200 Westheimer.               251105
 487   11/22/2016   217 Broadhurst.                  247713      522   1/21/2017    2514 Skyview Cove.             251125
 488   11/23/2016   100 Broadhurst.                  247739      523   1/22/2017    3001 Tangerine.                251133
 489   11/25/2016   1229 W Drew.                     247746      524   1/30/2017    4400 Morningside.              251750
 490   11/26/2016   4081 Westheimer.                 247752      525   2/2/2017     2525 Rice.                     251796
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 526   2/2/2017     10018 Sierra.                  251797         561   2/21/2017   10225 Scott st.               253478
 527   2/2/2017     4424 Brinkley.                 251800         562   2/21/2017   2311 underwood.               253479
 528   2/2/2017     12614 Skyview Creek.           251801         563   2/21/2017   4614 dalmatian                253480
 529   2/3/2017     1404 Welch.                    251814         564   2/21/2017                                 255850
 530   2/3/2017     8333 Braesmain.                251815         565   2/21/2017                                 255852
 531   2/4/2017     1432 Hawthorne.                251850         566   2/21/2017                                 255853
 532   2/4/2017     AS089019                       258632         567   2/22/2017   239 Emerson                   253549
 533   2/4/2017     AS093                          258637         568   2/22/2017                                 255856
 534   2/4/2017     AS014                          258638         569   2/22/2017                                 255859
 535   2/4/2017     AS071090B                      258640         570   2/22/2017                                 255864
 536   2/5/2017     3115 WOODKERR; AS017           274956         571   2/23/2017   12614 Skyview Creek.          253452
 537   2/6/2017     2720 Southwest Fwy.            252011         572   2/23/2017   926 Westheimer.               253453
 538   2/6/2017     AS045031                       258642         573   2/23/2017   2511 W Holcombe.              253454
 539   2/6/2017     AS057                          258647         574   2/23/2017                                 255867
 540   2/7/2017     3619 S Shepherd.               252086         575   2/23/2017                                 255869
 541   2/7/2017     AS044164                       258650         576   2/23/2017                                 255870
 542   2/10/2017    4307 Madden.                   252240         577   2/28/2017   WE019                         254354
 543   2/10/2017    3150 Boynton.                  252241         578   3/1/2017    AS043030                      254507
 544   2/10/2017    AS087238                       258654         579   3/1/2017    AS015032                      254658
 545   2/10/2017    AS005                          258655         580   3/5/2017    7400 Cambridge St;            258063
 546   2/10/2017    AS016027                       258656         581   3/5/2017    7700 Cambridge St             258068
 547   2/13/2017    2300 River Oaks.               252439         582   3/5/2017    11000 Scott                   258070
 548   2/13/2017                                   255749         583   3/6/2017                                  256021
 549   2/15/2017                                   255751         584   3/6/2017                                  256022
 550   2/15/2017                                   255752         585   3/6/2017                                  256023
 551   2/16/2017    1217 Willard.                  253416         586   3/7/2017    AS071001                      256114
 552   2/16/2017                                   255754         587   3/7/2017    AS069003                      256115
 553   2/16/2017                                   255756         588   3/8/2017    4106 GROTON ST.               258007
 554   2/17/2017                                   255757         589   3/9/2017    AS001026                      256163
 555   2/18/2017    1603 Wyndale                   253438         590   3/10/2017   AS079089                      258410
 556   2/18/2017                                   255837         591   3/13/2017   14001 S Post Oak.             255874
 557   2/18/2017                                   255842         592   3/14/2017                                 255760
 558   2/19/2017                                   255846         593   3/17/2017   AS039041                      256000
 559   2/20/2017                                   255843         594   3/17/2017   AS090054                      256001
 560   2/20/2017                                   255848         595   3/17/2017   AS020043                      256003
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 596   3/18/2017    AS017021                        256133         631   5/4/2017    AS035019                 259211
 597   3/23/2017    3519 PRUDENCE                   258072         632   5/4/2017    AS009                    259212
 598   3/30/2017    3521 Sunbeam; AS002089          258088         633   5/4/2017    AS013                    259213
 599   3/30/2017    228 Westheimer; AS082           258089         634   5/4/2017    AS008                    260901
 600   4/6/2017                                     256147         635   5/4/2017    AS035                    260914
 601   4/6/2017                                     256149         636   5/4/2017    AS009                    260915
 602   4/6/2017     AS008                           259494         637   5/4/2017    AS013                    260916
 603   4/8/2017                                     256142         638   5/5/2017    WEP02063                 259234
 604   4/10/2017    AS090141                        258029         639   5/5/2017    WEP02                    260919
 605   4/10/2017    WE001009                        258030         640   5/13/2017   FC004011                 259320
 606   4/11/2017                                    256385         641   5/13/2017   FC004009                 263415
 607   4/14/2017    AS090060                        258490         642   5/14/2017   AS011068                 259304
 608   4/14/2017    FCP01044                        258491         643   5/14/2017   AS085018                 259350
 609   4/14/2017    AS037021                        259054         644   5/14/2017   AS011                    263416
 610   4/14/2017    AS090                           260258         645   5/14/2017   AS085                    263417
 611   4/17/2017    AS073049                        258644         646   5/15/2017   AS035019                 259352
 612   4/17/2017    AS017024                        258645         647   5/15/2017   AS035                    263419
 613   4/18/2017    ASU03                           259069         648   5/18/2017   AS085001                 260119
 614   4/19/2017    AS010009                        258673         649   5/18/2017   AS085                    263421
 615   4/19/2017    WE008056                        258675         650   5/23/2017   AS066001                 264054
 616   4/21/2017    3000 Mandell;                   256725         651   5/28/2017   AS070041                 264138
 617   4/22/2017    1800 Missouri                   256746         652   5/31/2017   AS073078                 263818
 618   4/22/2017    WEP04                           260259         653   5/31/2017   AS069009                 263819
 619   4/24/2017    AS015103                        258812         654   5/31/2017   WE005                    263820
 620   4/25/2017    WEP04004                        259146         655   6/2/2017    WE004061                 263529
 621   4/25/2017    WEP04003                        259147         656   6/2/2017    AS091                    263531
 622   4/26/2017    AS083002                        259101         657   6/2/2017    WE004                    264495
 623   4/26/2017    AS035                           259103         658   6/2/2017    AS090                    264496
 624   4/27/2017    AS002080                        259171         659   6/3/2017    AS020161                 264039
 625   4/27/2017    AS023028                        259172         660   6/3/2017    AS016                    264040
 626   4/27/2017    WE018074                        259173         661   6/5/2017    AS040004                 262997
 627   4/28/2017    WE015026                        259115         662   6/5/2017    WEP04046                 262999
 628   4/29/2017    AS090140                        259204         663   6/7/2017    AS010                    263129
 629   4/29/2017    AS090                           260900         664   6/7/2017    WEP07                    263130
 630   5/4/2017     AS008056                        259210         665   6/8/2017    AS097005                 262677
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 666   6/9/2017     WE012001                      262679         701   7/24/2017    AS016017                         264217
 667   6/10/2017    AS087075                      263177         702   7/24/2017    AS016                            265377
 668   6/11/2017    AS087060                      263211         703   8/2/2017     AS093                            265939
 669   6/15/2017    WEP07                         263277         704   8/4/2017     WE012                            265497
 670   6/18/2017    AS066032                      263078         705   8/4/2017     WE012                            265499
 671   6/22/2017    WE002                         263100         706   8/7/2017     WEP07100                         265518
 672   6/23/2017    WE002                         262883         707   8/7/2017     AS055052                         265520
 673   6/23/2017    AS068                         262884         708   8/7/2017     WEP07100                         265525
 674   6/24/2017    AS087060A                     263196         709   8/7/2017     AS055052                         265535
 675   6/24/2017    AS087                         264396         710   8/9/2017     WE015049                         265724
 676   6/25/2017    AS087060                      263229         711   8/9/2017     WE015049                         265923
 677   6/25/2017    AS087                         264398         712   8/9/2017     WE015049                         267460
 678   6/26/2017    AS050031                      263039         713   8/9/2017     WE015049                         268228
 679   6/26/2017    AS050031                      264401         714   8/10/2017    AS071105                         265757
 680   6/26/2017    AS050031                      264403         715   8/10/2017    FCP01042                         265795
 681   6/30/2017    AS028                         264405         716   8/10/2017    AS071105                         265881
 682   6/30/2017    AS070051                      264406         717   8/10/2017    FCP01042                         265882
 683   7/3/2017     AS050006                      262802         718   8/20/2017    AS066006                         266884
 684   7/3/2017     AS050031                      263945         719   8/20/2017    6401 TAGGART MANHOLE             268937
 685   7/6/2017     FCP01046                      263948         720   8/22/2017    6402 COPPAGE                     268938
 686   7/7/2017     AS096016                      263050         721   9/7/2017     12500 DUNLAP;                    268990
 687   7/7/2017     AS001159                      263051         722   9/11/2017    4267 WILLOW BEACH                268994
 688   7/7/2017     AS096                         263950         723   9/15/2017    1229 JACKSON; STREET             268991
 689   7/13/2017    AS024006                      263697         724   9/17/2017    2537 UNIVERSITY MANHOLE          269436
 690   7/15/2017    AS021030                      263627         725   9/18/2017    13114 GLENWYCK CLEANOUT          269437
 691   7/16/2017    WE004041                      263667         726   9/19/2017    2250 QUENBY MANHOLE              269440
 692   7/16/2017    ammonia nitrogen              266172         727   9/20/2017    12500 DUNLAP MANHOLE             269442
 693   7/20/2017    ammonia nitrogen              266173         728   9/22/2017    2215 DUNRAVEN CLEANOUT           269447
 694   7/21/2017    WE014073                      263837         729   9/25/2017    12500 DUNLAP MANHOLE             269455
 695   7/21/2017    WE018067                      263838         730   9/27/2017    2539 UNIVERSITY MANHOLE          269530
 696   7/21/2017    Ammonia                       266170         731   9/29/2017    12500 DUNLAP MANHOLE             269537
 697   7/22/2017    AS013015                      263882         732   10/4/2017    12200 CARLSBAD MANHOLE           270236
 698   7/22/2017    AS013                         265375         733   10/7/2017    3150 BOYNTON MANHOLE             270228
 699   7/23/2017    AS008011                      263984         734   10/9/2017    3900 MILAM ST MANHOLE            270241
 700   7/23/2017    AS008                         265376         735   10/11/2017   2537 UNIVERSITY MANHOLE          270524
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 736   10/13/2017   12800 DUNLAP MANHOLE                  270527   769   11/17/2017   11920 ALMEDA RD; ASP01004          274118
 737   10/13/2017   13350 ALMEADA CLEANOUT                270528   770   11/17/2017   2911 S Shepherd Dr, Houston, TX,   274258
 738   10/18/2017   7800 Almeda Manhole: AS025059         271171                      77098
 739   10/18/2017   AS025001                              273009   771   11/17/2017   11920 Almeda Rd, Houston, TX,      274260
 740   10/20/2017   6103 Kirby Manhole: AS040018          271174                      77045
                                                                   772   11/20/2017   1229 W DREW; AS090021              273388
 741   10/20/2017   4703 Brookston Manhole: WE010         271178
 742   10/20/2017   AS040001                              273020   773   11/20/2017   1229 W DREW; AS090                 273879
                                                                   774   11/20/2017   1229 W DREW; AS090                 274716
 743   10/20/2017   WE010                                 273021
 744   10/21/2017   3600 Lake St.                         271828   775   11/21/2017   3410 WINDY ROYAL                   273567
 745   10/23/2017   12500 Dunlap St.                      271831   776   11/21/2017   3410 WINDY ROYAL; AS017            273881
 746   10/23/2017   13426 Townwood                        271832   777   11/21/2017   3410 WINDY ROYAL; AS017077         273888
 747   10/23/2017   4500 Travis;                          271862   778   11/22/2017   1630 HAROLD; AS077085              273302
 748   10/23/2017   12130 Out                             271969   779   11/22/2017   1630 HAROLD; AS077                 273884
 749   10/25/2017   12500 Dunlap; FCP01046                271941   780   11/22/2017   1630 HAROLD; AS077                 274733
 750   11/2/2017    2105 BRENTWOOD; AS064001              271954   781   11/23/2017   13414 WESLEY OAKS; WEP06           273885
 751   11/7/2017    15026 BUXLEY; WEP04042                272148   782   11/23/2017   13414 WESLEY OAKS; WEP06           274048
 752   11/7/2017    5206 Buxley Houston, Tx 77053         273301   783   11/23/2017   13414 WESLEY OAKS; WEP06           274735
                                                                   784   11/23/2017   13414 westley oaks, houston tx     278619
 753   11/7/2017    15026 BUXLEY; WEP04                   274112
 754   11/9/2017    2433 PELHAM; AS060                    272311   785   11/25/2017   13011 AMBROSE; AS017022            273437
                                                                   786   11/25/2017   13011 AMBROSE; AS017021            274256
 755   11/9/2017    2518 MASON B; AS087                   272313
 756   11/9/2017    2433 Pelham, Houston, Tx 77019        273304   787   11/27/2017   3703 HEATHERBROOK; WE005           273340
                                                                   788   11/27/2017   3703 HEATHERBROOK; WE005           274264
 757   11/9/2017    2518 Mason B, Houston, Tx 77006       273316
 758   11/10/2017   1740 SUL ROSS ST, Houston, TX,        273317   789   11/28/2017   4215 MCDUFFIE; AS068076            273682
                    77098                                          790   11/28/2017   2015 SUL ROSS ST; AS068059         273683
 759   11/11/2017   3302 BANDELL: AS094039                272470   791   11/28/2017   4215 MCDUFFIE; AS068076            274266
 760   11/11/2017   3302 BANDELL; AS094039                272480   792   11/28/2017   2015 SUL ROSS ST; AS068059         274270
 761   11/11/2017   3302 BANDELL; AS094043                274113   793   11/29/2017   14001 S POST OAK; WEP06            273782
 762   11/11/2017   3302 Bandell Dr, Houston, TX, 77045   274255   794   11/29/2017   4314 BROWNSTONE; WE012             273783
 763   11/13/2017   13822 Croquet                         272694   795   11/29/2017   14001 S POST OAK; WEP06            274272
 764   11/13/2017   13822 CROQUET; Manhole;               274116   796   11/29/2017   4314 BROWNSTONE; WE012             274275
 765   11/13/2017   13822 Croquet Ln, Houston, TX,        274257   797   11/30/2017   407 W PIERCE; CROSS CONNECTION;    273617
                    77085                                                             AS088
 766   11/17/2017   2911 S SHEPHERD; AS068125             273473   798   11/30/2017   407 W PIERCE; AS088                274278
 767   11/17/2017   11920 ALMEDA RD                       273501   799   12/1/2017    6403 NEWQUAY; WE014                273827
 768   11/17/2017   2911 S SHEPHERD; AS068125             274117   800   12/1/2017    6403 NEWQUAY; WE014                274281

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 801   12/4/2017    1717 HULDY; AS070001            273967       835   1/2/2018    10755 DULCIMER; AS009033            278575
 802   12/4/2017    3210 WUTHERING HEIGHTS;         273969       836   1/3/2018    3300 ELLA LEE LN; AS059035          277667
                    AS015020                                     837   1/3/2018    5415 HEATHERCREST; WE023            277668
 803   12/5/2017    14119 BUFFALO speedway; WE005   274957       838   1/3/2018    3211 KNOTTY OAKS; AS015             277671
 804   12/7/2017    6418 TIFFANY; WE014             275000       839   1/3/2018    3211 KNOTTY OAKS; AS015             277672
 805   12/8/2017    2017 SUL ROSS; AS068059         274990       840   1/4/2018    15410 VANDALIA Way; WE018           277879
 806   12/9/2017    3614 W ALABAMA; AS053           275004       841   1/4/2018    13039 AMBROSE; AS013                277880
 807   12/9/2017    3614 W ALABAMA; AS053           275993       842   1/4/2018    1501 HYDE PARK Blvd; AS090          277882
 808   12/10/2017   2011 MARSHALL; AS068            275020       843   1/4/2018    2522 NOTTINGHAM; AS032              277883
 809   12/10/2017   2011 MARSHALL; AS068            275995       844   1/5/2018    8303 KNIGHT Rd; AS025               277913
 810   12/11/2017   4918 MARKWOOD Ln; WE019029      275288       845   1/5/2018    1841 W MAIN; AS077140               277915
 811   12/11/2017   4226 HARTSVILLE Rd, AS004016    275289       846   1/6/2018    520 COLQUITT ST; AS084022           276330
 812   12/11/2017   11920 ALMEDA Rd; ASP01005       275290       847   1/6/2018    2027 DREXEL; AS057                  276337
 813   12/11/2017   1229 JACKSON; AS090017          275291       848   1/6/2018    520 COLQUITT ST; AS084022           276903
 814   12/11/2017   4918 MARKWOOD; WE019            275997       849   1/6/2018    2027 DREXEL; AS057                  276904
 815   12/11/2017   4226 HARTSVILLE; AS004          275999       850   1/6/2018    520 COLQUITT ST; AS084022           277214
 816   12/11/2017   11920 ALMEDA; ASP01003          276000       851   1/6/2018    2027 DREXEL; AS057                  277215
 817   12/11/2017   1229 JACKSON; AS090             276025       852   1/6/2018    520 COLQUITT ST; AS084022           278324
 818   12/12/2017   1800 RICHMOND AVE; AS077013     275036       853   1/6/2018    2027 DREXEL; AS057                  278325
 819   12/12/2017   4326 WORRELL; WE006             275037       854   1/6/2018    520 COLQUITT ST, AS084              285371
 820   12/12/2017   1800 RICHMOND AVE; AS077013     276027       855   1/6/2018    2027 DREXEL, AS057                  285376
 821   12/12/2017   4326 WORRELL; WE006             276032       856   1/8/2018    5710 ARTHINGTON, WE017              285379
 822   12/14/2017   3619 S SHEPHERD; AS0440001      275057       857   1/8/2018    3737 KILKENNY, AS008                285381
 823   12/14/2017   3619 S SHEPHERD; AS044164       276035       858   1/8/2018    815 W GRAY, AS087207                285384
 824   12/15/2017   2515 TAFT; AS087                275113       859   1/8/2018    2 PINEHILL, AS063093                285386
 825   12/15/2017   2515 TAFT; AS087                276040       860   1/9/2018    1119 A WELCH ST; AS090              277975
 826   12/19/2017   5316 MANDELL; AS070010          275689       861   1/9/2018    1119 A WELCH ST, AS090              285390
 827   12/20/2017   3601 CORKSIE; AS002             275704       862   1/10/2018   1211 STUART; AS081                  278649
 828   12/23/2017   612 BRANARD; AS084006           276971       863   1/10/2018   2834 TRAIL LAKE Dr; AS093           278685
 829   12/26/2017   5430 HEATHERBROOK; WE023        276872       864   1/10/2018   2834 TRAIL LAKE; AS093              279000
 830   12/26/2017   13724 STANCLIFF; WE009          276873       865   1/10/2018   1211 STUART, AS081002               285393
 831   12/29/2017   5402 DANFIELD; WE018056         276345       866   1/10/2018   2834 TRAIL LAKE, AS093              285401
 832   12/31/2017   5419 HEATHERCREST; WE023031     278003       867   1/11/2018   4609 DANFIELD; WE018                278684
 833   12/31/2017   6128 VILLAGE; AS040009          278004       868   1/11/2018   4609 DANFIELD; WE018                278999
 834   12/31/2017   5019 ANDERSON; WE015050         278005       869   1/11/2018   4609 DANFIELD, WE018                285399
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 870   1/13/2018    2735 DRAGONWICK Dr; AS014053;   279039       905   2/6/2018    3755 RICHMOND, AS045251           285059
 871   1/15/2018    14040 QUENTION-WEP01            285019       906   2/6/2018    5822 MACKINAW, WE016              285065
 872   1/15/2018    2419 WAUGH-AS090                285022       907   2/6/2018    AS045025                          285998
 873   1/17/2018    3349 AIRPORT, AS009             284555       908   2/9/2018    10630 SAFEGUARD-AS003             284568
 874   1/18/2018    1637 BONNIE BRAE-AS076          284734       909   2/9/2018    10630 SAFEGUARD, AS003            285069
 875   1/18/2018    520 COLQUITT-AS084              284735       910   2/10/2018   15200 BUXLEY ST & 4700 OAKSIDE    284594
 876   1/18/2018    AS076                           285961                         DR, WEP04052
 877   1/18/2018    AS084                           285964       911   2/10/2018   WEP04052                          284868
 878   1/19/2018    1509 HOLMAN-AS081               284592       912   2/12/2018   AS023                             284480
 879   1/19/2018    1119 A WELCH-AS090              284596       913   2/12/2018   2214 N MACGREGOR-AS072001         284774
 880   1/19/2018    1509 HOLMAN-AS081               284633       914   2/12/2018   2370 RICE-AS036001                284775
 881   1/19/2018    1119 A WELCH-AS090              284637       915   2/12/2018   12818 REGG-WED006056              284777
 882   1/25/2018    AS076                           285474       916   2/13/2018   AS023                             285391
 883   1/26/2018    6151 MAJESTY-WEP06              284657       917   2/17/2018   AS020                             284483
 884   1/26/2018    6151 MAJESTY, WEP06             285176       918   2/19/2018   1522 S LOOP-AS025017              284891
 885   1/28/2018    AS012                           285339       919   2/22/2018   AS017                             285455
 886   1/30/2018    3811 DRISCOLL, AS077127         284750       920   2/23/2018   13731 BRIDGEPORT-AS020            285295
 887   1/30/2018    3703 HEATHERBLOOM, WE005        284751       921   2/23/2018   1522 S LOOP-AS025017              285296
 888   1/30/2018    2202 PARK, AS091                284752       922   2/23/2018   12947 AMBROSE-AS017               285298
 889   1/31/2018    A3014                           284481       923   2/26/2018   4127 JORNS ST-WE007005            284804
 890   1/31/2018    AS008066                        284484       924   5/27/2018   AS028010                          286176
 891   2/1/2018     AS087                           285509       925   5/31/2018   AS025001                          286543
 892   2/2/2018     AS045                           285510       926   6/6/2018    FCU01076                          286562
 893   2/3/2018     AS074                           284822
 894   2/3/2018     5 SHADOW LAWN, AS074            285041
 895   2/3/2018     5419 HEATHERCREST-WE023         285072
 896   2/3/2018     9 GREENWAY E-AS045              285077
 897   2/5/2018     1338 ROSALIE-AS080006           284844
 898   2/5/2018     3100 AUSTIN ST-AS081007         284845
 899   2/5/2018     2250 QUENBY-AS041065A           284848
 900   2/5/2018     1338 ROSALIE, AS081006          285044
 901   2/5/2018     3100 AUSTIN ST & 1400 ROSALIE   285047
 902   2/5/2018     2246 QUENBY, AS041065A          285053
 903   2/5/2018     2246 QUENBY, AS041065A          285061
 904   2/6/2018     5822 MACKINAW, WE016077         284879
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Ex. 3: Chocolate Bayou WWTP, Permit No. 10495-009                  28   2/4/2015    4617 PHLOX; CH005-                33990
Self-reported overflows July 24, 2013 – June 7, 2018               29   2/8/2015    12115 MURR WAY; CH010-            34003
                                                                   30   2/16/2015   4649 PHLOX; CH005-                34056
          Start                  Address;              Excursion   31   2/16/2015   5022 MALLOW; CHP01-               34070
           Date              Basin-Manhole ID             ID       32   2/17/2015   5622 SOUTHBROOK; CH016-           34076
 1     8/23/2013    4100 PHLOX; CH018-                 32242       33   2/17/2015   5634 CEDARBURG; CHP04-            34086
 2     9/24/2013    7440 CULLEN; CH003-                32330       34   3/2/2015    4140 MAGGIE; CH007-               34227
 3     10/23/2013   5211 FAIRGREEN; CH014-             32389       35   3/8/2015    4649 PHLOX; CH005-                34316
 4     11/26/2013   5500 AIRPORT; CHU02-CHU02006       32495       36   3/10/2015   5239 DUMORE; CH013-               34333
 5     12/4/2013    5310 HIGGINS; CH016-               32513       37   3/16/2015   5306 CANTERWAY; CH013-            34422
 6     12/10/2013   5121 CLOVER; CHP01-                32525       38   3/17/2015   4439 PHLOX; CH005-CH005054        34453
 7     1/11/2014    5015 BRISBANE; CH008-              32599       39   3/22/2015   12203 GREENSHIRE; CH010-          34526
 8     2/24/2014    5900 ALMEDA GENOA; CH002-          32711                        CH010036
 9     3/24/2014    8122 MCCLEAN; CH006-               32803       40   3/23/2015   12102 REDFERN; CH010-             34573
 10    3/24/2014    4538 BRINKLEY; CH005-              32804       41   3/31/2015   10918 FAIRCROFT; CHP04-CHP04044   34657
 11    6/9/2014     5426 GRACE POINT; CH013-           33058       42   4/7/2015    4914 PEDERSON; CHP01-CHP01085     34747
                    CH013040                                       43   4/11/2015   9006 HILDA; CHP01-                34795
 12    7/9/2014     5454 AIRPORT; CHP04-CHP04035C      33127       44   4/14/2015   5217 CARMEN; CH016-               34842
 13    7/22/2014    5900 SELINSKY; CHP04-              33167       45   4/17/2015   5418 WESTOVER; CH002-             34908
 14    7/24/2014    5019 BRISBANE; CH008-              33179       46   4/17/2015   12719 SANDHURST; CH011-           34910
 15    9/30/2014    11911 MARTIN LUTHER KING; CH014-   33384       47   4/21/2015   5426 GRACE POINT; CH013-          34943
 16    10/1/2014    4410 ALVIN; CH004-                 33393                        CH013040
 17    10/6/2014    9499 SCOTT; CH018-CH018020         33405       48   4/22/2015   5734 BELMARK; CH017-              34950
 18    10/7/2014    4640 HOLMES; CH003-                33414       49   4/22/2015   4539 MALLOW; CH005-               34957
 19    10/10/2014   4640 HOLMES; CH003-CH003080        33417       50   4/26/2015   8139 ST LO; CH017-                34986
 20    11/6/2014    5603 ELM SPRINGS; CHP04-           33522       51   5/4/2015    8802 VINEARBOR; -                 35087
                    CHP04084                                       52   5/5/2015    4536 BRINKLEY; CH005-             35110
 21    11/26/2014   4521 NEWBERRY; CH006-              33592       53   5/5/2015    4536 BRINKLEY; CH005-             35131
 22    11/27/2014   10919 JUTLAND; CH013-CH013102      33594       54   5/7/2015    5314 HIGGINS; -                   35157
 23    12/8/2014    11810 BAY CEDAR; CH008-CH008051    33626       55   5/11/2015   4429 PHLOX; CH005-CH005054        35186
 24    12/25/2014   4817 PAULA; CHP01-CHP01068         33751       56   5/11/2015   5109 CLOVER; -                    35187
 25    12/29/2014   5538 CEDARBURG; CHP04-CHP04083     33771       57   5/13/2015   EAST OREM/ FOXTON; CH020-         35204
 26    12/31/2014   4652 GALESBURG; CH004-             33793                        CH020005
                    CH004023A                                      58   5/18/2015   5047 BRISBANE; CH008-CH008011     35294
 27    1/13/2015    8203 COFFE; CHP02-                 33857       59   5/20/2015   5622 SOUTHBROOK; -                35333

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 60    5/21/2015    5310 GRACE POINT; CH013-        35347        93    7/11/2015    5706 WATERFORD; CH015-          35915
 61    5/22/2015    4208 STERLING; CH007-           35353        94    7/15/2015    4829 ANGLETON; CH002-           35950
 62    5/26/2015    10500 MARTIN LUTHER KING @      35372        95    7/20/2015    13931 ENRIDGE; CH021-CH021033   35999
                    AIRPORT; CHU02-CHU02009                      96    7/23/2015    4829 ANGLETON; CH002-           36035
 63    5/29/2015    8110 MARCY; -                   35442        97    7/23/2015    12715 PANAY; CH011-             36040
 64    5/29/2015    4729 ANGLETON; -                35451        98    7/25/2015    9329 MERLE; CH016-              36057
 65    6/1/2015     5618 LAKEFIELD; CH015-          35495        99    7/26/2015    4126 MALLOW; CH018-             36061
 66    6/1/2015     4522 KNOXVILLE; CH004-          35533        100   7/27/2015    4700 WENDA; CH018-CH018109      36068
 67    6/2/2015     4934 ALLISON; CH012-CH012062    35497        101   7/27/2015    4829 ANGLETON; CH002-           36071
 68    6/5/2015     5010 LINGONBERRY; -             35553        102   7/28/2015    12810 GREENSHIRE DR; CH010-     36073
 69    6/5/2015     5350 ALLISON; CH012-CH012047    35554        103   7/28/2015    5514 S ACRES; CHP04-            36078
 70    6/8/2015     8111 ROCKFORD; CH002-CH002048   35568        104   8/3/2015     5538 CEDARBURG; CHP04-          36133
 71    6/8/2015     11310 FAWNGROVE; CH013-         35569        105   8/8/2015     4518 WHITE ROCK; CH006-         36160
                    CH013043                                     106   8/8/2015     8119 ROCKFORD; CH002-           36169
 72    6/9/2015     5125 WILMINGTON; -              35587        107   8/9/2015     4801 CARMEN; CHP01-             36168
 73    6/9/2015     5229 WILMINGTON; -              35589        108   8/10/2015    4429 PHLOX; CH005-              36178
 74    6/10/2015    5025 WILMINGTON; CHP01-         35597        109   8/11/2015    5217 PEDERSON; CH016-           36201
 75    6/11/2015    5001 RICHFIELD; -               35616
                                                                 110   8/12/2015    12815 SANDHURST; CH011-         36206
 76    6/11/2015    9327 CLEARWAY; CH015-           35620        111   8/14/2015    5314 HIGGINS; CH016-            36221
 77    6/12/2015    5150 DENORON; CH013-            35640
                                                                 112   8/15/2015    5247 FAIRGREEN; CH014-          36228
 78    6/13/2015    4617 PHLOX; CH005-              35651        113   8/18/2015    4720 ALMEDA GENOA; CH012-       36268
 79    6/14/2015    4310 PHLOX; CH005-              35657
                                                                 114   8/29/2015    4518 WHITE ROCK; CH006-         36364
 80    6/16/2015    4757 CLOVER; CHP01-             35676        115   8/30/2015    4130 MALLOW; CH018-             36360
 81    6/16/2015    4401 GALESBURG; CH004-          35680
                                                                 116   8/31/2015    12815 SANDHURST; CH011-         36376
 82    6/17/2015    4121 MALLOW; CH018-             35696        117   8/31/2015    4749 PEDERSON; CHP01-CHP01090   36379
 83    6/22/2015    4918 AIRPORT; CHP03-            35727
                                                                 118   9/2/2015     4749 PEDERSON; CHP01-           36415
 84    6/23/2015    9006 HILDA; CHP01-CHP01164      35744        119   9/11/2015    4205 CLOVER ST; CH007-          36494
 85    6/25/2015    4901 MEADOW PARK; -             35760
                                                                 120   9/28/2015    4729 PALISADE; CHP03-CHP03075   36641
 86    6/29/2015    4305 MALLOW; CH005-CH005043     35796        121   9/30/2015    5206 WILMINGTON; CH016-         36650
 87    6/30/2015    4726 PARADISE; CHP03-           35806        122   10/5/2015    4222 BELLFORT; CH004-           36689
 88    7/6/2015     4918 LARKSPUR; CH002-           35850        123   10/6/2015    4643 GALESBURG; CH004-          36703
 89    7/6/2015     5514 S ACRES; CHP04-            35851
                                                                 124   10/7/2015    4844 BRICKER; CHP02-            36708
 90    7/6/2015     5001 RICHFIELD; CHP03-          35856        125   10/8/2015    4643 GALESBURG; CH004-          36731
 91    7/8/2015     12818 SANDROCK; CH011-          35880        126   10/15/2015   4634 SUNFLOWER; CH006-          36787
 92    7/9/2015     4410 BELLFORT; CH004-           35894        127   10/22/2015   8938 DELILAH; CH002-            36817
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 128   10/26/2015   4826 MEADOW PARK; CHP03-        36888         163   1/20/2017   12818 Sandrock.                  251110
 129   11/3/2015    5225 HIGGINS; CH016-            37033         164   1/27/2017   4729 Angelton.                   251333
 130   11/10/2015   4141 BARBERRY; CH018-           37054         165   1/27/2017   4417 McKinley.                   251340
 131   11/16/2015   5130 BUNGALOW; CH014-CH014073   37099         166   2/5/2017    CH018021                         258802
 132   11/18/2015   6237 ALMEDA GENOA; CH020-       37138         167   2/8/2017    CH006038                         258807
 133   11/23/2015   8111 ROCKFORD DR; CH002-        37179         168   2/10/2017   4336 Maggie.                     252245
 134   11/25/2015   5306 CANTERWAY; CH013-          37218         169   2/10/2017   CH005019A                        258808
 135   11/25/2015   5013 HOLLOWAY; CHP03-           37220         170   2/11/2017   7945 Earhart.                    252249
 136   11/27/2015   4558 NEWBERRY; CH006-           37240         171   2/11/2017                                    255763
 137   2/24/2016    11730 Murr Way                  229934        172   2/14/2017                                    255764
 138   2/28/2016    5147 Kilkenny                   229938        173   2/15/2017                                    255766
 139   3/8/2016     12703 Jutland.                  230079        174   2/18/2017   5500 greylog                     253442
 140   3/11/2016    4402 Sterling.                  230080        175   2/18/2017                                    255906
 141   3/18/2016    4402 Sterling. 4402 Sterling.   230237        176   2/20/2017                                    255907
 142   5/4/2016     5130 Bungalow.                  232760        177   2/21/2017                                    255908
 143   5/9/2016     5655 Cedarburg Dr.              233037        178   2/22/2017                                    255909
 144   5/10/2016    5707 Belneath.                  233050        179   2/22/2017                                    255910
 145   5/17/2016    4902 Wilmington.                233463        180   2/22/2017                                    255911
 146   5/22/2016    5122 Fairgreen.                 233636        181   2/22/2017                                    255912
 147   5/23/2016    12202 Roandale.                 233849        182   3/5/2017                                     256024
 148   6/20/2016    4417 McKinley St.               236276        183   3/5/2017    10601 Martin Luther King         258074
 149   7/9/2016     4439 Phlox.                     237252        184   3/6/2017                                     256025
 150   7/27/2016    5702 Beldart.                   240278        185   3/7/2017    CH014022                         256116
 151   8/16/2016    11018 Jutland.                  241865        186   3/10/2017   CH006006                         258464
 152   8/22/2016    4927 Paula.                     242202        187   3/13/2017   5305 Wenda.                      255875
 153   8/24/2016    4826 Paradise.                  242296        188   3/13/2017   4107 Almeda Genoa                255876
 154   10/8/2016    12702 Jutland.                  245386        189   4/6/2017                                     256188
 155   11/5/2016    4700 Wenda.                     246640        190   4/7/2017                                     256143
 156   11/24/2016   5015 Brisbane.                  247743        191   4/11/2017   5123 Fairgreen                   256386
 157   11/28/2016   10911 Jutland.                  248191        192   4/14/2017   CH004085                         258511
 158   12/23/2016   8126 Jutland.                   249489        193   5/6/2017    CH017001                         259248
 159   12/26/2016                                   249909        194   5/6/2017    CH017001                         259250
 160   1/3/2017     4815 Ligonberry.                249879        195   5/6/2017    CH017                            260928
 161   1/3/2017     8630 Cullen.                    249880        196   5/7/2017    CH015091                         259251
 162   1/20/2017    12818 Redfern.                  251106        197   5/7/2017    CH015                            260929
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 198   6/7/2017     CHP04044                      263131         233   2/8/2018    4341 REED-CH018             284519
 199   6/16/2017    CH002                         262678         234   2/8/2018    4113 PHLOX-CH018            284521
 200   6/16/2017    5005 LARKSPUR                 262681         235   2/8/2018    4341 REED, CH018            285103
 201   6/18/2017    CH006017                      263079         236   2/8/2018    4113 PHLOX, CH018           285105
 202   7/6/2017     CH013                         263958         237   2/10/2018   5500 AIRPORT, CHU02         284613
 203   7/6/2017     CH013                         264207         238   2/10/2018   CHU02                       284872
 204   7/11/2017    CH007010                      263757
 205   8/6/2017     CH014099                      265547
 206   8/10/2017    CHP03                         265829
 207   8/10/2017    CH016                         265836
 208   8/10/2017    CHP03                         265883
 209   8/10/2017    CH016                         265884
 210   9/13/2017    5130 BUNGALOW;                268995
 211   9/22/2017    10900 ROCKFORD MANHOLE        269448
 212   9/26/2017    5130 FARIGREEN MANHOLE        269458
 213   10/3/2017    5015 BRISBANE                 270237
 214   11/26/2017   4204 DAWSON; CH018025         273532
 215   11/26/2017   4204 DAWSON; CH018            274282
 216   12/1/2017    4819 EDFIELD; CH003001        273828
 217   12/1/2017    4819 EDFIELD; CH003           274283
 218   12/12/2017   4207 REED; CH01800            275038
 219   12/12/2017   4207 REED; manhole            276043
 220   12/19/2017   5218 DUMORE; CH013057         275690
 221   1/2/2018     9421 CULLEN; CHP01098         278580
 222   1/13/2018    CH018                         285197
 223   1/19/2018    4202 BELLFORT-CH004           284598
 224   1/19/2018    4202 BELLFORT-CH004           284638
 225   1/28/2018    CH017                         285340
 226   1/28/2018    CH002048                      285343
 227   1/30/2018    5402 GREYLOG, CH013022        284755
 228   1/30/2018    5402 GREYLOG, CH013022        284761
 229   2/4/2018     CH016                         284829
 230   2/4/2018     5202 WILMINGTON, CH016        285097
 231   2/5/2018     5305 CARMEN-CH016030          284853
 232   2/5/2018     5305 CARMEN, CH016            285101
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                                                                                                         Appendix78
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Ex. 4: Clinton Park WWTP, Permit No. 10495-010
Self-reported overflows July 24, 2013 – June 7, 2018

          Start                    Address;         Excursion
           Date                Basin-Manhole ID        ID
 1     10/8/2013     137 BOLDEN; CP001-             32366
 2     1/7/2014      1215 MAXINE; CPP02-            32590
 3     4/11/2014     242 OWENS; CPP01-CPP01027      32888
 4     1/7/2015      114 ARMSTRONG; CP001-          33825
 5     1/16/2015     9101 CLINTON; CP001-CP001026   33889
 6     2/16/2015     160 N CAROLINA; CP001-         34073
 7     3/2/2015      241 DE HAVEN; CPP01-           34232
 8     3/9/2015      213 DE HAVEN; CPP01-           34311
 9     3/17/2015     253 DE HAVEN; CPP01-CPP01053   34443
 10    3/27/2015     141 BOLDEN; CP001-CP001032     34624
 11    4/6/2015      113 OWENS; CP001-              34729
 12    4/21/2015     242 OWENS; CPP01-CPP01028      34942
 13    4/19/2016     9101 Clinton.                  231790
 14    8/17/2017     217 BOLDEN                     268713
 15    12/11/2017    242 OWENS; CPP01028            275292
 16    12/11/2017    242 OWENS; CPP01               276056
 17    12/20/2017    105 DE HAVEN; CP001            275705
 18    1/8/2018      246 GEORGIA, CPP01023          285461
 19    1/25/2018     CP002                          285476
 20    1/26/2018     9640 CLINTON-CP002             284659
 21    1/26/2018     9640 CLINTON, CP002            285184
 22    2/12/2018     316 PENNSYLVANIA-CP001         284779
 23    2/26/2018     8675 CLINTON-CPP02010          284807




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                                                                                                      Appendix79
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Ex. 5: FWSD #23 WWTP, Permit No. 10495-016                        29   12/30/2013   9130 CHATWOOD; FB017-             32566
Self-reported overflows July 24, 2013 – June 7, 2018              30   12/30/2013   9130 WOODLYN; FB017-              32567
                                                                  31   1/6/2014     10531 BRETTON; FB007-             32587
          Start                  Address;             Excursion   32   1/27/2014    9406 BERTWOOD; FB011-             32634
           Date              Basin-Manhole ID            ID       33   1/30/2014    10100 HOMESTEAD; FBP03-           32638
 1     7/24/2013    11130 DALEBROOK; FB026-FB026163   32165       34   2/3/2014     10418 HOMESTEAD; FB006-           32649
 2     7/24/2013    9307 SPAULDING; FBP08-            32172       35   2/5/2014     7333 GLEN MANOR; FB022-           32652
 3     7/31/2013    8206 RHOBELL; FB001-              32186       36   2/6/2014     6322 BLUESTONE; FB026-            32658
 4     7/31/2013    8426 LAURA KOPPE; FB020-          32187       37   2/8/2014     5918 GUADALUPE; FBU13-            32660
 5     8/8/2013     9555 CROFTON; FB010-FB010032      32213       38   2/8/2014     5918 GUADALUPE; FBU13-            32664
 6     8/22/2013    7326 TOUCHSTONE; FB024-           32240       39   2/13/2014    9555 CROFTON; FB010-FB010032      32680
 7     8/24/2013    8233 GALLAHAD; FBP01-             32250       40   2/15/2014    7333 GLEN MANOR; FB022-           32685
 8     8/28/2013    7007 PINEHOOK; FB025-             32255       41   2/16/2014    8471 CLAIBORNE; FB015-            32689
 9     8/29/2013    7610 DELAVAN; FB022-              32257       42   2/25/2014    9555 CROFTON; FB010-FB010033      32712
 10    9/12/2013    10307 BRETTON; FB007-             32295       43   2/27/2014    6414 MOHAWK; FBU11-               32720
 11    9/12/2013    7225 CAROTHERS; FB024-FB024051    32296       44   2/27/2014    9603 HOMESTEAD; FBP03-FBP03013    32723
 12    9/13/2013    8017 DARIEN; FB024-               32298       45   3/15/2014    7605 CHARLESMONT; FB004-          32765
 13    9/24/2013    7754 BRETSHIRE & 9900 WOODWICK;   32328       46   3/16/2014    8909 CHATWOOD; FB017-             32769
                    FB003-FB003008                                47   3/21/2014    8600 STERLINGSHIRE; FB015-        32790
 14    10/5/2013    9310 WOODLYN; FB018-              32355       48   3/28/2014    10332 BARNHAM; FB013-             32821
 15    10/6/2013    7241 WILEY; FB005-FB005060        32357       49   3/29/2014    5510 CEDAR HILL; FB014-FB014075   32822
 16    10/8/2013    11130 DALEBROOK; FB026-           32361       50   4/8/2014     7870 GALLAHAD; FB002-             32878
 17    10/8/2013    10310 ENVOY; FB007-               32365       51   4/10/2014    10214 ROCKAWAY; FB007-            32886
 18    10/13/2013   11023 DALEBROOK; FB025-           32375       52   4/11/2014    9201 MESA; FBP07-                 32885
 19    10/14/2013   7214 HAVERTON; FB025-FB025036     32376       53   4/12/2014    10538 CHEEVES; FB004-             32883
 20    11/4/2013    10453 WOLBROOK; FB008-            32447       54   4/13/2014    7601 DELAVAN; FB022-              32890
 21    11/10/2013   11042 THACKERY; FB025-            32461       55   4/29/2014    9030 CAMAY; FBP08-                32930
 22    11/15/2013   5223 KNIGHTWOOD; FB013-           32476       56   5/3/2014     6314 TAUTENHAHN; FB026-           32940
                    FB013044                                      57   5/6/2014     7310 WILEY; FB005-                32949
 23    11/19/2013   8471 CLAIBORNE; FB015-            32485       58   5/9/2014     10827 CHEEVES; FB026-FB026027     32957
 24    12/4/2013    10326 CASTLETON; FB008-           32515       59   5/12/2014    8205 CRESTVIEW; FB020-            32964
 25    12/6/2013    6338 HARTWICK; FB026-             32518       60   5/21/2014    6703 HEATH; FB026-                33002
 26    12/9/2013    7414 SUNDOWN; FB022-              32523       61   5/22/2014    9905 HADDICK; FB001-              33010
 27    12/28/2013   11023 LEDFORD; FB025-FB025090     32559       62   5/29/2014    8926 TALTON; FB019-               33028
 28    12/29/2013   8310 NYSSA; FB001-                32565       63   6/9/2014     10206 CHEEVES; FB004-             33060
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                                                                                                              Appendix80
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 64    6/14/2014    9426 CRESTVIEW; FB017-FB017017     33068     96    10/31/2014   6402 TAUTENHAHN; FB026-            33508
 65    6/30/2014    10513 BUCKNELL; FB008-             33100     97    11/3/2014    9602 MESA; FBP05-                  33515
 66    7/14/2014    9393 TIDWELL; RG002-RG002021       33143     98    11/10/2014   10102 HOMESTEAD; FB005-            33536
 67    7/15/2014    9002 STERLINGSHIRE; FBP05-         33145                        FB005044
                    FBP05039                                     99    11/13/2014   10310 CAXTON; FB013-               33544
 68    7/16/2014    11058 SPOTTSWOOD; FBU11-           33152     100   11/15/2014   11019 LINVALE DR.; FB025-          33554
 69    7/25/2014    9555 CROFTON; FB010-FB010063       33182     101   11/15/2014   6327 HARCOURT; FB026-              33556
 70    7/31/2014    6134 COBALT; FB026-FB026064        33198     102   11/20/2014   7219 VALMONT; FB025-               33568
 71    8/1/2014     9002 STERLINGSHIRE; FBP05-         33203     103   11/22/2014   10507 ROYAL OAKS; FB007-FB007034   33570
                    FBP05039                                     104   11/22/2014   7023 HAVERTON; FB025-FB025029      33572
 72    8/4/2014     8913 CADDO; RG001-                 33206     105   11/24/2014   6610 LEEDALE; FB026-               33575
 73    8/15/2014    10635 HOMESTEAD RD; FB006-         33237     106   11/24/2014   6806 HANLEY; FB025-                33576
 74    8/18/2014    9214 SHREVEPORT; FB022-            33245     107   11/25/2014   7711 LAKEWOOD; FB004-              33583
 75    8/27/2014    9810 ARVIN ST; FB015-FB015021      33259     108   11/26/2014   6838 LEEDALE; FB025-               33588
 76    9/2/2014     10542 LERA; FB006-                 33269     109   11/26/2014   10323 MAYBERRY; RG001-             33589
 77    9/2/2014     11058 SPOTTSWOOD; FBU11-           33272     110   12/4/2014    9214 SHREVEPORT BLVD; FB022-       33617
 78    9/8/2014     10802 RIBSTONE; FB026-             33284     111   12/7/2014    10121 HOMESTEAD; FB007-            33623
 79    9/8/2014     7433 SAUNDERS; FB006-              33286     112   12/14/2014   11026 SPOTTSWOOD; FBU11-           33645
 80    9/9/2014     7433 SAUNDERS; FB006-              33287     113   12/14/2014   8433 WOODLYN; -                    33646
 81    9/13/2014    9555 CROFTON; FB010-FB010033       33296     114   12/16/2014   9393 TIDWELL; RG002-               33665
 82    9/13/2014    7322 YOE; FB005-FB005026           33297     115   12/19/2014   8022 WOODLYN; FB022-               33708
 83    9/22/2014    9307 BALSAM; FB019-                33348     116   12/20/2014   8922 TALTON; FB019-                33711
 84    9/22/2014    8906 LAKE FOREST; FB019-           33350     117   12/22/2014   7413 PARKER; FB005-FB005052        33740
 85    9/23/2014    7526 S HALL; FB024-                33349     118   12/26/2014   9440 SHERBOURNE; FB010-            33762
 86    9/23/2014    10514 CASTLETON; FB008-            33354     119   12/26/2014   7305 COLTON; FB006-                33763
 87    9/29/2014    9611 GALAXY; FB002-FB002025        33369     120   12/28/2014   7619 STERLINGSHIRE ST; FB003-      33767
 88    9/29/2014    7606 SPRINGDALE; FB024-            33388                        FB003030
 89    10/4/2014    6303 HARTWICK; FB026-FB026063      33399     121   12/29/2014   6610 LEEDALE; FB026-               33770
 90    10/14/2014   7413 PARKER; FB005-                33452     122   12/30/2014   8409 FLINTRIDGE; -                 33774
 91    10/15/2014   6838 LEEDALE; FB025-               33454     123   1/5/2015     6414 MOHAWK; FBU11-                33806
 92    10/16/2014   10506 WOLBROOK; FB008-             33461     124   1/5/2015     10221 KELBURN; FB005-              33808
 93    10/22/2014   8037 LINDA VISTA; FB021-FB021018   33478     125   1/5/2015     10802 RIBSTONE; FB026-             33809
 94    10/24/2014   10121 HOMESTEAD; FB007-            33482     126   1/6/2015     9002 STERLINGSHIRE; RG002-         33828
                    FB007003                                                        RG002076
 95    10/27/2014   7858 LOCKSLEY; FB002-FB002016      33494     127   1/7/2015     11058 SPOTTSWOOD; FBU11-           33824

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 128   1/7/2015    8906 TALTON; FB019-                33826     162   3/19/2015   10014 CHEEVES; FBP03-FBP03079      34488
 129   1/8/2015    8926 EVERGLADE; RG001-             33832     163   3/19/2015   6327 LEEDALE; FB026-               34490
 130   1/8/2015    7641 SUNDOWN; FB022-               33837     164   3/19/2015   9618 HANFORD; FB002-               34503
 131   1/8/2015    11242 VAILVIEW; FB026-             33843     165   3/20/2015   10907 LERA; FB026-                 34504
 132   1/9/2015    7170 PARKER; FB005-                33836     166   3/20/2015   9905 PEACHTREE; FBP08-FBP08217     34515
 133   1/9/2015    9319 LAURA KOPPE; FB018-           33847     167   3/21/2015   7938 LYNETTE ST; FB022-FB022015    34519
 134   1/12/2015   9002 STERLINGSHIRE; FBP05-         33852     168   3/22/2015   7633 HALL; FB022-                  34528
                   FBP05039                                     169   3/22/2015   6307 ROSEMARY; FBU11-              34532
 135   1/13/2015   9603 HOMESTEAD; FBP03-             33856     170   3/23/2015   9555 CROFTON; FB010-FB010033       34535
 136   2/7/2015    6419 MOHAWK; FBU11-                33998     171   3/24/2015   10545 CASTLETON; FB008-            34558
 137   2/8/2015    6322 ROSEMARY; FBU11-              34004     172   3/25/2015   7325 CADDO; FB005-                 34576
 138   2/12/2015   9002 STERLINGSHIRE; FBP05-         34023     173   3/25/2015   5014 HAYWOOD; FB012-               34581
 139   2/16/2015   7445 SPRINGDALE; FB024-FB024005    34062     174   3/25/2015   8821 KELLETT; FB019-               34597
 140   2/21/2015   7802 VENIDA; FBP06-                34117     175   3/30/2015   11058 SPOTTSWOOD; FBU11-           34645
 141   2/21/2015   7801 VENIDA; FBP06-                34120     176   3/31/2015   7413 LAURA KOPPE; FB022-           34649
 142   2/21/2015   9438 EVERGLADE; RGP01-             34123     177   4/2/2015    9315 LINDA VISTA; FB018-FB018028   34677
 143   2/21/2015   7441 LAURA KOPPE; FB022-           34125     178   4/2/2015    9393 TIDWELL; RG002-RG002021       34688
 144   2/21/2015   9438 EVERGLADE; RGP01-             34127     179   4/3/2015    11058 SPOTTSWOOD; FBU11-           34711
 145   2/22/2015   7521 GLEN MANOR; FB022-FB022077    34136     180   4/4/2015    6402 TAUTENHAHN; FB026-            34718
 146   2/22/2015   7413 PARKER; FB005-                34148     181   4/7/2015    8201 CRESTVIEW; -                  34732
 147   2/22/2015   9723 ARVIN; FB015-FB015035         34149     182   4/7/2015    7226 WILEY; FB005-                 34737
 148   2/23/2015   5714 WESTBROOK; FBP08-             34155     183   4/8/2015    8115 WOODLYN; -                    34776
 149   3/2/2015    9815 DEGAS; FBP08-FBP08014         34236     184   4/10/2015   10519 HOMESTEAD RD; FB007-         34787
 150   3/3/2015    7405 RHOBELL; FB005-               34246     185   4/12/2015   5115 CALGARY; FB013-               34803
 151   3/6/2015    11231 TAMWORTH; FB026-FB026166     34289     186   4/13/2015   7521 GLEN MANOR; FB022-FB022077    34825
 152   3/9/2015    7546 LAURA KOPPE; FB022-FB022085   34325     187   4/13/2015   6410 ROSEMARY; FBU11-              34835
 153   3/10/2015   7879 LOCKSLEY; FB002-              34342     188   4/14/2015   10906 WHITE THORN; FB014-          34832
 154   3/10/2015   7221 WILEY; FB005-FB005059         34345     189   4/14/2015   7222 COLTON; FB006-                34834
 155   3/11/2015   6515 HARTWICK; FB026-              34366     190   4/17/2015   8102 BIGWOOD; FB001-               34883
 156   3/12/2015   6122 MICOLLET; FB026-              34369     191   4/17/2015   10930 WHITE THORN; FB014-          34890
 157   3/13/2015   10430 HOLLYGLEN; FB007-            34375     192   4/22/2015   10315 BRETTON; FB007-              34946
 158   3/14/2015   9029 CHATWOOD; FB017-              34389     193   4/30/2015   4801 ANTHA; -                      35030
 159   3/17/2015   9905 PEACHTREE; FBP08-FBP08217     34438     194   5/18/2015   9317 BERTWOOD; FB011-              35288
 160   3/17/2015   9541 MESA DR; FBP05-               34448     195   5/18/2015   8805 HOMESTEAD; FBP08-FBP08084     35291
 161   3/18/2015   7938 LYNETTE; FB022-               34482     196   5/25/2015   8122 COUNT; FBP06-                 35363
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 197   5/26/2015   9421 SHADY; -                    35382       231   8/29/2015    8600 STERLINGSHIRE; FB015-      36355
 198   5/26/2015   9012 SPAULDING; -                35384                          FB015009
 199   5/27/2015   8805 HOMESTEAD; FBP08-FBP08081   35416       232   8/31/2015    8205 CRESTVIEW; FB020-          36384
 200   5/28/2015   11058 SPOTTSWOOD; FBU11-         35423       233   9/2/2015     10536 HOMESTEAD; FB006-         36398
 201   6/8/2015    7444 CABOT; FBP03-               35567       234   9/5/2015     7405 YOE; FB005-FB005034        36436
 202   6/12/2015   8161 RECORD; -                   35641       235   9/11/2015    6419 HARCOURT; FB026-FB026014   36499
 203   6/20/2015   10006 WILOAK; FB001-             35717       236   9/16/2015    10827 CHEEVES; FB026-FB026027   36541
 204   6/22/2015   5725 SAM HOUSTON; FB030-         35730       237   9/17/2015    5511 PARKER; FB012-             36553
 205   6/23/2015   7330 KNOLL; FB024-               35749       238   9/17/2015    6326 HARTWICK; FB026-           36554
 206   6/29/2015   9555 CROFTON; FB010-FB010032     35790       239   9/23/2015    8161 RECORD; FBP06-             36596
 207   7/13/2015   9019 SHADY; FB011-FB011009       35924       240   9/26/2015    10835 CHEEVES; FB026-           36637
 208   7/14/2015   7104 W KNOLL; FB024-             35933       241   10/3/2015    9700 MESA; RG002-               36670
 209   7/16/2015   7611 DENTON; FB020-              35955       242   10/5/2015    9846 LUM; RG002-                36684
 210   7/18/2015   8002 RECORD; FBP06-              35983       243   10/6/2015    7421 CADDO; FB005-FB005016      36704
 211   7/20/2015   6423 TAUTENHAHN; FB026-          35992       244   10/7/2015    7206 HEATH; FB025-              36719
 212   7/20/2015   6310 MOHAWK; FBU11-              36003       245   10/8/2015    6330 HOPPER; FBU11-             36723
 213   7/23/2015   6009 HOPPER; FB029-              36031       246   10/23/2015   9555 CROFTON; FB010-FB010032    36824
 214   7/25/2015   10306 HOLLYGLEN DR; FB007-       36048       247   10/24/2015   7245 RHOBELL; FB005-FB005023    36829
 215   7/25/2015   8010 LAURA KOPPE RD; FB022-      36055       248   10/27/2015   7239 HEATH; FB025-FB025055      36891
 216   7/27/2015   6302 GASTON; FB026-              36064       249   10/28/2015   7803 LITTLE YORK; FB025-        36902
 217   7/29/2015   6009 HOPPER; FB029-              36085       250   10/28/2015   9555 CROFTON; FB010-            36922
 218   8/3/2015    11247 SPOTTSWOOD; FBU11-         36127       251   10/28/2015   7030 BRETSHIRE; FBP03-          36924
 219   8/5/2015    10535 BRETTON; FB007-            36142       252   11/1/2015    7606 KNOLL; FB022-FB022109      36982
 220   8/6/2015    7206 WILEY; FB005-               36149       253   11/6/2015    7426 PARKER; FB005-             37032
 221   8/7/2015    6426 ROSEMARY; FBU11-FBU11051    36156       254   11/10/2015   6414 MOHAWK; FBU11-             37060
 222   8/8/2015    7822 PEREIDA; FBP06-             36170       255   11/14/2015   9909 ALLWOOD; FBP08-            37089
 223   8/10/2015   7938 WAY; FB022-                 36179       256   11/17/2015   10827 CHEEVES; FB026-FB026027   37121
 224   8/17/2015   7410 STERLINGSHIRE; FBP03-       36242       257   11/24/2015   6419 HARCOURT; FB026-           37196
 225   8/18/2015   8205 CRESTVIEW; FB020-           36250       258   11/25/2015   9555 CROFTON; FB010-            37212
 226   8/18/2015   8506 RINN; FBP05-                36257       259   2/16/2016                                    229913
 227   8/19/2015   8118 CRESTVIEW; FB020-           36277       260   2/22/2016    7222 Valmont                    229943
 228   8/23/2015   7104 W KNOLL; FB024-             36296       261   2/24/2016    7329 Rhobell                    229945
 229   8/27/2015   8600 STERLINGSHIRE; FB015-       36335       262   2/27/2016    8600 Sterlingshire              229949
                   FB015009                                     263   3/10/2016    8102 Elbert.                    230084
 230   8/27/2015   7937 OAK KNOLL; FB022-           36337       264   3/12/2016    9802 Maddox.                    230238
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 265   3/16/2016    7103 Hedgewood. 4402 Sterling.   230239       300   1/22/2017   7218 Pittswood.                  251134
 266   4/1/2016     7101 Tidwell.                    230643       301   1/23/2017   11126 Thackery Ln.               251155
 267   4/12/2016    5806 Langley.                    231363       302   1/23/2017   6327 Bluestone.                  251156
 268   4/12/2016    8158 Snowden.                    231364       303   1/25/2017   7206 Heath.                      251206
 269   5/1/2016     6319 Mardale.                    232527       304   1/27/2017   11102 Heath Ct.                  251342
 270   5/6/2016     6322 Rosemary.                   232872       305   1/27/2017   6310 Hopper.                     251344
 271   5/18/2016    8600 Sterlingshire.              233503       306   2/2/2017    7601 Bretshire.                  251802
 272   5/20/2016    7107 Haverton.                   233623       307   2/4/2017    10827 Cheeves.                   251852
 273   5/24/2016    9326 Balsam Ln.                  233883       308   2/4/2017    10827 Cheeves.                   251853
 274   5/31/2016    8600 Sterlingshire.              234373       309   2/4/2017    FB026                            258850
 275   6/4/2016     10121 Homestead.                 234820       310   2/4/2017    FB026                            258851
 276   7/8/2016     9555 Crofton.                    237255       311   2/5/2017    11211 VAILVIEW; FB026173         274959
 277   7/30/2016    10827 Cheeves.                   240438       312   2/6/2017    FBP05                            258852
 278   8/21/2016    10102 Homestead.                 242192       313   2/8/2017    FB004                            258853
 279   8/24/2016    10423 Bretton.                   242298       314   2/12/2017   10827 Cheeves.                   252433
 280   9/3/2016     6700 Tidwell.                    242810       315   2/12/2017                                    255767
 281   10/21/2016   9109 Compton St.                 245934       316   2/12/2017                                    255768
 282   11/3/2016    10842 Cheeves.                   246569       317   2/16/2017                                    255769
 283   11/5/2016    7506 Touchstone.                 246641       318   2/22/2017   11600 Danford                    253550
 284   11/9/2016    8600 Sterlingshire.              246968       319   2/22/2017                                    255913
 285   11/10/2016   9603 Homestead.                  246970       320   2/22/2017                                    255914
 286   11/17/2016   10627 Onslow.                    247476       321   2/22/2017                                    255915
 287   12/2/2016    8600 Sterlingshire.              248236       322   2/23/2017   8914 Strathmore.                 253456
 288   12/10/2016   7522 Springdale.                 248496       323   2/23/2017   6423 Tautenhahn.                 253457
 289   12/20/2016   7639 Cabot.                      249199       324   2/23/2017                                    255916
 290   12/27/2016   7711 Lakewood.                   249516       325   2/23/2017                                    255917
 291   1/1/2017                                      252391       326   2/23/2017                                    255918
 292   1/1/2017                                      252393       327   2/23/2017                                    255919
 293   1/6/2017     9715 Shady.                      250111       328   2/24/2017                                    255920
 294   1/6/2017     11122 Dalebrook.                 250112       329   2/24/2017                                    255921
 295   1/12/2017    8202 Crestview.                  250464       330   2/25/2017   6215 Roughlock.                  253475
 296   1/12/2017    7711 Lakewood.                   250465       331   3/10/2017   7221 RHOBELL                     258017
 297   1/18/2017                                     252392       332   3/11/2017   10134 ROCKAWAY                   258019
 298   1/20/2017                                     252396       333   3/14/2017                                    255765
 299   1/21/2017    7300 Heath.                      251126       334   3/17/2017   FB006074                         256027
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 335   3/29/2017   FB025037                     257991          370   6/9/2017     FB013                           262688
 336   3/30/2017   10307 Homestead; FB006104    258093          371   6/9/2017     FB018060                        262690
 337   4/11/2017   10531 Royal Oaks             256387          372   6/15/2017    FBU11                           263279
 338   4/12/2017   8106 Snowden                 256392          373   6/16/2017    9905 HADDICK                    262682
 339   4/12/2017   10414 Homestead              256393          374   7/3/2017     4613 ANTHA                      262807
 340   4/19/2017   FB022009                     258696          375   7/3/2017     FB005018                        262809
 341   4/19/2017   FB024043                     258798          376   7/3/2017     FBP08                           264208
 342   4/27/2017   FB005026                     259193          377   7/3/2017     FB005                           264209
 343   5/2/2017    FBP03014                     259186          378   7/7/2017     FB024007                        263052
 344   5/2/2017    FBP03017                     260932          379   7/11/2017    FB005043                        263759
 345   5/3/2017    FB008093                     259228          380   7/16/2017    FBP08095                        263668
 346   5/3/2017    FB008                        260934          381   7/23/2017    FB025138                        263985
 347   5/8/2017    FB018                        260936          382   7/23/2017    FB025                           265378
 348   5/11/2017   FBP05                        260937          383   7/24/2017    FB011009                        264218
 349   5/12/2017   FBP05                        259287          384   7/24/2017    FB011                           265380
 350   5/14/2017   FB022002A                    259305          385   7/26/2017    FB026163                        264309
 351   5/14/2017   FB022                        263429          386   7/26/2017    FB026163                        265381
 352   5/16/2017   FBP06                        259393          387   8/4/2017     FB007                           265503
 353   5/16/2017   FBP06                        263431          388   8/6/2017     FB008024                        265526
 354   5/17/2017   FB018                        259315          389   8/6/2017     FB008024                        265537
 355   5/17/2017   FB018                        263432          390   8/21/2017    FB003007                        266888
 356   5/19/2017   FBP01044                     263222          391   8/21/2017    7752 BRETSHIRE MANHOLE          268946
 357   5/19/2017   FBP01                        263433          392   9/14/2017    8807 CAMAY                      268998
 358   5/22/2017   FB010001                     261425          393   9/21/2017    10102 HOMESTEAD                 269444
 359   5/22/2017   FB010001                     264130          394   9/23/2017    10507 ROYAL OAKS MAHOLE         269452
 360   5/24/2017   FBP01044                     263524          395   9/26/2017    6607 LEEDALE                    269459
 361   6/1/2017    FB026                        264033          396   10/16/2017   FB016                           270766
 362   6/2/2017    FB006                        263532          397   10/16/2017   8311 Mesa Dr. Manhole FB016     271405
 363   6/2/2017    FB026                        264499          398   10/21/2017   6426 Mardale                    271951
 364   6/2/2017    FB006                        264502          399   10/23/2017   7318 Rhobell                    271955
 365   6/6/2017    FB002007                     263116          400   10/24/2017   7913 Woodlyn Mahole: FB22023    271112
 366   6/7/2017    FB026014                     263132          401   10/24/2017   7913 Woodlyn                    271958
 367   6/7/2017    FB024042                     263133          402   10/27/2017   7310 Sterlingshire -(FBP03)     271961
 368   6/8/2017    FB006                        262683          403   10/27/2017   7646 Weyburn                    271963
 369   6/9/2017    FB020                        262684          404   11/3/2017    9728 FARRAGUT ST                272019
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 405   11/3/2017    9728 Farragut St.                      272392   440   12/12/2017   6603 LEEDALE; FBU11001           275039
 406   11/3/2017    9728 FARRAGUT ST; FB002                274751   441   12/12/2017   6603 LEEDALE; FBU11064           276062
 407   11/8/2017    9738 FARRAGUT; FB002010                272341   442   12/13/2017   11023 LERA; FBU11                275043
 408   11/8/2017    9738 Farragut St, Houston, TX, 77078   273318   443   12/13/2017   11023 LERA; FBU11                276064
 409   11/8/2017    9738 FARRAGUT; FB002                   274753   444   12/14/2017   6423 TAUTENHAHN; FB026           275070
 410   11/14/2017   9555 CROFTON; FB010001                 272690   445   12/14/2017   6423 TAUTENHAHN Rd; FB026        276066
 411   11/15/2017   11439 LERA; FB026090                   273287   446   12/16/2017   7939 WAY St; FB022010            275644
 412   11/15/2017   11439 Lera St, Houston, TX, 77016      274267   447   12/16/2017   9245 CHATWOOD dr; FB017004       275645
 413   11/15/2017   11439 LERA; FB026                      275741   448   12/17/2017   10502 BAINBRIDGE; FB013012       275663
 414   11/20/2017   6331 LEEDALE; FB026                    273389   449   12/17/2017   11011 LERA; FB026                275665
 415   11/20/2017   6331 LEEDALE; FB026                    273890   450   12/20/2017   6414 MOHAWK; FBU11               275706
 416   11/20/2017   6331 LEEDALE; FB026                    274754   451   12/27/2017   8026 LYNETTE; FBP06015           277342
 417   11/22/2017   7318 RHOBELL                           273305   452   12/29/2017   7424 RHOBELL; FB005018           276361
 418   11/22/2017   7318 RHOBELL; FB005                    273891   453   12/29/2017   6403 TAUTENHAHN; FB026           276362
 419   11/27/2017   6823 HOPPER; FB                        273341   454   1/1/2018     8400 STERLINGSHIRE; FB015038     278036
 420   11/27/2017   6823 HOPPER; FB025                     274287   455   1/2/2018     11011 VAILVIEW; FBU11064         278583
 421   11/28/2017   10642 WOLBROOK; FB014037               273685   456   1/2/2018     11418 CHEEVES; FB026081          278584
 422   11/28/2017   11054 VAILVIEW; FB025130               273686   457   1/3/2018     9022 BERTWOOD; FB011             277673
 423   11/28/2017   10642 WOLBROOK; FB014                  274288   458   1/3/2018     8318 NYSSA; FB001                277674
 424   11/28/2017   11054 VAILVIEW; FB025                  274289   459   1/4/2018     7318 SPRINGDALE; FB024           277884
 425   11/29/2017   6603 LEEDALE; FBU11064                 273785   460   1/4/2018     7202 HEDGEWOOD; FB025            277885
 426   11/29/2017   6331 LEEDALE; FB026010                 273786   461   1/5/2018     7202 HEDGEWOOD; FB025            277918
 427   11/29/2017   6319 MARDALE; FBU11052                 273787   462   1/5/2018     9022 BERTWOOD; FB011             277919
 428   11/29/2017   11006 SPOTTSWOOD; FBU11057             273788   463   1/8/2018     8811 SULTAN, FB018044            285462
 429   11/29/2017   6603 LEEDALE; FBU11064                 275061   464   1/8/2018     6423 TAUTENHAHN, FB026           285473
 430   11/29/2017   6331 LEEDALE; FB026010; 1016B          275063   465   1/9/2018     9105 N WAYSIDE; FB022            277978
 431   11/29/2017   6319 MARDALE; FBU11052                 275072   466   1/9/2018     9105 N WAYSIDE, FB022017         285484
 432   11/29/2017   11006 SPOTTSWOOD; FBU11057             275074   467   1/11/2018    10101 ROCKAWAY Dr; FB007         278688
 433   11/30/2017   6322 MARDALE; FB026011                 275075   468   1/11/2018    6318 MARDALE                     278699
 434   12/1/2017    11130 DALEBROOK; FB026                 273832   469   1/11/2018    6318 MARDALE Dr; FB026011        279001
 435   12/1/2017    7122 HEATH; FB025064                   273835   470   1/11/2018    10101 ROCKAWAY; FB007            279003
 436   12/1/2017    11130 DALEBROOK; FB026                 275076   471   1/11/2018    6318 MARDALE, FB026              285492
 437   12/1/2017    7122 HEATH; FB025                      275077   472   1/11/2018    10101 ROCKAWAY. FB007            285494
 438   12/4/2017    5805 LANGLEY; FB014020                 274008   473   1/22/2018    7930 HOMEWOOD-FB022              284927
 439   12/5/2017    6414 MOHAWK; FBU11040                  274958   474   1/22/2018    7222 VALMONT-FB025043            284928
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 475   1/25/2018   FB026                        285477
 476   1/26/2018   9102 MONTERREY-FBP07071      284660
 477   1/26/2018   9102 MONTERREY, FBP07071     285191
 478   1/31/2018   FB013                        284485
 479   2/4/2018    FB007040                     284832
 480   2/5/2018    7027 HOPPER-FB025096         284854
 481   2/5/2018    10419 BRETTON-FB007046       284856
 482   2/5/2018    10423 HOLLYGLEN, FB007039    285107
 483   2/5/2018    7027 HOPPER, FB025           285108
 484   2/5/2018    10419 BRETTON, FB007         285110
 485   2/7/2018    7221 RHOBELL, FB005022       284880
 486   2/7/2018    7221 RHOBELL, FB005          285111
 487   2/8/2018    5109 PARKER-FB012            284522
 488   2/8/2018    7234 S HALL-FB024            284524
 489   2/8/2018    5109 PARKER, FB012           285113
 490   2/8/2018    7234 S HALL, FB024           285114
 491   2/11/2018   FB025001                     285367
 492   2/11/2018   FB022                        285368
 493   2/13/2018   9105 HOMEWOOD, FB017045      284811
 494   2/13/2018   10522 ROCKAWAY, FB007009     284813
 495   2/14/2018   FB026163                     285394
 496   2/20/2018   9631 HILLIS-FBP05            285314
 497   2/20/2018   FBP05                        285981
 498   5/23/2018   FB020001                     286539
 499   5/27/2018   FB015019                     286177




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Ex. 6: Homestead WWTP, Permit No. 10495-023                      30    5/9/2015     8744 LEYCREST; HS008-HS008035       35172
Self-reported overflows July 24, 2013 – June 7, 2018             31    7/17/2015    7605 DENTON; HS007-                 35979
                                                                 32    8/7/2015     7301 CAROTHERS; HS003-              36166
          Start                   Address;           Excursion   33    9/2/2015     8126 MILEY; HS004-                  36393
          Date                Basin-Manhole ID          ID       34    9/13/2015    6817 HOMESTEAD; HS002-HS002052      36507
 1     7/29/2013    7045 PEYTON; HS002-              32181       35    11/15/2015   8601 LEY; HS008-HS008011            37094
 2     9/21/2013    7120 ST LOUIS; HS002-            32314       36    11/20/2015   7600 HOUSTON; HS008-HS008012        37146
 3     10/18/2013   7025 PEYTON; HS002-HS002046      32380       37    2/26/2016    7050 Bennington.                    232265
 4     11/6/2013    8322 LEY; HS007-HS007050         32455       38    5/8/2016     7050 Bennington.                    232945
 5     1/18/2014    5500 KIRKPATRICK; HSU01-         32610       39    7/21/2016    7600 E. Houston Rd.                 239509
 6     1/22/2014    6801 BENNINGTON; HS002-          32623       40    8/8/2016     8601 Ley.                           241224
                    HS002047                                     41    8/24/2016    7835 Liberty Rd.                    242299
 7     3/18/2014    7117 ELBERT; HSP01-              32779       42    10/21/2016   7600 E Houston Rd.                  245935
 8     4/1/2014     6555 MESA; HS008-HS008072        32832       43    1/10/2017    7700 Wayside.                       250300
 9     4/18/2014    7501 HOWTON; HS002-              32900       44    2/2/2017     8322 Ley Rd.                        251803
 10    4/29/2014    8322 LEY; HS007-HS007047         32932       45    2/10/2017    1724 Wilson.                        252239
 11    5/31/2014    5830 S LAKE HOSUTON; HS009-      33035       46    2/23/2017    8004 Penrod.                        253458
 12    6/2/2014     7513 CAROTHERS; HS003-HS003040   33037       47    2/23/2017                                        255929
 13    6/2/2014     7513 CAROTHERS; HS003-HS003040   33038       48    3/1/2017     10102 HOMESTEAD                     254663
 14    6/6/2014     7813 ANGUS; HS004-HS004046       33051       49    3/7/2017     HS008035                            256119
 15    6/20/2014    6922 JAY; HS002-                 33082       50    4/5/2017                                         255812
 16    6/26/2014    5565 KIRKPATRICK; HSU01-         33095       51    4/5/2017     HS004                               260292
 17    7/8/2014     7975 BOOKER ST.; HSP02-          33123       52    4/24/2017    HS002001                            259075
 18    8/17/2014    5325 NIELAN; HSP04-              33241       53    4/29/2017    HS008012                            259205
 19    9/8/2014     7045 PEYTON; HS002-HS002045      33283       54    4/29/2017    HS008012                            260991
 20    11/25/2014   6800 HOMESTEAD; HS002-HS002052   33586       55    5/8/2017     HS002                               259254
 21    12/15/2014   7937 ATTWATER; HS005-            33660       56    5/8/2017     HS002                               260993
 22    3/13/2015    5325 NIELAN; HSP03-              34374       57    8/13/2017    HS008000                            265627
 23    3/16/2015    7505 MILEY; HS002-               34423       58    8/14/2017    HS008092                            265534
 24    3/17/2015    7978 RITZ; HS006-                34435       59    8/14/2017    8601 LEY RD MANHOLE                 268714
 25    3/30/2015    6806 JAY; HS002-                 34643       60    9/20/2017    8601 LEY MANHOLE                    269443
 26    4/23/2015    7957 JOY; HS006-                 34967       61    10/16/2017   HS008006                            270767
 27    4/23/2015    8738 LEYCREST; HS008-HS008035    34980       62    10/16/2017   8601 Ley; Manhole HS008006          271406
 28    5/2/2015     7301 CAROTHERS; HS003-           35061       63    11/6/2017    8133 Miley                          272183
 29    5/2/2015     8733 LEY; HS008-HS008026         35062       64    11/6/2017    8133 MILEY: HS004                   272194
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 65    11/6/2017    8133 Miley, Houston, Tx 77028         273426
 66    11/17/2017   7801 LIBERTY RD; HSP02                273549
 67    11/17/2017   7801 Liberty Rd, Houston, TX, 77028   274273
 68    11/17/2017   7801 LIBERTY RD; HSP02                274773
 69    11/29/2017   8601 LEY; HS008092                    273791
 70    11/29/2017   8601 LEY; HS008092                    275086
 71    11/30/2017   7409 LEY; HS003                       273622
 72    11/30/2017   7409 LEY; HS003                       275087
 73    12/4/2017    7117 ELBERT; HSP01069                 274010
 74    12/11/2017   7970 JOY; HS006039                    275592
 75    12/11/2017   7970 JOY; HS006                       276067
 76    12/18/2017   8317 EASTOVER; HS008053               275691
 77    1/30/2018    7106 CAVALCADE, HS001                 284757
 78    2/13/2018    8326 LEY, HS007050                    284815
 79    2/19/2018    8601 LEY-HS009092                     284893
 80    2/19/2018    8601 LEY-HS008010                     285319
 81    2/26/2018    8601 LEY-HS008092                     284816
 82    5/23/2018    HS008092                              286565




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Ex. 7: West District WWTP, Permit No. 10495-030                   25    1/21/2015   3125 CRESTDALE; WD058-WD058024   33899
Self-reported overflows July 24, 2013 – June 7, 2018              26    1/26/2015   2049 WESTERN VILLAGE; SO201-     33957
                                                                  27    2/12/2015   7531 WESTHEIMER; WD106-          34022
           Start                  Address;            Excursion                     WD106008
            Date              Basin-Manhole ID           ID       28    2/13/2015   790 BATESWOOD; WD014-            34057
                                                                                    WD014014
 1      8/3/2013     3150 CRESTDALE; WD054-WD054017   32197
                                                                  29    2/14/2015   610 WALNUT BEND; WD029-          34044
 2      8/7/2013     2514 BRIARBROOK; WD098-          32208                         WD029036
 3      8/28/2013    14061 MEMORIAL; WD007-           32256       30    2/16/2015   11201 OLYMPIA; WD027-            34053
 4      9/26/2013    1021 BLACKHAW; WDP01-            32340       31    2/17/2015   1103 BLUE WILLOW; WD031-         34084
 5      11/3/2013    2200 WILCREST; WD028-WD028055    32443       32    2/19/2015   1521 SHERWOOD FOREST; SO201-     34100
 6      11/12/2013   1901 S VOSS; WD110-              32471       33    2/19/2015   10026 LAZY OAKS; WD049-          34105
 7      12/20/2013   14737 MEMORIAL; WD021-           32548                         WD049011
 8      1/18/2014    790 BATESWOOD; WD014-            32614       34    2/23/2015   790 BATESWOOD; WD014-            34156
                     WD014014                                                       WD014014
 9      2/10/2014    9933 KEMP FOREST; WD057-         32666       35    2/25/2015   790 BATESWOOD; WD014-            34175
 10     2/14/2014    767 CARLINGFORD; WD008-          32678                         WD014014
 11     3/21/2014    2700 TANGLEWILDE; WD102-         32789       36    2/26/2015   900 ATTINGHAM; WDP06-            34184
                     WD102053A                                    37    3/2/2015    1010 W SAM HOUSTON N; WDP11-     34231
 12     5/19/2014    214 PAUL REVERE; WD116-          32989                         WDP11041
                     WD116032                                     38    3/2/2015    13830 MYRTLEA; WD011-WD011008    34234
 13     6/24/2014    1701 UPLAND; SO201-              33092       39    3/2/2015    11207 TIMBERLANE; SO202-         34237
 14     7/9/2014     1555 W SAM HOUSTON; WD079-       33131       40    3/3/2015    10692 KATY FWY; WDP11-WDP11036   34247
                     WD079039                                     41    3/5/2015    612 W BOUGH; WD041-              34275
 15     7/24/2014    1300 W SAM HOUSTON S; WD091-     33175       42    3/7/2015    10809 BRIAR FOREST; WD031-       34297
 16     8/22/2014    1989 WESTERN VILLAGE; SO201-     33248                         WD031039
 17     9/9/2014     2545 GESSNER; WDP09-             33285       43    3/10/2015   9618 VOGUE; WD052-WD052043       34350
 18     9/24/2014    2135 SHADOWDALE; WD068-          33357       44    3/11/2015   612 W BOUGH; WDP05-              34356
                     WD068014                                     45    3/15/2015   906 N WILCREST; WD086-WD086024   34393
 19     10/17/2014   1300 WILCREST; WD027-            33463       46    3/20/2015   2600 GESSNER; WDP09-             34517
 20     12/2/2014    425 WHITE WING; WD012-           33607       47    3/26/2015   2929 W SAM HOUSTON PARK WAY;     34601
                     WD012082                                                       WD065-WD065038
 21     12/24/2014   11201 OLYMPIA; WD028-            33743       48    3/29/2015   874 STREY LN; WD042-WD042027     34631
 22     12/30/2014   2049 WESTERN VILLAGE; SO201-     33795       49    4/3/2015    10205 WESTHEIMER; WD099-         34698
 23     1/17/2015    500 BROKEN BOUGH; WDP12-         33890       50    4/7/2015    14508 MEMORIAL; WD014-           34738
                     WDP12004
                                                                  51    4/9/2015    10820 WESHEIMER; WD032-          34783
 24     1/17/2015    10646 ALCOTT; WD064-             33891
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 52     4/19/2015    926 N WILCREST; WD086-WD086029    34919      80    8/24/2015    2600 WESTERLAND; WD102-          36305
 53     4/20/2015    2021 GESSNER; WD136-              34927                         WD102042Y
 54     4/24/2015    10500 BRIAR FOREST; WD091-        34972      81    8/26/2015    880 WILCREST; WD027-WD027031Z    36329
                     WD091015                                     82    8/31/2015    10925 BRIAR FOREST; WD027-       36373
 55     5/7/2015     1402 WALNUT BEND; WD031-          35148                         WD027075
 56     5/11/2015    11100 OLYMPIA; WD028-WD028054     35180      83    9/2/2015     1100 BUNKER HILL; WD044-         36405
 57     5/19/2015    11009 KATY FWY; WD084-            35297                         WD044011
                                                                  84    9/5/2015     14250 KIMBERLEY; WD009-          36430
 58     5/19/2015    3600 HILLCROFT & 7500 PAGEWOOD;   35303
                     WD108-WD108026                               85    9/23/2015    12511 QUEENSBURY; WD040-         36595
 59     5/27/2015    788 BATESWOOD; WD014-             35406      86    9/26/2015    10000 HAMMERLY; WD048-           36622
                     WD014014                                     87    9/27/2015    2350 TEAGUE RD; WDP10-WDP10005   36629
 60     5/29/2015    10510 MOORBERRY; -                35452      88    9/28/2015    10000 HAMMERLY; WDP10-           36632
 61     5/29/2015    13174 RUMMEL CREEK; WD082-        35455                         WDP10005
                     WD082044                                     89    10/3/2015    1928 SHERWOOD FOREST; SO201-     36677
 62     6/5/2015     2909 HILLCROFT; WD137-WD137032    35555                         SO201027
 63     6/9/2015     12902 MEMORIAL; WDP12-            35593      90    10/10/2015   10130 EMNORA; WDP10-             36750
 64     6/20/2015    11315 VALLEY SPRING; SO203-       35718      91    10/12/2015   143 WARRENTON; WD114-            36768
 65     7/2/2015     100 GESSNER; WD115-               35827                         WD114052
 66     7/6/2015     3125 CRESTDALE; WD054-WD054016    35854      92    10/14/2015   10148 EMNORA; WDP10-             36781
 67     7/13/2015    618 WHITE WING; WD012-            35931      93    10/15/2015   10102 EMNORA; WDP10-             36786
 68     7/16/2015    13314 KINGSRIDE; WD086-           35965      94    10/27/2015   11200 OLYMPIA; WD028-WD028055    36894
 69     7/20/2015    2112 S VOSS RD; WD110-WD110011    35998      95    10/28/2015   10100 BEEKMAN PLACE & 1330       36928
                                                                                     GESSNER; WDP07-WDP07018
 70     7/26/2015    9757 PINE LAKE; WD045-            36063
                                                                  96    11/1/2015    6505 WESTHEIMER; WD111-          36979
 71     8/1/2015     2600 WESTERLAND; WD102-           36116
                                                                  97    11/7/2015    2600 WESTERLAND; WD102-          37034
                     WD102042
                                                                                     WD102042X
 72     8/3/2015     1904 UPLAND; SO201-               36124
                                                                  98    11/16/2015   5 OAKWILDE; WDP13-               37110
 73     8/3/2015     3125 CRESTDALE; WD054-WD054008    36128
                                                                  99    11/30/2015   1931 SHADOWDALE; WD076-          37261
 74     8/8/2015     3125 CRESTDALE; WD054-WD054008    36161
                                                                  100   2/19/2016    10100 Hammerly                   229908
 75     8/9/2015     2301 HAYES; WD027-WD027073        36174
                                                                  101   2/19/2016    10000 Hammerly                   229912
 76     8/10/2015    1503 SHERWOOD FOREST; SO202-      36189
                                                                  102   2/22/2016    7910 Beverly Hill.               230019
 77     8/10/2015    201 VANDERPOOL; WD116-            36191
                                                                  103   2/22/2016    7910 Beverly Hill                230234
                     WD116001
 78     8/12/2015    9645 WESTHEIMER; WD102-           36210      104   2/25/2016    11100 Olympia.                   230046
 79     8/20/2015    788 BATESWOOD; WD014-             36288      105   2/25/2016    11100 Olympia                    230236
                     WD014014                                     106   3/5/2016     10818 Chevy Chase.               230162
                                                                  107   3/6/2016     788 Bateswood.                   230168

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 108    3/10/2016    7910 Beverly Hill.             230170         143   11/28/2016   10002 Hazelhurst Dr.              248198
 109    3/11/2016    872 Strey.                     230172         144   12/3/2016    10114 Old Katy.                   248243
 110    4/18/2016                                   232068         145   12/5/2016    700 Dairy Ashford.                248284
 111    4/19/2016    2600 Westerland.               231801         146   12/13/2016   14500 Memorial.                   248773
 112    4/19/2016    7310 Beverly Hill.             231804         147   12/19/2016   788 Bateswood.                    249153
 113    5/13/2016    3125 Crestdale Dr.             233258         148   12/22/2016   1928 Sherwood.                    249487
 114    5/16/2016    6509 Westheimer Rd.            233459         149   1/4/2017     2950 W Sam Houston Pkwy.          249896
 115    5/24/2016    6509 Westheimer.               233888         150   1/5/2017     7918 Highmeadow.                  250110
 116    5/27/2016    6505 Westheimer.               234196         151   1/7/2017     12032 Naughton.                   250120
 117    5/28/2016    9041 Briar Forest.             234215         152   1/12/2017    12355 Katy Fwy.                   250488
 118    5/31/2016    12018 Naughton.                234383         153   1/16/2017    91 Ledgend                        250953
 119    5/31/2016    6509 Westheimer Rd.            234384         154   1/19/2017    2122 Teague.                      251097
 120    6/1/2016     4026 Bolin.                    234431         155   1/27/2017    10610 Valley Forge.               251359
 121    6/3/2016     3210 Ann Arbor.                234806         156   2/6/2017     WD054                             258920
 122    6/15/2016    2301 Hayes.                    235807         157   2/6/2017     WD014                             258921
 123    7/1/2016     14542 Chadbourne.              236955         158   2/7/2017     10002 Hazelhurst.                 252089
 124    7/19/2016    720 Dairy Ashford.             239415         159   2/7/2017     WD049                             258922
 125    7/21/2016    7500 Highmeadow Dr.            239510         160   2/13/2017    WD110                             256073
 126    8/5/2016     10591 Emnora.                  240986         161   2/13/2017    SO201                             256074
 127    8/9/2016     1500 Witte.                    241381         162   2/14/2017    12200 Broken Bough.               252443
 128    9/5/2016     2666 Marilee.                  243075         163   2/14/2017    WD037031                          256075
 129    9/6/2016     7606 Fairdale.                 243662         164   2/15/2017    WD014                             256076
 130    9/20/2016    2300 Wilcrest Dr.              244514         165   2/16/2017    14550 Memorial.                   253425
 131    9/25/2016    3504 Hillcroft.                244565         166   2/16/2017    WD014                             256077
 132    9/29/2016    100 Gessner.                   245030         167   2/17/2017    1103 Blue Willow.                 253447
 133    10/17/2016   790 Bateswood.                 245638         168   2/17/2017    WD031                             256078
 134    10/23/2016   2623 Manila.                   245944         169   2/18/2017                                      256013
 135    10/23/2016   3125 Crestdale.                245946         170   2/19/2017                                      256015
 136    11/4/2016    10901 Katy FWY.                246645         171   2/22/2017                                      256016
 137    11/12/2016   14800 Memorial.                247142         172   3/9/2017     WD082066                          256181
 138    11/14/2016   14601 Memorial.                247163         173   3/13/2017    7900 Westheimer                   255883
 139    11/15/2016   7900 Westheimer.               247185         174   3/14/2017                                      255781
 140    11/17/2016   2200 Wilcrest.                 247482         175   4/10/2017    12004 Naughton;                   256388
 141    11/19/2016   2745 Gessner.                  247491         176   4/10/2017    WD114                             258038
 142    11/26/2016   14601 Memorial.                247756         177   4/14/2017    WD099014                          258529
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 178    4/18/2017    WD040001                      259080         212   10/16/2017   WD100001                              270770
 179    4/19/2017    WD049011                      258804         213   10/16/2017   9602 Longmont; Manhole or Basin       271550
 180    4/21/2017    12707 Boheme                  256743                            WD083
 181    4/25/2017    WDP04004                      259158         214   10/18/2017   10901 Katy Freeway; Manhole           271553
 182    4/28/2017    WD049051                      259121                            WD083
                                                                  215   10/18/2017   WD083048                              273017
 183    4/29/2017    WD114035                      259206
 184    4/29/2017    WD114035B                     263082         216   10/20/2017   10683 Mayfield Road                   271557
                                                                  217   10/20/2017   11403 Oak Spring; Mahole SO202        271560
 185    4/30/2017    WD050017                      259167
 186    4/30/2017    WD050017A                     263084         218   10/20/2017   WD074                                 273026
 187    5/7/2017     WD049007                      259269         219   10/20/2017   SO202063                              273028
 188    5/7/2017     WD049007                      263086         220   10/22/2017   14601 MEMORIAL                        271770
 189    5/12/2017    WD033015                      259273         221   10/24/2017   9600 Longmont Manhole: WD100          271080
 190    5/12/2017    WD033015                      263091         222   10/24/2017   9600 Longmont;                        271771
 191    5/13/2017    WD111051                      259346         223   10/24/2017   9600 LONGMONT; WD100                  272388
 192    5/13/2017    WD111051                      263465         224   10/28/2017   10306 KNOBOAK; WD069                  272425
 193    5/13/2017    WD111051                      264335         225   10/30/2017   10006 WARWANA: WD049052               271745
 194    5/20/2017    WDP14025                      261417         226   10/30/2017   10006 WARWANA; WD049052               272426
                                                                  227   10/31/2017   13931 KINGSRID: WD010014              271704
 195    6/6/2017     WD021010                      263122
 196    6/8/2017     WD024001                      262701         228   10/31/2017   13931 KINGSRIDE; WD                   272428
                                                                  229   11/8/2017    206 WALNUT BEND; WD029                272358
 197    6/9/2017     WDP09001                      262705
 198    6/9/2017     WDP09014                      264544         230   11/8/2017    206 Walnut Bend Ln, Houston, TX,      273491
                                                                                     77042, USA
 199    6/15/2017    WD050                         263289
                                                                  231   11/9/2017    10835 PEPPER; WD083016                272329
 200    6/17/2017    WD021009                      263072
                                                                  232   11/9/2017    10835 Pepper Ln, Houston, TX, 77079   273430
 201    6/20/2017    WD021009                      263127
                                                                  233   11/9/2017    10835 PEPPER LN; WD083016             274922
 202    7/16/2017    WDP12034                      263669
                                                                  234   11/11/2017   911 BUNKER HILL                       272478
 203    7/27/2017    WDP09025                      264307
                                                                  235   11/11/2017   911 BUNKER HILL; WD043037             272487
 204    7/27/2017    WDP09                         265454
                                                                  236   11/11/2017   911 Bunker Hill Rd, Houston, TX,      274284
 205    7/28/2017    WDP09020                      264329                            77024
 206    7/28/2017    WDP09                         265455         237   11/11/2017   911 BUNKER HILL; WD043038             274923
 207    7/28/2017    WDP09                         265862         238   11/16/2017   1400 WITTE; WD046                     273295
 208    8/8/2017     WD055001                      265697         239   11/16/2017   1400 White St, Houston, Texas,        274374
 209    8/15/2017    WD102042Y                     265717                            77007
 210    8/15/2017    2600 WESTERLAND MANHOLE       268728         240   11/16/2017   1400 WITTE; WD046004                  274926
 211    10/14/2017   7900 Westheimer; Manhole      271544         241   11/19/2017   206 FAUST; WD033012                   273551
                     WD105016X
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 242    11/19/2017   2623 MANILA; WD063024           273552       277   1/18/2018   WD044                           285975
 243    11/19/2017   206 FAUST; WD033012             273971       278   1/26/2018   114 KNIPP CT-WD100105           284667
 244    11/19/2017   2623 MANILA; WD063              273972       279   1/26/2018   114 KNIPP CT, WD100105          285217
 245    11/19/2017   2623 MANILA; WD063              274928       280   1/29/2018   1207 CONRAD SAUER-WDP13065      285004
 246    11/20/2017   10105 KEMPWOOD WDP09014         273400       281   2/3/2018    10925 BRIAR FOREST-WD031042     285096
 247    11/20/2017   10105 KEMPWOOD; WDP09015        273973       282   2/3/2018    10925 BRIAR FOREST, WD028034    285148
 248    11/20/2017   10105 KEMPWOOD; WDP09015        274932       283   2/4/2018    WD102042                        284841
 249    12/1/2017    12206 COBBLESTONE               273777       284   2/4/2018    2600 WESTERLAND, WD102042       285149
 250    12/1/2017    12206 COBBLESTONE;              275486       285   2/13/2018   7915 WINDSWEPT, WD109019        284840
 251    12/5/2017    518 KENWOOD; WDP12007           274985       286   2/15/2018   WD111                           285439
 252    12/8/2017    1919 CAMPBELL RD; WD053030      274996       287   2/19/2018   10655 KATY-WDP11030             284901
 253    12/10/2017   2834 MANILA; WD063              275021       288   2/19/2018   10655 KATY-WDP11030             285432
 254    12/10/2017   11538 WICKHOLLOW; WD020001      275022       289   2/20/2018   1730 CRESTDALE-WD050017         285433
 255    12/10/2017   2834 MANILA Ln; WD063           276253       290   2/20/2018   WD050001                        285991
 256    12/10/2017   11538 WICKHOLLOW Ln; WD020039   276260       291   2/21/2018   10026 LAZY OAKS, WD049          284910
 257    12/12/2017   2515 S GESSNER; WD102           275049       292   2/21/2018   10026 LAZY OAKS-WD049           285440
 258    12/12/2017   2515 S GESSNER Rd; WD102        276264       293   2/26/2018   2030 W SAM HOUSTON N-           284827
 259    12/13/2017   10000 WESTVIEW DR; WD046        275050                         WD079001
 260    12/13/2017   10000 WESTVIEW Dr; WDP14        276274       294   5/30/2018   WD116032                        286569
 261    12/19/2017   9645 WESTHEIMER; WD102          275713
 262    12/20/2017   3125 CRESTDALE; WD054001        275714
 263    12/24/2017   11215 FORKED BOUGH DR; WD07     277055
 264    12/28/2017   10901 KATY; WD083               277448
 265    12/29/2017   10000 HAMMERLY; WDP10           276379
 266    12/29/2017   3600 HILLCROFT AVE; WD108026    276381
 267    1/1/2018     1701 UPLAND; SO202006           278044
 268    1/2/2018     10311 WESTRAY; WDP08016         278645
 269    1/4/2018     10655 KATY; WDP11028            277888
 270    1/7/2018     146 STONEY CREEK Dr; WD042      278667
 271    1/10/2018    9640 KATY FWY; WD044            278668
 272    1/11/2018    2633 WINROCK; WD111             278707
 273    1/11/2018    2633 WINROCK Blvd; WD111        279023
 274    1/18/2018    14075 MEMORIAL DR-WD007         284748
 275    1/18/2018    9700 KATY FWY-WD044             284749
 276    1/18/2018    WD007                           285974
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